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               EXHIBIT “B”
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Commission ignored the evidence submitted by the Petitioner, and the approval recommendation

by the Augusta-Richmond County Planning Commission. Instead, the Commission only

considered the discriminatory requests of Petitioner`s neighbors who asked that a medical

treatment facility not be placed in their back yard. Such an arbitrary denial violates Petitioner`P

constitutionally protected rights, it is a determination beyond the scope of the Commission's

discretion, and it is an action in bad faith outside the scope of the law. Moreover, it renders the

property useless compared to its historical and intended purpose. For these reasons, Petitioner

seeks relief from this Court to reverse the denial and compel the approval of the application.

                                                 2.

        This action is brought as a petition for writ of certiorari pursuant to O.C.G.A. § 5-4-3, et

seq.

                                                 3.

        This Petition waPQFJBIVCFIBATFQEFKQEFOQV  A>VPLCQEB2BPMLKABKQP`August 18, 2020

decision denying Petitioner`P Special Exception Application (Z-20-38).

                                                 4.

        The Commission's August 18, 2020 decision denying Petitioner`P Special Exception

Application (Z-20-38) is a final decision.

                                                 5.

        Petitioner is aggrieved because of the Commission`PCFK>IAB@FPFLK

                                                 6.

        The subject property consists of +/- 20.65 acres adjacent to Augusta Technical College,

and it is identified as Richmond County Tax Parcel 109-0-001-00-0 QEB0OLMBOQV_ 




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                                                  7.

        Petitioner is the owner of the Property, which is subject to the jurisdiction of this Court by

filing this action.

                                                  8.

        "The sweep of sovereign immunity under the Georgia Constitution is broad." Lathrop v.

Deal, 301 Ga. 408, 424 (2017) (citing Olvera v. Univ. System of Ga. Commission of Regents, 298

Ga. 425, 426 (2016)). "[T]he doctrine of sovereign immunity extends generally to suits against the

State, its departments and agencies, and its officers in their official capacities for injunctive and

declaratory relief from official acts that are alleged to be unconstitutional." Lathrop, 301 Ga. at

409. However, this does "not mean that citizens aggrieved by unlawful conduct of public officers

are without recourse. It means only that they must seek relief against such officers in their

individual capacities." Lathrop, 301 Ga. at 434 (citing Georgia Dept. of Natural Resources v.

Center for a Sustainable Coast, 294 Ga. 593, 603 (2014) and Olvera, 298 Ga. at 428 (2016)). And

the doctrine of sovereign immunity is no bar to petitions for writs of mandamus, the writ being a

way ''in which an aggrieved citizen may pursue claims directly against state departments, agencies

and officers in their official capacities from relief from official acts alleged to be unconstitutional

or otherwise unlawful, notwithstanding the broad sweep of sovereign immunity". Lathrop, 301

Ga. at 434 (citing SJN Properties v. Fulton County Bd of Assessors, 296 Ga. 793, 799 (2015)).

                                                  9.

        The doctrine of official immunity, also known as qualified immunity and set forth in Article

I, Section II, Paragraph IX (d) of the Georgia Constitution, "concerns suits and liabilities of public

officers for monetary A>J>DBP>KALQEBOOBQOLPMB@QFSBOBIFBC_?RQALes not limit the availability

LCMOLPMB@QFSBOBIFBC_>KAEBK@BALBPKLQ?>OPRFQPCLOAB@I>O>QLOVLOFKGRK@QFSBOBIFBC?OLRDEQ




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against county [and city] officers in their individual capacities". Love v. Fulton County Bd of Tax

Assessors, 2018 Ga. App. Lexis 643 page 24; 2018 WL 6288099 (citing Lathrop, 301 Ga. at 444).

                                                10.

       Respondent in Certiorari/Defendant, Augusta-Richmond County, Georgia, is a political

subdivision of the State of Georgia and is subject to the jurisdiction and venue of this Court.

                                                11.

       Respondent in Certiorari/Defendant, Mayor Hardie Davis, Jr., is subject to the jurisdiction

and venue of this Court individually and in his official capacity as the Mayor of Augusta-

Richmond County.

                                                12.

       Respondent in Certiorari/Defendant, William Fennoy, is subject to the jurisdiction and

venue of this Court individually and in his official capacity as a Member of the Augusta-Richmond

County Commission.

                                                13.

       Respondent in Certiorari/Defendant, Dennis Williams, is subject to the jurisdiction and

venue of this Court individually and in his official capacity as a Member of the Augusta-Richmond

County Commission.

                                                14.

       Respondent in Certiorari/Defendant, Mary Davis, is subject to the jurisdiction and venue

of this Court individually and in her official capacity as a Member of the Augusta-Richmond

County Commission.




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                                              15.

       Respondent in Certiorari/Defendant, Sammie Sias, is subject to the jurisdiction and venue

of this Court individually and in his official capacity as a Member of the Augusta-Richmond

County Commission.

                                              16.

       Respondent in Certiorari/Defendant, Bobby Williams, is subject to the jurisdiction and

venue of this Court individually and in his official capacity as a Member of the Augusta-Richmond

County Commission.

                                              17.

       Respondent in Certiorari/Defendant, Ben Hasan, is subject to the jurisdiction and venue of

this Court individually and in his official capacity as a Member of the Augusta-Richmond County

Commission.

                                              18.

       Respondent in Certiorari/Defendant, Sean Frantom, is subject to the jurisdiction and venue

of this Court individually and in his official capacity as a Member of the Augusta-Richmond

County Commission.

                                              19.

       Respondent in Certiorari/Defendant, Brandon Garrett, is subject to the jurisdiction and

venue of this Court individually and in his official capacity as a Member of the Augusta-Richmond

County Commission.

                                              20.

       Respondent in Certiorari/Defendant, Marion Williams, is subject to the jurisdiction and

venue of this Court individually and in his official capacity as a Member of the Augusta-Richmond

County Commission.


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                                                  21.

       Respondent in Certiorari/Defendant, John Clarke, is subject to the jurisdiction and venue

of this Court individually and in his official capacity as a Member of the Augusta-Richmond

County Commission.

                                                  22.

       This Court has jurisdiction over this Petition and the claims asserted herein.

                                   FACTUAL BACKGROUND

                                                  23.

       The Property was used as an abbey (convent) for over 40 years by the Order of St. Helena.

Despite the clear intention and historical use as a multi-family dwelling, the Property was rezoned

by the Commission as Single-Family Residential, R-1 subject to a special exception for the existing

use by the Order of St. Helena. The Commission thus improperly zoned the Property while it was

owned by the Order of St. Helena.           Respondent Augusta-Richmond County Commission

subsequently approved another special exception to allow a group of monks to use the property as

a monastery in 2017, though they could not consummate the purchase of the Property from the

nuns. The property is designed as a multiple-family dwelling with dorms. As presently zoned,

without a special exception, the Property does not have any reasonable economic use, and the

Commission has systematically eliminated any value in the Property by virtue of its zoning

classification and actions as set forth herein.

                                                  24.

       The Property is located in an area of Richmond County that is mixed use. To the north-

east is the Green Meadows neighborhood. To the east is the Green Meadows Golf Course. To the

north-west is Augusta Technical College. To the south is the Bobby Jones Expressway. Petitioner




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would wall off the Property from the Green Meadows neighborhood, and create an entry way

exclusively from the north-west through the Augusta Technical College road as shown below.




                                     The First Application

                                               25.

       Petitioner initially applied for a special exception on June 29, 2018 under Section 26-1 of

the Comprehensive Zoning Ordinance of Augusta, Georgia. It completed the entire process and

met all requirements of the Richmond County Planning Department, the Richmond County

Planning Commission, and the Respondent, but it did not receive a special exception to use the

Property. The Planning Commission at that time recommended the denial of the Special Exception

Application because the Petitioner did not yet have a right of access through Augusta Technical

College. On April 30, 2019, the Commission voted 5-4 to approve the motion to allow the Special

Exception. However, six votes are required to approve the special exception, and Commissioners

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Hasan abstained from voting. !PBM>O>QBJLQFLKT>PJ>ABQL^RMELIA_QEBOB@LJJBKA>QFLKLC

the Planning Commission, but that vote failed with 6 commissioners voting not to uphold it and 4

voting to do so. 4EBOBPRIQT>P^KL>@QFLK_?VQEB#LJJFPPFLKPFK@BPFUSLQBP>OBOBquired to

affirmatively approve the special exception. The attorney for the Commission announced that the

J>QQBOT>P^AFPMLPBA_LC>KA>KVCROQEBOMROPRFQLCQEBPMB@F>IBU@BMQFLKTLRIAOBNRFOB>KBT

application by the Petitioner. &LIILTFKDPR@E>^KL>@QFLK_SLQBQEB0BQFQFLKBO`P>MMIF@>QFLKT>P

not scheduled to be reheard, and its only recourse was to appeal or start over with a new special

exception application process. As true and accurate copy of the documents pertaining to the First

Application are attached to the original Petition >P%UEF?FQ^A_

                                     The Second Application

                                                 26.

       The Petitioner properly filed a Second Application for Special Exception with the Augusta-

Richmond County Planning Department on or about November 27, 2019, and it submitted all

documentation required by the Planning Department. !QORB>KA@LOOB@Q@LMVLCQEB0BQFQFLKBO`P

Special Exception Application is attached to the original Petition as Exhibit ^B_ QEB^Special

Exception Application_ 

                                                 27.

       This time, the 0BQFQFLKBO`PSpecial Exception Application was presented to and approved

by the 10-person Planning Commission on or about August 3, 2020, with the following

stipulations:

       1.   The Special Exception for this property is for an alcohol, drug and post-traumatic

            stress disorder treatment facility for first responders only. If the clientele or treatment

            program changes, the applicant/owner must apply for a new Special Exception.




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       2.   Final approval of this project is contingent on obtaining an easement, in writing, from

            the State of Georgia to provide driveway access to the property from Augusta Tech

            Drive. All egress and ingress to this property is to be through this driveway.

       3.   A privacy fence consisting of solid wood board six feet in height shall be installed

            along the east boundary line of the property at Augusta Tech Drive to head south +/-

            1,772 feet to Eagle Drive, continue across Eagle Drive and follow the southern

            property boundary along 3038 Eagle Drive, 3040 Eagle Drive and 2900 Green

            Meadows Drive. Access from Eagle Drive is for emergencies only. A 50-foot

            vegetative buffer shall be installed along the fence line except where emergency access

            is provided.

       4.   Any expansion, additions or alterations to the property must comply with all

            development standards and regulations set forth by the City of Augusta, and must

            receive site plan approval prior to any changes.

A true and accurate @LMV LC QEB 0I>KKFKD #LJJFPPFLK`P !MMOLS>I FP >QQ>@EBA to the original

Petition as Exhibit ^C._

                                                28.

       At the August 3, 2020 public hearing before the Planning Commission, residents of the

Green Meadows neighborhood >QQBKABAQLSLF@BLMMLPFQFLKQLQEB0BQFQFLKBO`PSpecial Exception

Application. Their objections focused almost entirely on the discriminatory opposition to the

medical condition of the proposed residents of the Property and wholly unfounded concerns about

a potential increase in crime and decrease in property value.

                                                29.

       4EB0BQFQFLKBO`P!MMIF@>QFLKCLO2BWLKFKDT>Pon the public notice and agenda before the

Augusta-Richmond County Commission on August 18, 2020. Again, the same neighbors appeared


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to object to the Special Exception Application, and they made similar presentations focused on the

medical condition of the proposed residents of the Property and wholly unfounded concerns about

a potential increase in crime. Many sent letters, but all focused on the medical condition of the

patients, such as the following:

               ">O?>O>0FOQIB^)E>SBQLDLLRQ>KAPMBKAJLKBVQE>Q)ALnot have by purchasing
               PB@ROFQV@>JBO>P>KALQEBOMOLQB@QFSBABSF@BP_ (R.34)

               "BOKF@B "LD>K ^) MO>V QE>Q QEBV >OB LO TFII DBQ QEB QOB>QJBKQ ?RQ KLQ FK JV
               KBFDE?LOELLA_ [  ^TB AL KLQ T>KQ PR?PQ>K@B >?RPB >KA 043$ C>@FIFQV FK LRO
               KBFDE?LOELLA_[^4EFPFP> concern for the safety of the students, faculty, staff,
               >KAQEBOBPFABKQPLC'OBBK-B>ALTP_ 2

               'BLODB(>Q@EBO^TE>QTFIIE>MMBKQLLROMOLMBOQVS>IRBPTEBKQEBKBFDE?LOELLA
               PFQP>AG>@BKQQL>AORDOBE>?@BKQBO_ 2

               Malody Valentine-(LIIFJ>K ^0lacing a medical substance abuse center in our
               neighborhood violates the peace of mind that the residents have come to expect
               IFSFKDFKQEFPKBFDE?LOELLA_[^4EBMOBPBK@BLC>JBAF@>IPR?PQ>K@B>?RPB@BKQBO
               will cause them to live in anxiety and fear for QEBOBJ>FKABOLCQEBFOMOB@FLRPIFSBP_
               (R.37)

               #EBOVI%IAOFADB^2BD>OAIBPPLCQEBC>@QQE>QQEBM>QFBKQPJ>V?BCFOPt responders,
               they are addicts who have an ongoing, incurable illness, and they are plagued with
               all of the challenges and pitfalls that eK@LJM>PP?BFKD>AAF@QP_ 2

               Wanda F. Watson: ^Nearly all residents of the Green Meadows neighborhood is
               @LJMIBQBIV LMMLPBA QL QEFP QOB>QJBKQ C>@FIFQV QE>Q TFII [ MLQBKQF>IIV ILTBO QEB
               MOLMBOQVS>IRBLCQEBKBFDE?LOELLA_ (R.44)

                                                   30.

       An initial vote was held on the motion of Brandon Garrett to confirm the approval of the

special exception by the Augusta Planning Commission. Voting in favor of the special exception

were commissioners Brandon Garrett, Mary Davis, Sean Frantom, John Clarke and Marion

Williams. Commissioner Bill Fennoy abstained and prevented Mayor Hardie Davis from

potentially breaking a 5-5 tie. The vote was 5-4-1 in favor of confirmation of the approval, but six

votes are required to carry the vote. A subsequent motion to deny PetitionBO`P application also



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failed along the same lines with Commissioner Fennoy again abstaining.            A copy of the

#LJJFPPFLK`P>@QFLKFP>QQ>@EBAto the original Petition as Exhibit ^D_.

                                                 31.

       4EB #LJJFPPFLK`P AB@FPFLK not to confirm the approval of QEB 0BQFQFLKBO`P Special

Exception Applications creates a taking of valuable property rights.

                                                 32.

       The Commission lacked discretion to deny the Special Exception Application because the

Special Exception Application satisfied the standards for approval. There was no valid reason to

deny the special exception as there is no non-discriminatory, legal or material difference between

the prior uses and special exceptions granted by the Commission for this Property, and the present

proposed use by the Petitioner. Moreover, there is no material difference between the proposed

use of the Property and the uses of adjoining properties, including a golf course and a technical

college.

                                                 33.

       The Commission vote amounted to a denial of the Special Exception Application without

the authority of law. The Commission has twice voted in the same manner, which effectively

denies the Petitioner the use of its Property.

                                                 34.

       Petitioner preserved its Constitutional objections and provided notice to the Planning

Commission prior to the August 18, 2020 public hearing. A true and correct copy of the

Constitutional objections are attached to the original Petition as Exhibit ^E_ and incorporated by

reference.

                                                 35.

       Petitioner has at all times acted in good faith.


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                                                   36.

        The Petitioner has exhausted any and all administrative remedies.

                                                   37.

        The Petitioner timely filed this appeal.

                                                   38.

        As a result of the actions by the Defendants, Petitioner has been, and is being, damaged

irreparably and does not have an adequate remedy at law.

                                                   39.

        As a result of the actions by the Defendants, Petitioner has been forced to engage the

services of the undersigned attorney to represent its interests.

                                                   40.

        Petitioner has a clear legal right to the approval of the Special Exception Application.

                                                   41.

        The #LJJFPPFLK`P ABKF>ILCQEB0BQFQFLKBO`PSpecial Exception Application is arbitrary,

capricious, discriminatory, an abuse of discretion, and not supported by any evidence.

                                            COUNT I
                                          CERTIORARI

                                                   42.

        Petitioner realleges and incorporates by reference the foregoing paragraphs of this Petition

as if fully set forth herein.

                                                   43.

        There are no unpaid costs in the proceeding below.

                                                   44.

        Petitioner presented a statement regarding payment of costs to the Clerk of Commission

and has filed the signed statement simultaneously with this action.
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                                                 45.

        In accordance with O.C.G.A. § 5-4-5, Petitioner has filed the Certiorari Bond

simultaneously with this action.

                                                 46.

        The Commission's decision to deny the Application includes, but is not limited to, the

following legal errors: (a) the Commission's decision was arbitrary, capricious, an abuse of

discretion, and not supported by any evidence; (b) the Commission's denial decision results in the

taking of private property without payment of just compensation in violation of the federal and

state constitutions; and (c) the Commission's denial decision resulted from discrimination against

the intended users of the property who are first responders that suffer from medical conditions

associated with post-traumatic stress disorder, alcoholism, and drug addiction.

                                                 47.

        The Commission's decision to deny the Application is contrary to law, unsupported by the

record evidence, and an abuse of discretion entitling Petitioner to a writ of certiorari and a reversal

of the Commission's decision.

                                            COUNT II
                                           MANDAMUS

                                                 48.

        Petitioner hereby realleges and incorporates by reference the foregoing paragraphs of this

Petition as if fully set forth herein.

                                                 49.

        Petitioner has a clear legal right to special exception, which zoning use is consistent with

other prior use of the Property and with the use of other parcels in the immediate vicinity of the

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                                                 50.
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        The Commission's denial of the 0BQFQFLKBO`PSpecial Exception Application is a gross abuse

of discretion.

                                                   51.

        A defect of legal justice would ensue if a writ of mandamus is not issued.

                                                   52.

        Petitioner requests this Court to order the Defendants to process and approve the Special

Exception Application.

                                        COUNT III
                                 UNCONSTITUTIONAL TAKING

                                                   53.

        Petitioner hereby realleges and incorporates by reference the foregoing paragraphs of this

Petition as if fully set forth herein.

                                                   54.

        There is live controversy that exists as to whether the Petitioner should be granted the

special exception to use the Property as recommended by the Richmond County Planning

Commission.

                                                   55.

        Petitioner is in a position of uncertainty and insecurity as a result of the denial of its Special

Exception Application.

                                                   56.

        Petitioner has no adequate remedy at law should it not be afforded the full rights and

privileges granted to them by Augusta-2F@EJLKA#LRKQV`P#LJMOBEBKPFSB:LKFKD/OAFK>K@Band

other applicable laws.

                                                   57.



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       Petitioner is in need of judicial guidance regarding the Commission's denial of its Special

Exception Application to enable it to avoid the impairment of its property rights and privileges.

                                                 58.

       The Commission's denial of the 0BQFQFLKBO`P Special Exception Application deprives

Petitioner of constitutionally guaranteed property rights without just and adequate compensation

and constitutes a violation of the rights and privileges secured by Article I, Section III, Paragraph

I of the 1983 Constitution of the State of Georgia.

                                                 59.

       The Commission had no objective factual basis to deny the Special Exception Application,

and as such, has destroyed Petitioner`P property rights without first paying fair, adequate, and just

compensation for such rights, in violation of Article I, Section I, Paragraph I and Article I, Section

III, Paragraph I of the Constitution of the State of Georgia of 1983, and the Just Compensation

Clause of the Fifth Amendment and Due Process Clause of the Fourteenth Amendment to the

Constitution of the United States.

                                                 60.

       The Commission`P ABKF>I LC 0BQFQFLKBO`P Special Exception Application is arbitrary,

capricious, without any objective basis, and discriminates between Petitioner and other similarly

situated property owners in violation of Petitioner's right to equal protection under Article I,

Section I, Paragraph II of the 1983 Constitution of the State of Georgia and the Equal Protection

Clause of the Fourteenth Amendment to the Constitution of the United States.

                                                 61.

       4EBABKF>ILC0BQFQFLKBO`PSpecial Exception Application results in no gain to the public in

general, fails to promote the public health, safety, morals, and welfare, constitutes a substantial

ABPQOR@QFLKLC0BQFQFLKBO`PMOLMBOQVS>IRBP>KAFP@LKCFP@>QLOV>KASLFA


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                                                   62.

        The Constitution and laws of the State of Georgia provide and require that just and adequate

compensation be paid prior to any taking or interference with the property rights of the Petitioner.

                                                   63.

        Petitioner is entitled to a declaratory judgment from this Court finding the Commission's

denial of the Special Exception Application to be an unconstitutional taking requiring full and

adequate compensation to be awarded in favor of Petitioner in an amount to be determined at trial.

                                    COUNT IV
                       ARBITRARY AND CAPRICIOUS DENIAL OF
                   2SPECIAL EXCEPTION APPLICATION

                                                   64.

        Petitioner hereby realleges and incorporates by reference the foregoing paragraphs of this

Petition as if fully set forth herein.

                                                   65.

        There is live controversy that exists as to whether the Petitioner should be granted the

special exception to use the Property as recommended by the Richmond County Planning

Commission.

                                                   66.

        Petitioner is in a position of uncertainty and insecurity as a result of the denial of its Special

Exception Application.

                                                   67.

        Petitioner is in need of judicial guidance regarding the Commission's denial of its Special

Exception Application to enable it to avoid the impairment of its properly rights and privileges.

                                                   68.




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       The Commission's decision to deny the Special Exception Application is arbitrary,

capricious, unconstitutional, illegal, null and void, and @LKPQFQRQFKD > Q>HFKD LC 0BQFQFLKBO`P

Property without payment of just and adequate compensation in violation of the Just Compensation

Clause of the Fifth Amendment and the Due Process Clause of the Fourteenth Amendment to the

Constitution of the United States, and Article I, Section I, Paragraph I, and Article I, Section III,

Paragraph I of the Constitution of the State of Georgia of 1983, by denying Petitioner an

economically viable use of its Property, while not substantially advancing legitimate state interests.

                                                 69.

       The Commission's decision to deny Petitioner's Special Exception Application was

arbitrary, capricious, without rational basis, and based on improper motives, thereby constituting

a gross abuse of discretion.

                                                 70.

       The Commission`PC>FIROBQL>AEBOBQLFQPLTKComprehensive Zoning Ordinance which

required Commission members to apply specific standards to determine approval of Special

Exception Applications denied Petitioner of the due process of law and a fair and impartial hearing,

as guaranteed by the 1983 Constitutional of the State of Georgia and Fifth and Fourteenth

Amendments of the Constitution of the United States and resulted in a decision that was arbitrary,

capricious, unreasonable, null and void.

                                                 71.

       The Commission`PC>FIROBQL>AEBOBQLFQPLTKComprehensive Zoning Ordinance renders

its decision on the 0BQFQFLKBO`PSpecial Exception Application null and void.

                                                 72.

       For these reasons, Petitioner is entitled to an order from this Court reversing the decision




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of the Commission and requiring the Commission to approve the Special Exception Application

as requested by the Petitioner.

                                       COUNT V
                            FEDERAL DISCRIMINATION CLAIMS

                                                 73.

         Petitioner hereby realleges and incorporates by reference the foregoing paragraphs of this

Petition as if fully set forth herein.

                                                 74.

         0BQFQFLKBO?OFKDPQEFP@LRKQRKABOQEB&>FO(LRPFKD!@Q53#X ^&(!_ QEB

!JBOF@>KPTFQE$FP>?FIFQFBP!@Q53#X ^!$!_ the Rehabilitation Act, 29 U.S.C.

§ 791, the Fifth and Fourteenth Amendments to the United States Constitution.

                                                 75.

         With respect to the Property at issue here, the Hale Foundation seeks to create a clinic for

voluntary admission by first responders seeking drug and alcohol treatment. It would be a

residential treatment facility that only accepts voluntary participants who are not presently

consuming drugs or alcohol and are not ordered to be at the facility by any Court.

                                                 76.

         Drug and alcohol abuse is a nationwide public health epidemic. Drug overdose deaths

surpass deaths from gun homicides and traffic accidents combined. This public health epidemic

has been widely acknowledged across the country, and hardly a day passes that does not see new

reports of communities that have been devastated by the health consequences of drug and alcohol

abuse.

                                                 77.

         The Comprehensive Addiction and Recovery Act of 2016 recognized the abuse of heroin

and prescription opioid painkillers as haSFKD^>ABS>PQ>QFKDBCCB@QLKMR?IF@EB>IQE>KAP>CBQVFK
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@LJJRKFQFBP>@OLPPQEB5KFQBA3Q>QBP_#LJMOBEBKPFSB!AAF@QFLK>KA2B@LSBOV!@QLC3

524, 114th Cong., § 2.

                                                78.

       -LOB OB@BKQIV FK  QEB 5KFQBA 3Q>QBP 0OBPFABKQ`P #LJJFPPFLK LK #LJ?>QFKD $Oug

Addiction and the Opioid Crisis issued a report in which it warned:

        According to the Centers for Disease Control (CDC), the most recent data
        estimates that 142 Americans die every day from a drug overdose. Our citizens are
        dying. We must act boldly to stop it. The Opioid epidemic we are facing is
        unparalleled. The average American would likely be shocked to know that drug
        overdoses now kill more people than gun homicides and car crashes combined. In
        fact, between 1999 and 2015, more than 560,000 people in this country died due
        to drug overdoses \ this is a death toll larger than the entire population of Atlanta.
(Available at: https://www.whitehouse.gov/sites/whitehouse.gov/files/images/Final_Report_Draft_11-

15-2017.pdf (last visited October 5, 2020)). The Commission urged the President to declare a

national emergency.

                                                79.

       In addition, the Commission found that one of the largest obstacles to stemming the

BMFABJF@T>P>I>@HLCQOB>QJBKQC>@FIFQFBP!PFQKLTPQ>KAPQEB#LJJFPPFLKKLQBA^LKIV

percent of the nearly 21 million citizens with a substance abuse disorder receive any type of

specialty treatment according to the most recent National 3ROSBVLK$ORD5PB>KA(B>IQE_

                                                80.

       Overdose is now the leading cause of death in Americans under the age of 50. From 2010

to 2017, the total number of opioid-related overdose deaths in Georgia increased by 245 percent.

                                                81.

       In October 2017, the President declared the opioid crisis a national public health

emergency, and in Georgia, almost two-thirds of drug overdose deaths were attributed to opioids]

1,043 total.
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                                                 82.

       Despite the fact that substance abuse and addiction are on the rise, there are an insufficient

number of residential treatment beds available to potential patients. This is in part due to the long

and continuing history of discrimination against people with substance use disorders, including

discriminatory zoning laws and decisions that operate as a barrier to providers seeking to open or

expand substance use disorder treatment programs.

                                                 83.

       !RDRPQ>E>PBUMBOFBK@BAQEBABS>PQ>QFKDBCCB@QPLCQEB@LRKQOV`PLMFLFA@OFPFP)K

Augusta filed a lawsuit against the manufacturers and wholesale distributors of prescription

opioids. Augusta alleged that the manufacturers aggressively pushed highly addictive, dangerous

opioids, falsely representing to doctors that patients would only rarely succumb to drug addiction.

It asserted that pharmaceutical companies aggressively advertised to and persuaded doctors to

prescribe highly addictive, dangerous opioids, which turned patients into drug addicts for their

own corporate profit. It also asserted that distributors and manufacturers intentionally and/or

unlawfully breached their legal duties under federal and state law to monitor, detect, investigate,

refuse and report suspicious orders of prescription opiates. A true and accurate copy of the

Complaint is attached hereto as %UEF?FQ^&_

                                                 84.

       In that Complaint, Augusta asserted that from 2009 to 2014, Georgia had the highest

percentage change in the rate of opioid-related inpatient stays of any state, at 99.8 percent. Georgia

also had the third highest cumulative percent increase (85.2 percent) in the rate of opioid-related

emergency department visits. (See Ex. F ¶ 63).

                                                 85.




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       According to the Defendant Augusta, the opioid epidemic has been particularly devastating

in this County with opioid-related overdoses increasing from just 3 in 2013 to 34 in 2016. In 2017,

at least 41 deaths were caused by drugs, with opioids accounting for 24 of those deaths. (Compl.,

Ex. F ¶ 66).

                                               86.

According to the Defendant, in this County the opioid prescribing rates, as reported by the CDC,

are consistently above the national averages \ which are themselves too high \ and in some years

there were more opioid prescriptions dispensed than persons in Augusta.

           a. In 2016, compared to the national average of 66.5 opioid prescriptions dispensed

               per 100 persons, the County rate was 86.8.

           b. Compared to the national average of 70.6 opioid prescriptions per 100 persons in

               2015, the Augusta rate was 92.9.

           c. In 2014, compared to the national average of 75.6 prescriptions per 100 persons,

               the Augusta rate was 102.

           d. Compared to the national average of 78.1 prescriptions per 100 persons in 2013,

               the Augusta rate was107.5.

           e. In 2012, compared to the national average of 81.3 prescriptions per 100 persons,

               the Augusta rate was 110.4.

           f. Compared to the national average of 80.9 prescriptions per 100 persons in 2011,

               the Augusta rate was 107.8.

           g. Augusta rates of opioid prescriptions per 100 persons in prior years also exceeded

               the national average and the number of persons in Augusta: 107.4 in 2010, 104.8

               prescriptions per 100 people in 2009, and 100.4 in 2008.

                                               87.


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        Augusta asserted that the opioid epidemic has placed increased budgetary constraints upon

the public health and medical care expenditures of the State and Petitioner`P #LJJRKFQV  )Q

asserted that opioid addiction is one of the primary reasons citizens of Augusta seek substance

abuse treatment. (Compl., Ex. F ¶ 69).

                                                   88.

        Augusta claims that opioid abuse, addiction, morbidity, and mortality are hazards to public

health and safety in Augusta, and they constitute temporary and continuing public nuisances,

which remain unabated. (Compl., Ex. F ¶ 70).

                                                   89.

        Because of a shortage of beds in dedicated drug treatment facilities, many patients end up

in hospital emergency rooms for detoxification. This in turn causes unnecessary expense to the

patient and to the community, an unnecessary strain on first responders, who are commonly

required to transport patients 60-90 miles to find a bed at a facility capable of medically managed

detoxification, and on hospitals, which must find space and medical staff to treat these patients.

                                                   90.

        Detoxification in a hospital setting is often less effective than care at many residential

treatment facilities, which are, unlike hospitals, able to offer a continuum of care that extends well

beyond a typical hospital stay.

                                                   91.

        A skyrocketing number of people suffering from addiction in Augusta and elsewhere need

treatment and are unable to get it, particularly in a residential facility.

                                                   92.

        $BCBKA>KQ`P ABKF>I LC Petitioner`P >MMIF@>QFLK MBOMBQR>QBP QEFP DOLTFKD MOL?IBJ >KA

irreparably harms those persons in desperate need of treatment. It also stands in stark contrast to


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the complaint it has filed against opioid manufacturers and distributers, wherein it complains and

>IIBDBPQE>QAORD>AAF@QFLKFP>^@LKQFKRFKDMR?IF@KRFP>K@BTEF@EOBJ>FKP RK>?>QBA_Petitioner

seeks to assist in abating that nuisance.

                                                 93.

        This problem is particularly felt by first responders who are at a higher risk of developing

behavioral health conditions due to repeated exposure to high-stress, life-threatening situations

coupled with long hours and an insular culture. See Police and Addiction: Officers are nearly three

times     as     likely    to     suffer    from        addiction   as    others,     available     at

https://www.psychologytoday.com/us/blog/sure-recovery/201803/police-and-addiction (last visited

10-6-2020) ^"BQTBBK  >KA  LC MLIF@B LCCF@BOP E>SB PVJMQLJP of post-traumatic stress

AFPLOABO>P@LJM>OBAQLFKQEBDBKBO>IMLMRI>QFLK_ 

                                                 94.

        It is estimated that first responders develop behavioral health conditions including, but not

limited to, depression and posttraumatic stress disorder at a rate that is 50% higher than the general

population.    See SAMHSA, Disaster Technical Assistance Center Supplemental Research

Bulletin: First Responders: Behavioral Health Concerns, Emergency Response, and Trauma May

2018 (available at https://www.samhsa.gov/sites/default/files/dtac/supplementalresearchbulletin-

firstresponders-may2018.pdf, last visited 10/6/20).

                                                 95.

        PTSD and depression rates among firefighters and police officers have been found to be as

much as five times higher than the rates within the civilian population, which causes first

responders to commit suicide at a considerably higher rate than the general public. Study: Police

Officers and Firefighters Are More Likely to Die by Suicide than in Line of Duty, available at




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https://rudermanfoundation.org/white_papers/police-officers-and-firefighters-are-more-likely-to-

die-by-suicide-than-in-line-of-duty/ (last visited 10-6-20).

                                                96.

       One survey shows that first responders are ten times more likely to contemplate suicide

and attempt suicide than the general public. Abbot, C., Barber, E., Burke, B., Harvey, J., Newland,

# 2LPB -  9LRKD !   7E>Q`P HFIIFKD LRO JBAF@P !J?RI>nce Service Manager

Program.        Conifer,       CO:         Reviving        Responders.       Retrieved        from

http://www.revivingresponders.com/originalpaper (last visited 10/6/20).




                                                97.

       Petitioner seeks to provide medical assistance to first responders by opening a treatment

facility on the Property.

                                                98.

       The Property is an approximately 20-acre site with buildings and dormitories designed to

serve as residences for up to 30 people. The Property was originally not subject to zoning law,

and it was used by a convent by the Order of St. Helena Convent for over 40 years until they moved

from the Property to North Augusta in approximately 2014. After sitting for many years on the

market, the property was sold in October of 2017 to the Hale Foundation.

                                                99.

       It already contains the dormitories, meeting rooms, and commercial kitchen facilities to

support the mission of the Hale Foundation.        Since the nuns vacated the Property, the only

proposed uses for it have been (a) a monastery, (b) a rehabilitation center for troubled youth, and




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family use, and its present zoning designation without special exception renders it valueless.

                                                    100.

          On July 29, 2015, Westcare Georgia, Inc., filed an application for special exception for the

Property to operate a residential vocational and educational facility to provide therapy for

behavioral and substance abuse treatment. Westcare selected the Property as an ideal location to

move its Keysville, Georgia operation because the Property is secluded, wooded, set up for

dormitory living, and ideally situated for such a use. The neighbors of the Green Meadows

subdivision opposed the use by Westcare, and so it subsequently withdrew its application. A true

and accurate copy of the documents pertaining to its application are attached hereto as Exhibit

^'_

                                                    101.

          On May 31, 2017, the Monks of Mt. Tabor filed an application for special exception to

permit the Property to be used as a monastery. It proposed to use the facility as living quarters

for monks, and to welcome the public for retreats and worship on the Property. The Defendant

approved the application for special exception, but the Monks ultimately could not consummate

their purchase of the Property. A true and accurate copy of the documents pertaining to its

application are attached hereto as %UEF?FQ^(_

                                                    102.

          In response to the increasing need for safe, effective residential treatment facilities for those

seeking to recover from drug and alcohol addiction, Hale Foundation acquired the Property with

the plan to develop a residential alcohol and substance abuse treatment facility on the Property.

4EBC>@FIFQVTLRIA?B@>IIBA^6>ILO3Q>QFLK_>KATLRIAPBOSB>P>IF@BKPBAOBPFABKQF>IOBE>?FIFQ>QFLK

center for first responders suffering from addiction.


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                                                103.

       The existing facilities and setting are ideally suited for use as a rehabilitation center.

                                                104.

       The existing facilities include numerous meeting rooms, worship rooms, a dining hall, a

commercial-grade kitchen, and dormitory. The facilities collectively occupy only a small portion

of the 20-acre property, which otherwise consists of undeveloped forested space.

                                                105.

       The facility is located in the center of the property and is very private. It is set back from

the roadway, and it will be separated from the Green Meadows subdivision by a solid wall, with

vegetative buffering and no access from the Green Meadows roadways. The property is surrounded

by acres of forest preserve on the West, South and East.

                                                106.

       The facilities are shielded from view by any of the adjoining roads.

                                                107.

       Because of its isolated location, the design has and would minimize any impact the facility

otherwise might have on the surrounding community.

                  The Augusta Zoning Ordinance and Application Procedures

                                                108.

       !RDRPQ> 'BLODF> E>P >ALMQBA > #LJMOBEBKPFSB :LKFKD /OAFK>K@B QEB ^/OAFK>K@B_ 

which was filed by Respondent.

                                                109.

       Pursuant to the Comprehensive Zoning Ordinance, the Property is presently zoned as R-1

(One-Family Residential) Zone, even though it was not constructed, intended to be used, or

actually ever used as a single-family residence.
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                                                 110.

       The Ordinance enumerates certain uses which an applicant may propose to the County

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                                                 111.

       Ordinance Section 26-1 provides that Special Exceptions, including drug and alcohol

treatment facilities, may be permitted in any Zone where such uses are deemed desirable to the

public convenience or welfare and are in harmony with the various elements or objectives of the

Master Plan/Planning Document in effect. (R.179)

                                                 112.

       Pursuant to the Ordinance Section 35-10: When a proposed zoning decision relates to or

will allow the location or relocation of a halfway house, drug rehabilitation center, or other facility

for treatment of drug dependency, a public hearing shall be held on the proposed action. Such

public hearing shall be held at least six (6) months and not more than nine (9) months prior to the

date of final action on the zoning decision. The hearing required by this subsection shall be in

addition to any hearing required under subsection (a) of this Code section. (R.239)

                                                 113.

       The Ordinance specifically treats medical substance abuse treatment facilities differently

based upon their protected status, and it does not mention or acknowledge that Augusta is obligated

to comply with the requirements of the FHA or ADA.

                                                 114.

       In the orAFK>OV@LROPB>K>MMIF@>QFLK>^PMB@F>IBU@BMQFLK_FPCFOPQ@LKPFABOBA?V!RDRPQ>`P

Planning Department. If a public hearing is required, it is held by the Planning Department,

following by the waiting period required in the Ordinance. The application is then heard by the




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Augusta Commission.

                                                115.

    !II AL@RJBKQP MBOQ>FKFKD QL QEB (>IB &LRKA>QFLK`P !MMIF@>QFLK CLO 3MB@F>I %U@BMQFLK >OB

attached to the original Petition as Exhibits B through D.

                                                116.

       At the public hearings on Petitioners Special Exception Application, the Green Meadows

neighborhood played a video for the Commissioners to view in which they provided statements

such as the following:

            Y    ^) TLRIA CBBI very unsafe to know that there were people in the
                 KBFDE?LOELLAQE>QTB>OBKLQRPBAQLE>SFKDFKQEBKBFDE?LOELLA_

            Y    ^7BE>SBQE>QPBKPBLCMB>@BEBOB[)C>AFCCBOBKQBKQFQVT>PQL@LJBFKQL
                 our neighborhood, it is not going to provide that safety and that serenity
                 >KA>IILCQE>Q>KVJLOB_

            Y    ^7EBKTBEB>OAQE>QQEFPE>IC-way house was coming up here, something
                 GLIQBARP_

            Y    ^7B@LRIAT>HBRMFKQEBJFAAIBLCQEBKFDEQ>KACFKAQEBJPFQQFKDLKLRO
                 porch ... We could wake up any morning and maybe find them swimming
                 FKLROPTFJJFKDMLLI_

            Y    ^-VTLOPQKFDEQJ>OBFPHKLTFKDQE>Q>AORDOBE>?@BKQBOFP@LJFKDFKJV
                 KBFDE?LOELLA_

            Y    ^)Q`PP>CBLSBOEBOB7BALK`QT>KQQE>QLSBOEBOB_

            Y    ^)ALK`QIFHBQEBFAB>LC>AORDOBE>?@BKQBO?BFKDFKLROKBFDE?LOELLA_

            Y    ^4EBMB>@BP>CBQV>KAPBOBKFQVQE>Q)CBBIKLTFPDLFKDQLAFJFKFPE_

            Y    ^$LK`QIBQQEBPBMBLMIBJLSBFKEBOB_

            Y    ^7BALK`QKBBA>E>IC-T>VELRPBEBOBFKLROKBFDE?LOELLA_

            Y    ^7B >II T>KQ QL E>SB > MB>@B LC JFKA P>CBQV PBOBKFQV FK LRO LTK
                 KBFDE?LOELLA_

A true and accurate copy of the video is filed herewith as %UEF?FQ^I_

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                                                  117.

       At the August 3, 2020 public hearing before the Planning Commission, residents of the

'OBBK-B>ALTPKBFDE?LOELLA>QQBKABAQLSLF@BLMMLPFQFLKQLQEB0BQFQFLKBO`P3MB@F>I%U@BMQFLK

Application. Their objections focused entirely on the discriminatory opposition to the medical

condition of the proposed residents of the Property and the wholly unfounded concerns about a

potential increase in crime and decrease in property values.

                                                  118.

       4EB0BQFQFLKBO`P!MMIF@>QFLKCLO2BWLKFKDT>PLKQEBMR?IF@KLQF@B>KA>DBKA>?BCLOBQEB

Augusta Commission on August 18, 2020. Again, the same neighbors appeared to object to the

Special Exception Application, and they made similar presentations focused on the medical

condition of the proposed residents of the Property and wholly unfounded concerns about a

potential increase in crime. Many sent letters, but all focused on the medical condition of the

patients, such as the following:

               ">O?>O>0FOQIB^)E>ve to go out and spend money that I do not have by purchasing
               PB@ROFQV@>JBO>P>KALQEBOMOLQB@QFSBABSF@BP_ (R. 34)

               "BOKF@B "LD>K ^) MO>V QE>Q QEBV >OB LO TFII DBQ QEB QOB>QJBKQ ?RQ KLQ FK JV
               KBFDE?LOELLA_ [  ^TB AL KLQ T>KQ PR?PQ>K@B >?RPB >KA 043$ C>cility in our
               KBFDE?LOELLA_[^4EFPFP>@LK@BOKCLOQEBP>CBQVLCQEBPQRABKQPC>@RIQVPQ>CC
               >KAQEBOBPFABKQPLC'OBBK-B>ALTP_ 2

               'BLODB(>Q@EBO^TE>QTFIIE>MMBKQLLROMOLMBOQVS>IRBPTEBKQEBKBFDE?LOELLA
               sits adjacent to a drug rehab centBO_ 2

               Malody Valentine-(LIIFJ>K ^0I>@FKD > JBAF@>I PR?PQ>K@B >?RPB @BKQBO FK LRO
               neighborhood violates the peace of mind that the residents have come to expect
               IFSFKDFKQEFPKBFDE?LOELLA_[^4EBMOBPBK@BLC>JBAF@>IPR?PQ>K@B>?RPB@BKQBO
               will c>RPBQEBJQLIFSBFK>KUFBQV>KACB>OCLOQEBOBJ>FKABOLCQEBFOMOB@FLRPIFSBP_
               (R.37)

               #EBOVI%IAOFADB^2BD>OAIBPPLCQEBC>@QQE>QQEBM>QFBKQPJ>V?BCFOPOBPMLKABOP
               they are addicts who have an ongoing, incurable illness, and they are plagued with
               aIILCQEB@E>IIBKDBP>KAMFQC>IIPQE>QBK@LJM>PP?BFKD>AAF@QP_ 2



                                                   
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                Wanda F. Watson: ^Nearly all residents of the Green Meadows neighborhood is
                @LJMIBQBIV LMMLPBA QL QEFP QOB>QJBKQ C>@FIFQV QE>Q TFII [ MLQBKQF>IIV ILTBO QEB
                property value of the KBFDE?LOELLA_ (R.44)

                                                  119.

        Residents who vocally opposed the application did so simply because the facility sought to

treat individuals seeking to recover from drug and alcohol addiction. There were no other grounds

to object to the treatment facility.

                                                  120.

        Although the manifest weight of the evidence overwhelmingly supported the approval of

Petitioner`P PMB@F>I BU@BMQFLK >MMIF@>QFLK FOO>QFLK>I CB>O >KA AFP@OFJFK>QFLK >D>FKPQ AFP>?IBA

individuals seeking to recover from drug and alcohol addiction dominated the hearings before both

the Planning Commission and the Augusta Commission.

                                                  121.

        For example, the primary concern of residents was for safety, security, and property values,

although there is no evidence that the proposed use by the Hale Foundation will cause any

diminishment of safety, security, and property values. They refer to the Hale Foundation as a

^@LKQO>OV?RPFKBPP_

                                                  122.

        /KBKBFDE?LOQBPQFCFBA>QQEB!RDRPQEB>OFKDQE>Q^7BTFIIKLQE>SBLROP>CBQV

our security, we will be nervous because we do not know what is going on back there. They may

MRQFKMOB@>RQFLKP[?RQVLRKBSBOHKLTTE>QFPDLFKDQLE>MMBK_(BCROQEBOPQ>QBA^7BALKLQ

want our grandchildren to feel that they cannot play in the road because there is someone coming

dLTKQEBPQOBBQCOLJQEBQOB>QJBKQ@BKQBO_

                                                  123.




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       Another resident referenced a fear of finding a person on her porch in the middle of the

night or in her pool in the morning. These are irrational, unfounded and discriminatory fears that

cannot serve as a basis for excluding a voluntary residential treatment facility from opening.

                                               124.

       No resident provided any logical or evidence-based reasoning for the disapproval of the

special exception application, other than the discriminatory grounds that they do not want a drug

and alcohol treatment facility in their back yard. This is no different under the law than objecting

QLQEB(>IB&LRKA>QFLK`PRPB?>PBARMLKQEB@LILOLOO>@BLCFQPMOLMLPBAM>QFBKQP

                                               125.

       There was absolutely no objection to the number of residents, the activities to be conducted

on the property, the noise, the smell, the increased traffic, or to any other objective, non-

discriminatory criteria that could serve as a basis to deny the Special Exception Application.

                                               126.

       The commissioners who voted against the Hale Foundation similarly did not provide any

logical or evidentiary grounds to deny the application. Instead, they simply indicated that they

would cast their votes according to the wishes of the residents of Green Meadows (even if they

had not non-discriminatory objections), which wished were clearly based entirely on

discriminatory grounds.

                                               127.

       Commissioner Ben Hasan went so far as to declare that the Commissioners would stand

witEQEBTFPEBPLCQEBKBFDE?LOELLA^OBD>OAIBPPLCTEBQEBOFQT>P>DLLAMOLGB@QLOan excellent

MOLGB@Q_(R.254)

                                               128.




                                                  
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       (BFKAF@>QBAQE>QEBTLRIAPRMMLOQ>KBFDE?LOELLA`PL?GB@QFLKPFJMIV?B@>RPBFQALBPKLQ

want an activity in its neighborhood (even if the reasoning is based on discriminatory grounds).

                                               129.

       Commissioner William Fennoy similarly explained that he would cast his vote based solely

upon the wishes of the neighborhood. Since there was no non-discriminatory grounds put forward

by the neighborhood to oppose the Special Exception Application, this means his vote was based

purely on discriminatory objections to a protected class of patients who would utilize the Hale

&LRKA>QFLK`PPBOSF@BP (R. 256)

                                               130.

       However, as Commissioner Marion Williams explained, the Hale Foundation does not

have a history of a single safety concern arising from its existing facilities in Augusta, Georgia.

Hence, the fear and concerns asserted by the residents of Green Meadows arise simply from

unsupported, discriminatory views of the Hale Foundation and its patients. (R.255)

                                               131.

       Commissioner Brandon Garrett explained that the Hale House has met every condition put

to it by the County, but the goal post keeps getting moved by Augusta. This is because of

!RDRPQ>`P ABPFOB QL keep the Hale Foundation out of the Property, even though there is no

remaining non-discriminatory reason to do so. (R.253)

                                               132.

       !RDRPQ>`P >@QFLKP LC JLSFKD QEB DL>I MLPQ LSBO QEB M>PQ QEOBB VB>OP >OB >@QP LC

discrimination for which Petitioner seeks a remedy in this court.

                                               133.




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           4EB &>FO (LRPFKD !@Q ^&(!_ >KA PLJBQFJBP OBCBOOBA QL >P QEB ^&>FO (LRPFKD

!JBKAJBKQP!@Q_LO^&(!!_ 53#XBQPBNDR>O>KQBBPC>FOELRPFKDQLE>KAF@>MMBA

individuals.

                                                      134.

           5KABOQEB&(!QEBQBOJ^E>KAF@>M_JB>KPTFQEOBPMB@QQL>MBOPLK>^MEVPF@>ILOJBKQ>I

FJM>FOJBKQTEF@EPR?PQ>KQF>IIVIFJFQPLKBLOJLOBLCPR@EMBOPLK`PJ>GLOIFCB>@QFSFQFBP>OB@LOA

LCPR@EFJM>FOJBKQLO?BFKDOBD>OABA>PE>SFKDPR@E>KFJM>FOJBKQ_53#X E 

                                                      135.

           4EB QBOJ ^MEVPF@>I LO JBKQ>I FJM>FOJBKQ_ FK@IRABP ^>I@LELIFPJ_ >KA ^AORD >AAF@QFLK

    LQEBO QE>K >AAF@QFLK @>RPBA ?V @ROOBKQ FIIBD>I RPB LC > @LKQOLIIBA PR?PQ>K@B _  #&2 X

100.201.

                                                      136.

           (>IB&LRKA>QFLK`PM>QFBKQP>OBNR>IFCFBAFKAFSFAR>IPTFQEdisabilities within the meaning

of 42 U.S.C. § 12101.

                                                      137.

           Under the FHA, it is unlawful to discriminate against or otherwise make unavailable or

deny a dwelling to any buyer or renter because of a handicap of that buyer, renter, or person

residing in or intending to reside in that dwelling after it is sold, rented, or made available. 42

U.S.C. § 3604(f)(1).

                                                      138.

           The proposed residential buildings within the rehabilitation center qualify as dwellings

under the FHA.

                                                      139.

           Defendant has violated, and is continuing to violate, the FHA by, among other things:


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            a. !IILTFKDLCCF@F>I>KA@LJJRKFQVMOBGRAF@B>D>FKPQ(>IB&LRKA>QFLK`PAFP>?IBA
               patients to dictate the outcome of the zoning hearings;

            b. Discriminating against Petitioner and the disabled patients that Hale Foundation is
               committed to serve;

            c. Denying the requested special exception because of the disabled status of the
               residents that the proposed facility would house and treat; and

            d. Refusing to engage in a reasonable accommodation analysis in connection with
               their denial of Petitioner`PPMB@F>IBU@BMQFLK>MMIF@>QFLK


                                                 140.

        $BCBKA>KQ`P>O?FQO>OV>KAAFP@OFJFK>QLOVMLIF@FBPFKOBPMB@QQL>KAFKQBOMOBQ>QFLKLCQEB

Augusta Zoning Ordinance have also had a disparate impact on those suffering from addiction,

includiKD(>IB&LRKA>QFLK`PAFP>?IBAM>QFBKQPFKPBSBO>IT>VPQE>Q>OBRKI>TCRIRKABOQEB&(!

These include, among others:

        a. By allowing special exceptions for this Property for multi-family uses, but not allowing
           residential facilities for the treatment of substance abuse and addiction on the same
           0OLMBOQV$BCBKA>KQ`PFKQBOMOBQ>QFLK>KABKCLO@BJBKQLCFQP:LKFKD/OAFK>K@BE>P>
           disparate impact on those suffering from the disability of addiction; and

        b. By utilizing its Zoning Ordinance to impose, and interpreting its Zoning Ordinance to
           require, onerous conditions on facilities for the treatment of addiction that are not
           imposed upon other permitted special exceptions, such as the convent that operated on
           this Property for 40 years, or the monastery that proposed to operate on the Property,
           $BCBKA>KQ`PFKQBOMOBQ>QFLK>KABKCLO@BJBKQLCFQP:LKFKD/OAFK>K@BE>P>AFPM>O>QB
           impact on those suffering from the disability of addiction.

                                                 141.

        )K>AAFQFLK$BCBKA>KQSFLI>QBAQEB&(!`POB>PLK>?IB>@@LJJLA>QFLKOBNRFOBment. The

&(! MOLEF?FQP ^> OBCRP>I QL J>HB OB>PLK>?IB >@@LJJLA>QFLKP FK ORIBP MLIF@FBP MO>@QF@BP LO

services, when such accommodations may be necessary to afford such person equal opportunity

QLRPB>KABKGLV>ATBIIFKD_53#X C  " $BPMite Petitioner`POBMB>QBAOBNRBPQPCLO

a reasonable accommodation throughout the zoning hearings, Defendant failed to provide

OB>PLK>?IB>@@LJJLA>QFLKPCLO(>IB&LRKA>QFLK`PAFP>?IBAM>QFBKQP
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                                                142.

       Defendant has failed to make reasonable accommodations to Petitioner and Hale

&LRKA>QFLK`PM>QFBKQPFKPBSBO>IT>VP?V>JLKDLQEBOQEFKDP

           a. )JMLPFKDLKBOLRPOBNRFOBJBKQP>KALQEBO@LKAFQFLKPLKQEBC>@FIFQV`PLMBO>QFLKQE>Q
              are not required of other, similar special exceptions;

           b. Failing to permit the facility to operate in the identical manner as the conventit
              would replace solely because of the disabled status of the patients the facility would
              house and treat;

           c. Denying Petitioner`P PMB@F>I BU@BMQFLK >MMIF@>QFLK FK M>OQ LK QEB PQ>QBA ?RQ
              unsupported ground that, due to the public stigma associated with those suffering
              from addiction, the proposed facility would result in a reduction in property value
              for a nearby residents, without considering Petitioner`P @LKQO>OV BSFABK@B LO
              evaluating whether any risk of such a decline could be reduced or eliminated by
              conditions placed on Petitioner or by other measures, or whether the overall benefits
              to the health and welfare of the community provided by the facility outweighed any
              such risk; and

           d. Voting to deny Petitioner`P>MMIF@>QFLKBSBK>CQBO(>IB&LRKA>QFLK>DOBBAQL>IILC
              !RDRPQ>`POB@LJJBKABA@LKAFQFLKPCLOQEB>MMOLS>ILCQEBPMB@F>IBU@BMQFLK>IILC
              which were recommended by the Pl>KKFKD #LJJFPPFLK QL >AAOBPP $BCBKA>KQ`P
              concerns regarding the proposed facility.


                                                143.

       3FJFI>OIV QEB !JBOF@>KP TFQE $FP>?FIFQFBP !@Q ^!$!_  MOLSFABP QE>Q KL NR>IFCFBA

individual with a disability shall, by reason of such disability, be excluded from participation in or

be denied the benefits of any service, program, or activity of a public entity, or be subjected to

discrimination by any such entity. The ADA also makes it unlawful for a public entity, in

determining the site or location of a facility, to make selections that have the purpose or effect of

excluding individuals with disabilities. 42 U.S.C. § 12132; 28 C.F.R. § 35.130.

                                                144.

       (>IB &LRKA>QFLK`P M>QFBKQP >OB NR>IFCFBA MBOPLKP RKABO QEB !$! TFQE AFP>?FIFQFBP QE>Q

substantially impair one or more major life activities.


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                                                 145.

        The first criteria for admission to the treatment facility for patients will be that the patient

has been diagnosed as suffering from drug or alcohol addiction and has agreed to participate in

substance abuse treatment. !PM>OQLCQEFPOBNRFOBJBKQ(>IB&LRKA>QFLK`PJBAF@>IMBOPLKKBIJRPQ

determine that the patient is suffering from drug or alcohol addiction to such a degree that he or

she is unable to care for him- or herself.

                                                 146.

        While being treated at the facility, HaIB&LRKA>QFLK`PM>QFBKQPTFIIKLQ?BFIIBD>IIVRPFKD

@LKQOLIIBAPR?PQ>K@BP!PPR@E(>IB&LRKA>QFLK`PM>QFBKQP>OB^NR>IFCFBAMBOPLKPTFQEAFP>?FIFQFBP_

within the meaning of the ADA. 42 U.S.C. § 12102(2); 28 C.F.R. § 35.104.

                                                 147.

        Defendant are qualifying public entities within the meaning of the ADA. 42 U.S.C. §

12131(1)(A).

                                                 148.

        Section 12132 of the ADA constitutes a general prohibition against discrimination on the

basis of disability by public entities.

                                                 149.

        Defendant has violated, and are continuing to violate, the ADA by, among other things:

            a. !IILTFKD LCCF@F>I >KA @LJJRKFQV MOBGRAF@B >D>FKPQ (>IB &LRKA>QFLK`P AFP>?IBA
               patients to dictate the outcome of the zoning hearings;

            b. Discriminating against Petitioner and the disabled patients that Hale Foundation is
               committed to serve;

            c. Denying the requested special exception because of the disabled status of the
               residents that the proposed facility would house and treat;

            d. Imposing, or seeking to impose, discriminatory conditions upon Petitioner solely
               because of the disabled status of the residents that the proposed facility would
               house and treat; and
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            e. Refusing to engage in a reasonable accommodation analysis in connection with
               their denial of Petitioner`PPMB@F>IBU@BMQFLK>MMIF@>QFLK


                                                  150.

        $BCBKA>KQ`P>O?FQO>OV>KAAFP@OFJFK>QLOVMLIF@FBPFKOBPMB@QQL>KAFKQBOMOBQ>QFLKLCQEB

Augusta Zoning Ordinance have also had a disparate impact on those suffering from addiction,

FK@IRAFKD(>IB&LRKA>QFLK`PAFP>?IBAM>QFBKQPFKPBSBO>IT>VPQE>Q>OBRKI>TCRIRKABOQEB!$!

These include, among others:

        a. By allowing other similar facilities to operate on the Property and in the R-1 Zoning
           District, but not allowing residential facilities for the treatment of substance abuse and
           >AAF@QFLK FK QELPB P>JB AFPQOF@QP $BCBKA>KQ`P FKQBOMOBQ>QFLK >KA BKCLO@BJBKQ LC FQP
           Zoning Ordinance has a disparate impact on those suffering from the disability of
           addiction; and

        b. By utilizing its Zoning Ordinance to impose, and interpreting its Zoning Ordinance to
           require, onerous conditions on facilities for the treatment of addiction that are not
           imposed upon other permitted special exceptions, such as the convent that operated on
           this site for 40 years, DBCBKA>KQ`P FKQBOMOBQ>QFLK >KA BKCLO@BJBKQ LC FQP :LKFKD
           Ordinance has a disparate impact on those suffering from the disability of addiction.

                                                  151.

        )K>AAFQFLK$BCBKA>KQSFLI>QBAQEB!$!`POB>PLK>?IB>@@LJJLA>QFLKOBNRFOBJBKQ4EB

!$! MOLSFABP ^! MR?IF@ BKQFQV PE>II J>HB OB>PLK>?IB JLAFCF@>QFLKP FK MLIF@FBP MO>@QF@BP LO

procedures when the modifications are necessary to avoid discrimination on the basis of disability,

unless the public entity can demonstrate that making the modifications would fundamentally alter

QEBK>QROBLCQEBPBOSF@BMOLDO>JLO>@QFSFQV_#&2X ?  $BPMFQB Petitioner`P

repeated requests for a reasonable accommodation throughout the zoning hearings, Defendant

C>FIBAQLMOLSFABOB>PLK>?IB>@@LJJLA>QFLKCLO(>IB&LRKA>QFLK`PAFP>?IBAM>QFBKQP-LOBLSBO

Defendant cannot demonstrate that accommodating Petitioner >KA (>IB &LRKA>QFLK`P M>QFBKQP

would fundamentally alter the nature of the Augusta Zoning Ordinance.

                                                  152.

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       Defendant has failed to make reasonable accommodations to Petitioner and Hale

&LRKA>QFLK`PM>QFBKQPFKPBSBO>IT>VP?V>JLKDLQEBOQEFKDP

       a. Imposing onerous security requirements and other @LKAFQFLKPLKQEBC>@FIFQV`PLMBO>QFLK
          that are not required of other, similar special exceptions;

       b. Failing to permit the facility to operate in the identical manner as the boarding school
          it would replace solely because of the disabled status of the patients the facility would
          house and treat;

       c. Denying Petitioner`PPMB@F>IBU@BMQFLK>MMIF@>QFLKFKM>OQLKQEBPQ>QBA?RQRKPRMMLOQBA
          ground that, due to the public stigma associated with those suffering from addiction,
          the proposed facility would result in a reduction in property value for a nearby
          residential homeowners, without considering Petitioner`P @LKQO>OV BSFABK@B LO
          evaluating whether any risk of such a decline could be reduced or eliminated by
          conditions placed on Petitioner or by other measures, or whether the overall benefits to
          the health and welfare of the community provided by the facility outweighed any such
          risk; and

       d. Voting to deny Petitioner`P>MMIF@>QFLK BSBK >CQBO (>IB &LRKA>QFLK>DOBBA QL >II LC
          !RDRPQ>`POB@LJJBKABA@LKAFQFLKPCLOQEB>Mproval of the special exception, all of
          which were supposedly recommended by the Planning Commission to address
          $BCBKA>KQ`P@LK@BOKPOBD>OAFKDQEBMOLMLPBAC>@FIFQV

                                                153.

       Finally, the Rehabilitation Act, 29 U.S.C. § 791, et seq., provides that no qualified

individual with a disability shall, solely by reason of his or her disability, be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any program or

activity receiving federal financial assistance. 29 U.S.C. § 794(a).

                                                154.

       Augusta receives federal financial assistance, including through federal grant programs

such as the Community Development Block Grant program, which is funded by the United States

Department of Housing and Urban Development.

                                                155.




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       Section 50 LC QEB 2BE>?FIFQ>QFLK !@Q ABCFKBP ^MOLDO>J LO >@QFSFQV_ >P ^>II LC QEB

LMBO>QFLKP_LCPMB@FCF@BKQFQFBPFK@IRAFKD^>ABM>OQJBKQ>DBK@VPMB@F>IMROMLPBAFPQOF@QLOLQEBO

FKPQORJBKQ>IFQVLC>3Q>QBLOLC>IL@>IDLSBOKJBKQ_53#X ?  ! 

                                                156.

       Defendant are qualifying public entities within the meaning of the Rehabilitation Act.

                                                157.

       Zoning decisions by a municipality are normal functions of a governmental entity and thus

are covered by the Rehabilitation Act.

                                                158.

       Hale &LRKA>QFLK`P M>QFBKQP >OB NR>IFCFBA MBOPLKP RKABO QEB 2BE>?FIFQ>QFLK !@Q TFQE

disabilities that substantially impair one or more major life activities. See 29 U.S.C. §705(9)(B);

42 U.S.C. § 12102.

                                                159.

       The first criteria for admission to the treatment facility for patients will be that the patient

has been diagnosed as suffering from drug or alcohol addiction and has agreed to participate in

PR?PQ>K@B>?RPBQOB>QJBKQ!PM>OQLCQEFPOBNRFOBJBKQ(>IB&LRKA>QFLK`PJBAF@>IMBOPLKKBIJRPQ

determine that the patient is suffering from drug or alcohol addiction to such a degree that he or

she is unable to care for him- or herself.

                                                160.

       7EFIB?BFKDQOB>QBA>QQEBC>@FIFQV(>IB&LRKA>QFLK`PM>QFBKQPTFIIKLQ?BFIIBD>IIVRPFKD

controlled substances. As such, Hale &LRKA>QFLK`PM>QFBKQP>OB^NR>IFCFBAMBOPLKPTFQEAFP>?FIFQFBP_

within the meaning of the Rehabilitation Act. 29 U.S.C. § 705(9)(B); 42 U.S.C. § 12102(2); 28

C.F.R. § 35.104.

                                                161.


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          Section 508 of the Rehabilitation Act constitutes a general prohibition against

discrimination on the basis of disability by public entities.

                                                    162.

          Defendant has violated, and is continuing to violate, the Rehabilitation Act by, among other

things:

          a. !IILTFKDLCCF@F>I>KA@LJJRKFQVMOBGRAF@B>D>FKPQ(>IB&LRKA>QFLK`PAFP>?IBA
             patients to dictate the outcome of the zoning hearings;

          b. Discriminating against Petitioner and the disabled patients that Hale Foundation is
             committed to serve;

          c. Denying the requested special exception because of the disabled status of the
             residents that the proposed facility would house and treat; and

          d. Imposing, or seeking to impose, discriminatory conditions upon Petitioner solely
             because of the disabled status of the residents that the proposed facility would house
             and treat; and

          e. Refusing to engage in a reasonable accommodation analysis in connection with their
             denial of Petitioner`PPMB@F>IBU@BMQFLK>MMIF@>QFLK


                                                    163.

          $BCBKA>KQ`P>O?FQO>OV>KAAFP@OFJFK>QLOVMLIF@FBPFKOBPMB@QQL>KAFKQBOMOBQ>QFLKLCQEB

Augusta Zoning Ordinance have also had a disparate impact on those suffering from addiction,

FK@IRAFKD (>IB &LRKA>QFLK`P AFP>?IBA M>QFBKQP FK PBSBO>I T>VP QE>Q >OB RKI>TCRI RKABO QEB

Rehabilitation Act. These include, among others:

          a. By allowing other similar facilities to operate on the Property and in the R-1 Zoning
             District, but not allowing residential facilities for the treatment of substance abuse and
             >AAF@QFLK FK QELPB P>JB AFPQOF@QP $BCBKA>KQ`P FKQBOMOBQ>QFLK >KA BKCLO@BJBKQ LC FQP
             Zoning Ordinance has a disparate impact on those suffering from the disability of
             addiction; and

          b. By utilizing its Zoning Ordinance to impose, and interpreting its Zoning Ordinance to
             require, onerous conditions on facilities for the treatment of addiction that are not
             imposed upon other permitted special exceptions, such as the convent that operated on
             QEFP PFQB CLO  VB>OP $BCBKA>KQ`P FKQBOMOBQ>QFLK >KA BKCLO@BJBKQ LC FQP :LKFKD
             Ordinance has a disparate impact on those suffering from the disability of addiction.
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                                               164.

       In addition, Defendant violated the RehabilitatiLK !@Q`P OB>PLK>?IB >@@LJJLA>QFLK

requirement. The Rehabilitation Act prohibits a government entity from refusing to modify an

existing program or to make reasonable accommodations to the disabled where to do so would

render the program unreasonable or discriminatory. Despite Petitioner`POBMB>QBAOBNRBPQPCLO>

reasonable accommodation throughout the zoning hearings, Defendant failed to provide or make

>KVBCCLOQPQLT>OA>OB>PLK>?IB>@@LJJLA>QFLKCLOQEB(>IB&LRKA>QFLK`PAFP>?IBAM>QFBKQP

                                               165.

       Defendant has failed to make reasonable accommodations to Petitioner and Hale

&LRKA>QFLK`PM>QFBKQPFKPBSBO>IT>VP?V>JLKDLQEBOQEFKDP

       a. )JMLPFKDLKBOLRPPB@ROFQVOBNRFOBJBKQP>KALQEBO@LKAFQFLKPLKQEBC>@FIFQV`PLMBO>QFLK
          that are not required of other, similar special exceptions;

       b. Failing to permit the facility to operate in the identical manner as the boarding school
          it would replace solely because of the disabled status of the patients the facility would
          house and treat;

       c. Denying Petitioner`PPMB@F>IBU@BMQFLK>MMIF@>QFLKFKM>OQLKQEBPQ>QBA?RQRKPRMMLOQBA
          ground that, due to the public stigma associated with those suffering from addiction,
          the proposed facility would result in a reduction in property value for a nearby
          residential homeowners, without considering Petitioner`P @LKQO>OV BSFABK@B LO
          evaluating whether any risk of such a decline could be reduced or eliminated by
          conditions placed on Petitioner, or by other measures, or whether the overall benefits
          to the health and welfare of the community provided by the facility outweighed any
          such risk; and

       d. Voting to deny Petitioner`P>MMIF@>QFLK BSBK >CQBO (>IB &LRKA>QFLK>DOBBA QL >II LC
          !RDRPQ>`POB@LJJBKABA@LKAFQFLKPCLOQEB>MMOLS>ILCQEBPMB@F>IBU@BMQFLK>IILC
          which were OB@LJJBKABA ?V QEB 0I>KKFKD #LJJFPPFLK QL >AAOBPP $BCBKA>KQ`P
          concerns regarding the proposed facility.


                                               166.

       Petitioner >KA(>IB&LRKA>QFLK`PM>QFBKQPE>SBPRCCBOBA>KA@LKQFKRBQLPRCCBOPR?PQ>KQF>I

A>J>DBP>KALQEBOE>OJ>P>OBPRIQLC$BCBKA>KQ`PRKIawful conduct.


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                              COUNT VI
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                                                167.

        Petitioner hereby realleges and incorporates by reference the foregoing paragraphs of this

Petition as if fully set forth herein.

                                                168.

        The denial of the Application was in bad faith, wanton and malicious, without justification

or good cause, stubbornly litigious, and has caused Petitioner to incur attorney's fees and other

costs and expenses of litigation.

                                                169.

        Pursuant to O.C.G.A. § 13-6-11, Petitioner is entitled to recover reasonable attorney's fees

and other costs and expenses of litigation in bringing this action.

                                                170.

        Petitioner is also entitled to attorney fees under the ADA, FHA, and Rehabilitation Act.

        WHEREFORE, Petitioner prays for the following relief:

        A.      That the Court cause a Summons to issue and allow service to issue against

Respondents/Defendants;

        B.      That a writ of certiorari be directed to the Respondents and that the Respondents be

directed to certify and send up the complete record of proceedings pertaining to the August 18,

2020 Commission hearing;

        C.      That this Court reverse the Commission PABKF>ILC0BQFQFLKBO`P Special Exception

Application and order the Commission to grant the special exception as requested by the Petitioner;

        D.      That this Court declare that 0BQFQFLKBO`PSpecial Exception Application satisfies the

standards for approval as described in the Augusta-2F@EJLKA#LRKQV`P#LJMOBEBKPFSB:LKFKD

Ordinance;
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       E.      That this Court declare that the Commission's actions in denying the Special

Exception Application were arbitrary, capricious, unreasonable, and discriminatory, and as a

result, denied Petitioner due process of law, as guaranteed under the Constitution of the State of

Georgia;

       F.      That this Court declare that the Commission's denial of the Special Exception

Application is an unconstitutional taking of Petitioner`Pproperty rights in violation of Article I,

Section I, Paragraph I and Article I, Section III, Paragraph I of the Constitution of the State of

Georgia, and the Just Compensation Clause of the Fifth Amendment and Due Process Clause of

the Fourteenth Amendment to the Constitution of the United States;

       G.      That this Court declare that the Commission's denial of the Special Exception

Application is arbitrary, capricious, discriminatory, null and void as it bears no substantial

relationship to the public health, safety, morals or general welfare;

       H.      That this Court declare that the Commission's denial of the Special Exception

Application discriminates between Petitioner and other similarly situated property owners in

SFLI>QFLKLC0BQFQFLKBO`POFDEQQLBNR>IMOLQB@QFLKRKABO!OQF@IB)3B@QFLK)0>O>DO>ME))LCQEB

Constitution of the State of Georgia and the Equal Protection Clause of the Fourteenth Amendment

to the Constitution of the United States;

       I.      That this Court declare that the actions of the Commission in denying the Special

Exception Application have resulted in a denial of substantive and procedural due process of law

as guaranteed by the Constitutions of the State of Georgia and the United States;

       J.      That this Court declare that the Commission's failure to comply with its own

Comprehensive Zoning Ordinance which required the Commission to apply specific standards for

approval of Special Exception Applications denied Petitioner of the due process of law and a fair

and impartial hearing, as guaranteed by the 1983 Constitutional of the State of Georgia and Fifth


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and Fourteenth Amendments of the Constitution and resulted in a decision that was arbitrary,

capricious, unreasonable, and void;

        K.      That this Court declare that the Commission's failure to adhere to its own

Comprehensive Zoning Ordinance renders its decision on the 0BQFQFLKBO`P Special Exception

Application null and void;

        L.      That the Court enjoin the Commission and compel the issuance of the requested

Special Exception for the Property.

        M.      4E>QQEB#LROQAB@I>OB$BCBKA>KQ`PFJMOLMBOABKF>IPLC0I>FKQFCC`P>MMIF@>QFLKCLO>

special exception constituted violations of the FHA, ADA, and the Rehabilitation Act, and that

Hale Foundation and its patients are entitled to reasonable accommodations to facilitate the

LMBO>QFLKLCQEBOBE>?FIFQ>QFLK@BKQBO>PMOLMLPBAFK0I>FKQFCC`P>MMIF@>QFLK

        N.      That the Court enter preliminary and permanent injunctive relief permitting Hale

&LRKA>QFLK`P LMBO>QFLK LC QEB OBE>?FIFQ>QFLK @BKQBO >P MOLMLPBA FK 0I>FKQFCC`P >MMIF@>QFLK >KA

BKGLFKFKD$BCBKA>KQCOLJL?PQOR@QFKDLOFKQBOCBOFKDTFQE(>IB&LRKA>QFLK`PLMBO>QFLKQEBOBLC

        O.      That this Court enter judgment in favor of Petitioner and award the Petitioner

Compensatory damages in an amount to be shown at trial;

        P.      That this Court enter judgment in favor of Petitioner and award Petitioner

reasonable attorney's fees and costs and expenses of litigation pursuant to O.C.G.A. § 13-6-11, and

pursuant to the FHA, ADA, and the Rehabilitation Act; and

        Q.      That this Court conduct a trial by jury on all claims so triable.

        R.      For such other and further relief as this Court deems just, proper, and appropriate

under the facts and evidence presented to it.




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      Respectfully submitted this 22nd day of January, 2021.

                                                   /s/ Christopher A. Cosper
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                                                   Attorneys for Petitioner




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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION

                                            )
AUGUSTA, GEORGIA,                           )
                                            )
                                 Plaintiff, )
                                            )
v.                                          )      CASE NO.:
                                            )
AMERISOURCEBERGEN DRUG                      )
CORPORATION; CARDINAL HEALTH,               )
INC.; McKESSON CORPORATION;                 )
PURDUE PHARMA L.P.; PURDUE                  )
PHARMA, INC.; THE PURDUE FREDERICK )
COMPANY, INC.; TEVA                         )
PHARMACEUTICAL INDUSTRIES, LTD.;            )                   COMPLAINT
TEVA PHARMACEUTICALS USA, INC.;             )
CEPHALON, INC.; JOHNSON & JOHNSON; )               Complaint for Public Nuisance, Violations
JANSSEN PHARMACEUTICALS, INC.;              )         of Racketeer Influenced and Corrupt
ORTHO-MCNEIL-JANSSEN                        )        Organizations Act (RICO) 18 U.S.C. §
PHARMACEUTICALS, INC. n/k/a JANSSEN )
                                                     1961 et seq., Violations of 18 U.S.C. §
PHARMACEUTICALS, INC.; JANSSEN              )
PHARMACEUTICA INC. n/k/a JANSSEN            )      1962 et seq., Violations of Georgia RICO
PHARMACEUTICALS, INC.; NORAMCO,             )        Act, Ga. Code Ann. § 16-14-1 et seq.,
INC.; ENDO HEALTH SOLUTIONS INC.;           )              Negligence and Negligent
ENDO PHARMACEUTICALS, INC.;                 )        Misrepresentation, Negligence Per Se;
ALLERGAN PLC f/k/a ACTAVIS PLS;             )       Fraud and Fraudulent Misrepresentation.
WATSON PHARMACEUTICALS, INC. n/k/a )
ACTAVIS, INC.; WATSON                       )
LABORATORIES, INC.; ACTAVIS LLC;            )
ACTAVIS PHARMA, INC. f/k/a WATSON           )        JURY TRIAL DEMANDED AND
PHARMA, INC.;                               )           ENDORSED HEREON
MALLINCKRODT PLC and                        )
MALLINCKRODT LLC.                           )
                                            )
                               Defendants. )
   ______________________________________)




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         Plaintiff, AUGUSTA, GEORGIA,1 brings this Complaint against Defendants Purdue

Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Teva Pharmaceutical

Industries, LTD.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen

Pharmaceuticals,        Inc.;    Ortho-McNeil-Janssen            Pharmaceuticals,         Inc.    n/k/a     Janssen

Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals, Inc.; Noramco,

Inc.; Endo Health Solutions, Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a Actavis PLS;

Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.; Actavis, LLC;

Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt plc; Mallinckrodt LLC;

McKesson Corporation; Cardinal Health, Inc.; and AmerisourceBergen Drug Corporation

(collecTIVELYe'EFENDANTSfANDALLEGEs as follows:

                                          I.     INTRODUCTION

         1.     Plaintiff brings this civil action to eliminate the hazard to public health and safety

caused by the opioid epidemic, to abate the nuisance caused thereby and to recoup monies spent

because of 'EFENDANTSh FALSE DECEPTIVE AND UNFAIR MARKETING ANDOR UNLAWFUL DIVERSION OF

prescription opioids.2 Such economic damages were foreseeable to Defendants and were

sustained because of Defendantsh intentional and/or unlawful actions and omissions.

         2.     Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions.3




1
  e$UGUSTA*EORGIAfISTHEOFFICIALNAMEOFTHECONSOLIDATEDGOVERNMENTOFTHE&ITYOF$UGUSTAAND5ICHMOND
County, Georgia. Georgia Laws, 1997, Page 4024, changed the name of the Augusta-5ICHMOND&OUNTYTOe$UGUSTA
*EORGIAf&HARTERAND&ODEOF2RDINANCES of the Code of Augusta-Richmond County, available at
http://www.augustaga.gov/DocumentCenter/View/747.
2
  $SUSEDHEREINTHETERMeOPIOIDfREFERSTOTHEENTIREFAMILYOFOPIATEDRUGS including natural, synthetic and semi-
synthetic opiates.
3
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic PainPMisconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).



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           3.        7HEOPIOIDEPIDEMICISeDIRECTLYRELATEDTOTHEINCREASINGLYWIDESPREADMISUSE of

POWERFULOPIOIDPAINMEDICATIONSf4

           4.        Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, which turned patients into drug addicts for their own corporate profit. Such

actions were intentional and/or unlawful.

           5.        Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached

their legal duties under federal and state law to monitor, detect, investigate, refuse and report

suspicious orders of prescription opiates.

                                                II.    PARTIES

A. Plaintiff.

           6.        3LAINTIFF $8*867$ *(25*,$ e$UGUSTAf OR e3LAINTIFFf IS THE CONSOLIDATED

government of Richmond County, Georgia and the City of Augusta, Georgia. Charter and Laws

of Local Application, Augusta-Richmond County Code § 1- e7HE &OMMISSION SHALL

constitute a county as well as a municipality for the purpose of the application of the general

laws and Constitution of this state. . . . Said county-wide government shall be a new political

ENTITY A BODY POLITIC AND CORPORATE AND A POLITICAL SUBDIVISION OF THE STATEf  see also Ga. L.

1996,           p.     3607,     (HB       662,       effective      July      1,     1997),       available      at




4
    See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).



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http://www.legis.ga.gov/Legislation/Archives/19971998/leg/fulltext/hb662.htm. It is a body

corporate with the power to sue or be sued in any court. Ga. Code Ann. § 36-1-3.

       7.    Plaintiff is responsible for the public health, safety and welfare of its citizens.

       8.    Plaintiff has declared, inter alia, that opioid abuse, addiction, morbidity and

mortality have created a serious public health and safety crisis and are a public nuisance and that

the diversion of legally produced controlled substances into the illicit market causes or

contributes to this public nuisance.

       9.    The distribution and diversion of opioids into Georgia THEe6TATEf, and into the

County ANDITSSURROUNDINGAREAS COLLECTIVELYe3LAINTIFFhS&OMMUNITYfCREATEDTHEFORESEEABLE

opioid crisis and opioid public nuisance for which Plaintiff here seeks relief.

       10.   Plaintiff directly and foreseeably sustained all economic damages alleged herein.

'EFENDANTSh CONDUCT HAS EXACTED A FINANCIAL BURDEN FOR WHICH THE 3LAINTIFF SEEKS RELIEF

Categories of past and continuing sustained damages include, inter alia: (1) costs for providing

medical care, additional therapeutic and prescription drug purchases, and other treatments for

patients suffering from opioid-related addiction or disease, including overdoses and deaths; (2)

costs for providing treatment, counseling and rehabilitation services; (3) costs for providing

treatment of infants born with opioid-related medical conditions; (4) costs associated with law

enforcement and public safety relating to the opioid epidemic; and (5) costs associated with

providing care for children whose parents suffer from opioid-related disability or incapacitation.

The Plaintiff has suffered and continues to suffer these damages directly.

       11.   3LAINTIFFALSOSEEKSTHEMEANSTOABATETHEEPIDEMIC'EFENDANTShWRONGFULANDOR

unlawful conduct has created.




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        12.    Plaintiff has standing to bring an action for the opioid epidemic nuisance created by

Defendants. Ga. Code Ann. § 36-1-3.

        13.    3LAINTIFF HAS STANDING TO RECOVER DAMAGES INCURRED AS A RESULT OF 'EFENDANTSh

actions and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia,

TO BRING CLAIMS UNDER THE FEDERAL 5,&2 STATUTE PURSUANT TO  86& ]   ePERSONSf

INCLUDE ENTITIES WHICH CAN HOLDLEGAL TITLE TO PROPERTY AND  86& ]  ePERSONSf HAVE

standing). Defendants.

B. Defendants.

              1. Manufacturer Defendants.

        14.    The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or

purported to inform prescribers and users regarding the benefits and risks associated with the use

of the prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured

and sold prescription opioids without fulfilling their legal duty to prevent diversion and report

suspicious orders.

        15.    PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA, INC. is a New York corporation with its principal place of

business in Stamford, Connecticut and THE PURDUE FREDERICK COMPANY is a Delaware

corporation with its principal place of business in Stamford, Connecticut (collectively,

e3URDUEf

        16.    Purdue manufactures, promotes, sells and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER and Targiniq ER in the United States.

2XY&ONTIN IS 3URDUEhS BEST-SELLING OPIOID 6INCE  3URDUEhS ANNUAL NATIONWIDE SALES OF


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OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic

drugs (painkillers).

        17.    CEPHALON, INC. is a Delaware corporation with its principal place of business in

)RAZER 3ENNSYLVANIA 7(9$ 3+$50$&(87,&$/ ,1'8675,(6 /7' e7EVA /TDf IS AN

Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd.

ACQUIRED&EPHALON,NC7(9$3+$50$&(87,&$/686$,1& e7EVA86$fISA'ELAWARE

corporation and is a wholly owned subsidiary of Teva Ltd. in Pennsylvania. Teva USA acquired

Cephalon in October 2011.

        18.    Cephalon, Inc. manufactures, promotes, sells and distributes opioids, such as Actiq

AND)ENTORAINTHE8NITED6TATES7HE)'$HASAPPROVED$CTIQONLYFORTHEeMANAGEMENTOF

breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent

CANCERPAINf5 7HE)'$HASAPPROVED)ENTORAONLYFORTHEeMANAGEMENTOFBREAKTHROUGHPAININ

cancer patients 18 years of age and older who are already receiving and who are tolerant to

around-the-clock OPIOIDTHERAPYFORTHEIRUNDERLYINGPERSISTENTCANCERPAINf6 In 2008, Cephalon

pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading

promotion of Actiq and two other drugs and agreed to pay $425 million.7




5
  Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
6
  Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
7
   3RESS5ELEASE86'EPhTOF-USTICEBiopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea
to Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.



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          19.     Teva Ltd., Teva USA and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

Cephalon in the United States through Teva USA and has done so since its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

to the public. Teva USA sells all former Cephalon-BRANDED PRODUCTS THROUGH ITS eSPECIALTY

MEDICINESfDIVISION7HE)'$-approved prescribing information and medication guide, which is

distributed with Cephalon opioids, discloses that Teva USA submitted the guide and directs

physicians to contact Teva USA to report adverse events.

          20.     $LL OF &EPHALONhS PROMOTIONAL WEBSITES INCLUDING THOSE FOR $CTIQ AND )ENTORA

display 7EVA/TDhSLOGO8 7EVA/TDhSFINANCIALREPORTSLIST&EPHALONhSAND7EVA86$hSSALESAS

its own, and its year-end report for 2012 c the year immediately following the Cephalon

acquisition c ATTRIBUTEDA INCREASEINITSSPECIALTYMEDICINESALESTOeTHE inclusion of a full

YEAR OF &EPHALONhS SPECIALTY SALESf INCLUDING inter alia, sales of Fentora®.9 Through

interrelated operations like these, Teva Ltd. operates in the United States through its subsidiaries,

Cephalon and Teva USA. The United States is tHE LARGEST OF 7EVA /TDhS GLOBAL MARKETS

representing 53% of its global revenue in 2015, and, were it not for the existence of Teva USA

AND &EPHALON ,NC 7EVA /TD WOULD CONDUCT THOSE COMPANIESh BUSINESS IN THE 8NITED 6TATES

itself. Upon information and belief, Teva Ltd. directs the business practices of Cephalon and

Teva USA, and their profits inure to the benefit of Teva Ltd. as controlling shareholder. Teva

Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA, Inc.; and Cephalon, Inc. are

referreDTOASe&EPHALONf


8
    E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21, 2017).
9
 Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.



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       21.   JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey and is a wholly owned subsidiary of

JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

1EW %RUNSWICK 1EW -ERSEY 125$0&2 ,1& e1ORAMCOf IS A 'ELAWARE COMPANY

headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as Janssen

Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey. JANSSEN PHARMACEUTICA, INC., now known as Janssen

Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

3HARMACEUTICALSh STOCK AND CORRESPONDS WITH THE )'$ REGARDING -ANSSENhS PRODUCTS 8PON

INFORMATIONANDBELIEF- -CONTROLSTHESALEANDDEVELOPMENTOF-ANSSEN3HARMACEUTICALSh drugs

AND -ANSSENhS PROFITS INURE TO - -hS BENEFIT -ANSSEN 3HARMACEUTICALS ,NC 2RTHO-McNeil-

Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco and J&J are referred to as

e-ANSSENf

       22.   Janssen manufactures, promotes, sells and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1

billion in annual sales. Until January 2015, Janssen developed, marketed and sold the opioids

Nucynta (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172

million in sales in 2014.

       23.   ENDO HEALTH SOLUTIONS, INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS, INC. is a wholly

owned subsidiary of Endo Health Solutions, Inc. and is a Delaware corporation with its principal




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place of business in Malvern, Pennsylvania. Endo Health Solutions, Inc. and Endo

3HARMACEUTICALS,NCAREREFERREDTOASe(NDOf

       24.   Endo develops, markets and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet and Zydone, in the United States. Opioids made up

ROUGHLY MILLIONOF(NDOhSOVERALLREVENUESOF BILLIONIN2PANA(5YIELDED 

billion in revenue from 2010 and 2013 and accounted for  OF(NDOhSTOTALREVENUEIN

Endo also manufactures and sells generic opioids, such as oxycodone, oxymorphone,

hydromorphone and hydrocodone products, in the United States, by itself and through its

subsidiary, QUALITEST PHARMACEUTICALS, INC.

       25.   ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired Allergan PLC in March

2015, and the combined company changed its name to Allergan PLC in January 2013. Before

that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012, and

the combined company changed its name to Actavis, Inc. as of January 2013 and then Actavis

PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation with its

principal place of business in Corona, California and is a wholly-owned subsidiary of Allergan

PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). ACTAVIS PHARMA, INC. (f/k/a

Actavis, Inc.) is a Delaware corporation with its principal place of business in New Jersey and

was formerly known as WATSON PHARMA, INC. ACTAVIS LLC is a Delaware limited

liability company with its principal place of business in Parsippany, New Jersey. Allergan PLC

owns each of these defendants and uses them to market and sell its drugs in the United States.

Upon information and belief, Allergan PLC exercises control over these marketing and sales

efforts and profits from the sale of Allergan/Actavis products ultimately inure to its benefit.




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Allergan PLC; Actavis PLC; Actavis, Inc.; Actavis LLC; Actavis Pharma, Inc.; Watson

Pharmaceuticals, Inc.; Watson Pharma, Inc. and Watson Laboratories, Inc. are referred to as

e$CTAVISf

        26.     Actavis manufactures, promotes, sells and distributes opioids, including the

branded drugs Kadian and Norco, a generic version of Kadian and generic versions of Duragesic

and Opana, in the United States. Actavis acquired the rights to Kadian from King

Pharmaceuticals, Inc. on December 30, 2008 and began marketing Kadian in 2009.

        27.     MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its United States headquarters in St. Louis,

Missouri. MALLINCKRODT, LLC is a limited liability company organized and existing under

the laws of the State of Delaware. Mallinckrodt, LLC is a wholly owned subsidiary of

0ALLINCKRODTPLC0ALLINCKRODTPLCAND0ALLINCKRODT//&AREREFERREDTOASe0ALLINCKRODTf

        28.     Mallinckrodt manufactures, markets and sells drugs in the United States including

generic oxycodone, of which it is one of the largest manufacturers. In July 2017, Mallinckrodt

agreed to pay $35 million to settle allegations brought by the Department of Justice that it

failed to detect and notify the DEA of suspicious orders of controlled substances.10

              2. Distributor Defendants.

        29.     The Distributor Defendants are defined below. At all relevant times, the Distributor

Defendants have distributed, supplied, sold and placed into the stream of commerce the

prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor


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  3RESS5ELEASE86'EPhTOF-USTICEMallinckrodt Agrees to Pay Record $35 Million Settlement for Failure to
Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations, July 11, 2017,
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders, last visited October 26, 2017.


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Defendants universally failed to comply with federal and/or state law. The Distributor

'EFENDANTS ARE ENGAGED IN eWHOLESALE DISTRIBUTIONf AS DEFINED UNDER State and federal law.

Plaintiff alleges the unlawful conduct by the Distributor Defendants is responsible for the

VOLUMEOFPRESCRIPTIONOPIOIDSPLAGUING3LAINTIFFhS&OMMUNITY

         30.    0C.(6621 &25325$7,21 e0C.ESSONf AT ALL RELEVANT TIMES OPERATED AS A

licensed pharmacy wholesaler in Georgia. McKesson is a Delaware corporation. McKesson has

its principal place of business located in San Francisco, California. McKesson operates

distribution centers in Georgia, including in Duluth, Georgia.

         31.    CARDINAL HEALTH, INC. (e&ARDINALf AT ALL RELEVANT TIMES OPERATED AS A

licensed pharmacy wholesaler in Georgia &ARDINALhS PRINCIPAL OFFICE LOCATEDIN 'UBLIN 2HIO

Cardinal operates distribution centers in Georgia.

         32.    $0(5,6285&(%(5*(1 '58* &25325$7,21 e$MERISOURCE%ERGENf AT

all relevant times operated as a licensed pharmacy wholesaler in Georgia$MERISOURCE%ERGENhS

principal place of business is located in Chesterbrook, Pennsylvania. AmerisourceBergen

operates distribution centers in Georgia, including in Buford, Georgia.

         33.    The data that reveals and/or confirms the identity of each wrongful opioid

DISTRIBUTORISHIDDENFROMPUBLICVIEWINTHE'($hSCONFIDENTIAL$5&26DATABASESee Madel v.

USDOJ, 784 F.3d 448 (8th Cir. 2015). Neither the DEA11 nor the wholesale distributors12 will




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  See DeclaraTIONOF.ATHERINE/0YRICK&HIEF)REEDOMOF,NFORMATION )2,3RIVACY$CT8NIT e6$5)f)2,
5ECORDS0ANAGEMENT6ECTION e6$5f'RUG(NFORCEMENT$DMINISTRATION '($8NITED6TATES'EPARTMENTOF
Justice (DOJ), Madel v. USDOJ, Case 0:13-cv-02832-PAM-FLN, (Document 23) (filed 02/06/14) (noting that
$5&26DATAISeKEPTCONFIDENTIALBYTHE'($f
12
  See Declaration of Tina Lantz, Cardinal Health VP of Sales Operation, Madel v. USDOJ, Case 0:13-cv-02832-
PAM-)/1 'OCUMENT FILED e&ARDINAL+EALTHDOESNOTCUSTOMARILYRELEASEANYOFTHEINFORMATION
identified by the DEA notice letter to the public, nor is the information publicly available. Cardinal Health relies on
DEA tOPROTECTITSCONFIDENTIALBUSINESSINFORMATIONREPORTEDTOTHE$GENCYf



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voluntarily disclose the data necessary to identify with specificity the transactions that will form

the evidentiary basis for the claims asserted herein.

        34.    Consequently, Plaintiff has named the three (3) wholesale distributors (i.e.,

AmerisourceBergen Drug Corporation, Cardinal Health, Inc. and McKesson Corporation) that

DOMINATE OFTHEMARKETSHAREFORTHEDISTRIBUTIONOFPRESCRIPTIONOPIOIDS7HESEe%IGfARE

Fortune 500 corporations listed on the New York Stock Exchange whose principal business is

the nationwide wholesale distribution of prescription drugs. See !87/E478B@@TAI4E7<A4?

Health, Inc., 12 F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal Health, Inc., McKesson

Corporation and AmerisourceBergen Drug Corporation predecessors). The DEA has investigated

and/or fined each for the failure to report suspicious orders. Plaintiff has reason to believe each

has engaged in unlawful conduct that resulted in the diversion of prescription opioids into

3LAINTIFFhS &OMMUNITY AND THAT DISCOVERY WILL LIKELY REVEAL OTHERS WHO LIKEWISE ENGAGED IN

UNLAWFUL CONDUCT 3LAINTIFF NAMES EACH OF THE e%IG f HEREIN AS DEFENDANTS AND PLACES THE

industry on notice that the Plaintiff is acting to abate the public nuisance plaguing the

community. Plaintiff will request expedited discovery pursuant to Rule 26(d) of the Federal

Rules of Civil Procedure to secure the data necessary to reveal and/or confirm the identities of

the wholesale distributors, including data from the ARCOS database.

                               III.    JURISDICTION & VENUE

        35.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§ 1961, et seq e5,&2f 7HIS &OURT HAS SUPPLEMENTAL JURISDICTION OVER 3LAINTIFFhS STATE LAW

CLAIMS PURSUANT TO  86& ]  BECAUSE THOSE CLAIMS ARE SO RELATED TO 3LAINTIFFhS FEDERAL

claims that they form part of the same case or controversy.




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       36.    This Court also has jurisdiction over this action in accordance with 28 U.S.C. §

 ABECAUSETHE3LAINTIFFISAeCITIZENfOFTHIS6TATETHENAMED'EFENDANTSARECITIZENSOF

different states and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

       37.    This Court has personal jurisdiction over Defendants because they conduct

business in the State, they purposefully direct or directed their actions toward the State, some or

all consented to be sued in the State by registering an agent for service of process, they

consensually submitted to the jurisdiction of the State when obtaining a manufacturer or

distributor license and they have the requisite minimum contacts with the State necessary to

constitutionally permit the Court to exercise jurisdiction.

       38.    This Court also has personal jurisdiction over all of the Defendants under 18 U.S.C.

§ 1965(b). This Court may exercise nationwide jurisdiction over the named Defendants where

THEeENDSOFJUSTICEfREQUIRENATIONALSERVICEAND3LAINTIFFDEMONSTRATEs national contacts. Here,

the interests of justice require that Plaintiff be allowed to bring all members of the nationwide

RICO enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17

Insurance Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (1998) (citing LaSalle National Bank v.

Arroyo Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988); HG6;8ETF0A<BA'B64?

No. 498 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986).

       39.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. §1965

because a substantial part of the events or omissions giving rise to the claims stated herein

occurred in this District and each Defendant transacted affairs and conducted activity that gave

rise to the claims for relief in this District. 28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).




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                                IV.      FACTUAL BACKGROUND

     A. THE OPIOID EPIDEMIC.

              1. The National Opioid Epidemic.

        40.     Increasing abuse and diversion of prescription drugs, including opioid medications,

have characterized the past two decades in the United States.13

        41.     Prescription opioids have become widely prescribed. By 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month.14

        42.     By 2011, the U.S. Department of Health and Human Resources, Centers for

Disease Control and Prevention declared prescription painkiller overdoses to be at epidemic

levels. The news release noted:

              a. The death toll from overdoses of prescription painkillers has more than tripled in
                 the past decade.

              b. More than 40 people die every day from overdoses involving narcotic pain
                 relievers like hydrocodone (Vicodin), methadone, oxycodone (OxyContin), and
                 oxymorphone (Opana).

              c. Overdoses involving prescription painkillers are at epidemic levels and now kill
                 more Americans than heroin and cocaine combined.

              d. The increased use of prescription painkillers for nonmedical reasons, along with
                 growing sales, has contributed to a large number of overdoses and deaths. In
                 2010, 1 in every 20 people in the United States age 12 and olderda total of 12
                 million peopledreported using prescription painkillers non-medically according
                 to the National Survey on Drug Use and Health. Based on the data from the Drug
                 Enforcement Administration, sales of these drugs to pharmacies and health care
                 providers have increased by more than 300 percent since 1999.


13
 See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
14
  Katherine M. Keyes, et al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).



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                 e. Prescription drug abuse is a silent epidemic that is stealing thousands of lives and
                    tearing apart communities and families across America.

                 f. Almost 5,500 people start to misuse prescription painkillers every day.15

           43.     The number of annual opioid prescriptions written in the United States is now

roughly equal to the number of adults in the population.16

           44.     Many Americans are now addicted to prescription opioids, and the number of

deaths due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed

roughly 64,000 people in the United States, an increase of more than 22 percent over the 52,404

drug deaths recorded the previous year.17

           45.     Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid

painkillers are forty times more likely to be addicted to heroin.18

           46.     Heroin is pharmacologically similar to prescription opioids. The majority of current

heroin users report having used prescription opioids non-medically before they initiated heroin

use. Available data indicates that the nonmedical use of prescription opioids is a strong risk

factor for heroin use.19




15
  See 3RESS5ELEASE&TRSFOR'ISEASE&ONTROLAND3REVENTION86'EPhTOF+EALTHAND+UMAN6ERVSPrescription
Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
16
     See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).
17
  See Ctrs. for DiseaSE&ONTROLAND3REVENTION86'EPhTOF+EALTHAND+UMAN6ERVSProvisional Counts of
Drug Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-
death-estimates.pdf.
18
  See Ctrs. for Disease Control and PreveNTION86'EPhTOF+EALTHAND+UMAN6ERVS/B74LTF#8EB<A C<78@<6,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).
19
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
Med. 154 (2016).



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          47.    The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in 4 years. This increase mirrors large

increases in heroin use across the country and has been shown to be closely tied to opioid pain

reliever misuse and dependence. Past misuse of prescription opioids is the strongest risk factor

for heroin initiation and use, specifically among persons who report past-year dependence or

abuse. The increased availability of heroin combined with its relatively low price (compared with

diverted prescription opioids) and high purity appear to be major drivers of the upward trend in

heroin use and overdose.20

          48.    7HESOCIETALCOSTSOFPRESCRIPTIONDRUGABUSEAREeHUGEf 21

          49.    Across the nation, local governments are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans lose

their lives after overdosing on opioids.22

          50.    The National Institute on Drug Abuse identifies misuse and addiction to opioids as

eASERIOUSNATIONALCRISISTHATAFFECTSPUBLICHEALTHASWELLASSOCIALANDECONOMICWELFAREf 23 The

economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs

of healthcare, lost productivity, addiction treatment and criminal justice expenditures.24


20
 See Rose A. Rudd et al., Increases in Drug and Opioid Overdose DeathsPUnited States, 2000O2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016).
21
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
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22
  Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-CRISISLASTVISITED6EPT e2PIOID&RISIS1,+f CITINGATNOTE5UDD5$6ETH3
David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths d United States, 2010c2015, MMWR
MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
23
     Opioid Crisis, NIH.
24
   Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse, and Dependence in the United States, 2013, MED CARE 2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).



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        51.     The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999c2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United

States, 28,647 (60.9%) involved an opioid.25

        52.     The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years.26

        53.     Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidemic, which

now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

OPIOIDSAREeEVERYWHEREfANDMISTAKENFORCANDY27

        54.     In 2016, the President of the United States declared an opioid and heroin

epidemic.28

        55.     The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country.29 Meanwhile, the manufacturers and distributors

of prescription opioids extract billions of dollars of revenue from the addicted American public

while public entities experience tens of millions of dollars of injury caused by the reasonably

foreseeable consequences of the prescription opioid addiction epidemic.


25
 See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose DeathsPUnited States, 2010O2015, 65
Morbidity & Mortality Wkly. Rep. 1445 (2016).
26
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic PainPMisconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
27
   Julie Turkewitz, S/;8+<??F4E8 I8ELJ;8E8T#BJG;8*C<B<7E<F<F?4<@F$GF3BHA:8FG1<6G<@F, N.Y. Times,
6EPT eg,ThSACANCERhSAID>GRANdmother of dead one-YEAROLD?OFTHENATIONhSOPIOIDPROBLEMgWITH
TENDRILSTHATAREGOINGEVERYWHEREhf
28
  See 3ROCLAMATION1O)ED5EG 6EPT PROCLAIMINGe3RESCRIPTION2PIOIDAND+EROIN
(PIDEMIC$WARENESS:EEKf
29
 See Presidential Memorandum c Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.



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          56.    The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional and unlawful conduct, despite their knowledge that

such conduct is causing and/or continuing to cause the national, state and local opioid epidemic.

                2. GeorgiaJC)A;@;6A;67>;5

          57.    The national opioid crisis has especially ravaged Georgia.

          58.    The opioid scourge has visited devastating harm upon this State. At the 2017

8NIVERSITY OF *EORGIA &OLLEGE OF 3UBLIC +EALTHhS e6TATE OF THE 3UBLIChS +EALTHf CONFERENCE

experts explained that the deepening opioid epidemic is hitting Georgia harder than most states,

ANDTHATFROMTO*EORGIAhSRATEOFINCREASEINTHENUMber of opioid-related patient

encounters led the nation.30

          59.    Georgia is among the top 11 states in terms of the most prescription opioid

overdose deaths.31 Almost as many Georgians die of drug overdoses as in car accidents.32

Georgia suffered 1,394 overdose deaths in 2016,33 1,302 deaths in 2015,34 and 1,206 deaths in

2014.35

          60.    Of the over 1,300 drug overdose deaths in 2015, 900 of them c or 68 percent c

were due to opioid overdoses, including heroin.36 Overdose deaths tripled in Georgia from 1999




30
    Experts: Opioid crisis is hitting Georgia, The Augusta Chronicle (Oct. 21, 2017), available at
http://chronicle.augusta.com/news/2017-10-21/experts-opioid-crisis-hitting-georgia.
31
   Substance Abuse Research Alliance (SARA), Georgia Prevention Project, Prescription Opioids and Heroin
Epidemic in Georgia O a White Paper, 2017, at 2, available at
http://www.senate.ga.gov/sro/Documents/StudyCommRpts/OpioidsAppendix.pdf (last visited January 29, 2018).
32
   Id. at 5.
33
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   IdATe'EATHSfTAB LASTVISITED-ANUARY
35
   IdATe'EATHSfTAB LASTVISITED-ANUARY
36
   Substance Abuse Research Alliance (SARA), supra note 31, at 5.



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to 2013. Prescription opioid overdose deaths grew tenfold between 1999 and 2014 to 549

deaths, or a rate of 5.5 deaths per 100,000 people.37




           61.    $CCORDING TO THE &ENTERS FOR 'ISEASE &ONTROL AND 3REVENTION e&'&f *EORGIA

was among the States to experience a statistically significant (10.2 percent) increase in drug

overdose death rates in 2014 as compared to 2013:38




37
     Id.
38
      See Substance Abuse Research Alliance (SARA), supra note 31, at 14.


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        62.    Hospitalizations due to opioid abuse in Georgia have soared from about 302,000 in

2002 to around 520,000 in 2012.39 During this time, the cost of this inpatient care related to

opioid use more than doubled in Georgia, reaching $15 billion in 2012.40

        63.    Froom 2009 to 2014, Georgia had the highest percent change in the rate of opioid-

related inpatient stays of any state, at 99.8 percent.41 Georgia also had the third highest

cumulative percent increase (85.2 percent) in the rate of opioid-related emergency department

visits.42




39
   Id. at 7.
40
   Id.
41
   Audrey J. Weiss, Ann Elixhauser, Marguerite L. Barrett, Claudia A. Steiner, Molly K. Bailey and Lauren
2h0ALLEYOpioid-Related Inpatient Stays and Emergency Department visits by State, 2009-2014, December 2016,
Revised January 2017, Healthcare Cost and Utilization Project (HCUP), available at https://www.hcup-
us.ahrq.gov/reports/statbriefs/sb219-Opioid-Hospital-Stays-ED-Visits-by-State.jsp (last visited Jan. 29, 2018).
42
   Id.


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          64.   Georgia is also seeing an increase in cases of newborns with Neonatal Abstinence

6YNDROME e1$6f A collection of symptoms babies experience in withdrawing from opioid

medications taken by the mother.43 NAS is closely associated with opioid use.

          65.   Opioid addiction is part of the reason the number of children in Georgia state

custody has almost doubled in the last three years.44

     3.    -:7)A;@;6A;67>;5;?*=3;?D;88JC@>>E?;DH

          66.   7HE OPIOID EPIDEMIC IS PARTICULARLY DEVASTATING IN 3LAINTIFFhS &OMMUNITY ,N

Richmond County, opioid-related overdoses increased from just 3 in 2013 to 34 in 2016.45 Of

those deaths, just one was attributable to opioid pain relievers only in 2013 while 22 were caused

by opioids only in 2016.46 In 2017, at least 41 deaths were caused by drugs, with opioids

accounting for 24 of those deaths.47

          67.   The CDC has tracked prescription rates per county in the United States, identifying

THE GEOGRAPHIC eHOTSPOTSf FOR RATES OF OPIOID PRESCRIPTIONS 48 The CDC has calculated the

geographic distribution at county levels of opioid prescriptions dispensed per 100 persons,49

revealing that Richmond County has been a consistent hotspot over at least the past decade.

          68.   Unfortunately, in Richmond County, Georgia, the opioid prescribing rates, as

reported by the CDC, are consistently above the national averages c which are themselves too

43
   Substance Abuse Research Alliance (SARA), supra note 31, at 30.
44
   WRDW, News 12 Investigates: Children of Opioids, Oct. 9, 2017, available at
http://www.wrdw.com/content/news/Children-of-Opioids-450115313.html (last visited January 29, 2018).
45
   Online Analytical Statistical Information System, Drug Overdoses/Opioids Web Query Tool Accessing the
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https://oasis.state.ga.us/oasis/webquery/qryDrugOverdose.aspx (last visited January 25, 2018).
46
   Id.
47
   WRDW, UPDATE: Augusta city leaders vote to take on lawsuit against opioid manufacturers and distributors,
Jan. 5, 2018, available at http://www.wrdw.com/content/news/Opioid-epidemic-spikes-in-Augusta-lawsuit-
proposed--468191943.html (last visited January 29, 2018).
48
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Dec. 11, 2017).
49
   Id.


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high c and in some years there were more opioid prescriptions dispensed than persons in the

County. In 2016, compared to the national average of 66.5 opioid prescriptions dispensed per

100 persons,50 the County rate was 86.8 opioid prescriptions per 100 persons.51 Compared to the

national average of 70.6 opioid prescriptions per 100 persons in 2015,52 the County rate was

92.9.53 In 2014, compared to the national average of 75.6 prescriptions per 100 persons,54 the

County rate was 102.055 c more opioid prescriptions than persons in Richmond County, Georgia.

Compared to the national average of 78.1 prescriptions per 100 persons in 2013, 56 the County

rate also exceeded the number of people: 107.5 opioid prescriptions per 100 persons.57 In 2012,

compared to the national average of 81.3 prescriptions per 100 persons,58 the County rate also

exceeded the population at a whopping 110.4 prescriptions per 100 persons.59 Compared to the

national average of 80.9 prescriptions per 100 persons in 2011,60 the Richmond County rate was




50
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Dec. 11, 2017).
51
   &ENTERSFOR'ISEASE&ONTROLAND3REVENTION86&OUNTY3RESCRIBING5ATES REPORTINGFORe5ICHMOND
*$fAVAILABLEAt https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html (last visited January 29, 2018).
52
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Dec. 11, 2017).
53
   Centers for Disease Control AND3REVENTION86&OUNTY3RESCRIBING5ATES REPORTINGFORe5ICHMOND
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54
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Dec. 11, 2017).
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56
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Dec. 11, 2017).
57
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates 2013, (reporting for e5ICHMOND
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   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Dec. 11, 2017).
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   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Dec. 11, 2017).


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107.8.61 County rates of opioid prescriptions per 100 persons in prior years also exceeded the

national average and the number of persons in the County: 107.4 in 2010, 62 104.8 prescriptions

per 100 people in 2009,63 and 100.4 in 2008.64

        69.    The opioid epidemic has placed increased budgetary constraints upon inter alia the

PUBLIC HEALTH AND MEDICAL CARE EXPENDITURES OF THE 6TATE AND 3LAINTIFFhS &OMMUNITY 2PIOID

ADDICTION IS ONE OF THE PRIMARY REASONS CITIZENS OF THE 6TATE AND 3LAINTIFFhS &OMMunity seek

substance abuse treatment.

        70.    Opioid abuse, addiction, morbidity, and mortality are hazards to public health and

SAFETY IN THE 6TATE AND IN 3LAINTIFFhS &OMMUNITY AND CONSTITUTE A TEMPORARY AND CONTINUING

public nuisance, which remains unabated.

B. -"'(. -.++ ((-,J &, *-#/(UNFAIR
MARKETING OF OPIOIDS.

        71.    The opioid epidemic did not happen by accident.

        72.    Before the 1990s, generally accepted standards of medical practice dictated that

patients should only use opioids short-term for acute pain, pain relating to recovery from surgery,

or for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

PATIENTShABILITYTOOVERCOMEPAINANDFUNCTIONCOUPLEDWITHEVIDENCEOFGREATERPAINCOMPLAINTS

as patients developed tolerance to opioids over time, the serious risk of addiction and other side

effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

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*$fAVAILABLEATHTTPSWWWCDCGOVDRUGOVERDOSEMAps/rxcounty2011.html (last visited January 29, 2018).
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        73.   Each Manufacturer Defendant has conducted and has continued to conduct a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of

opioids. In connection with this scheme, each Manufacturer Defendant spent and continues to

spend millions of dollars on promotional activities and materials that falsely deny or trivialize the

risks of opioids while overstating the benefits of using them for chronic pain.

        74.   The Manufacturer Defendants have made false and misleading claims, contrary to

THELANGUAGEONTHEIRDRUGShLABELSREGARDINGTHERISKSOFUSING their drugs that: (1) downplayed

THESERIOUSRISKOFADDICTION  CREATEDANDPROMOTEDTHECONCEPTOFePSEUDOADDICTIONfWHEN

signs of actual addiction began appearing and advocated that doctors should treat the signs of

addiction with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that it is easy to manage opioid dependence and withdrawal; (5) denied

THE RISKS OF HIGHER OPIOID DOSAGES  AND  EXAGGERATED THE EFFECTIVENESS OF eABUSE-DETERRENTf

opioid formulations to prevent abuse and addiction. The Manufacturer Defendants also have

falsely touted the benefits of long-term opioid use, including the supposed ability of opioids to

improve function and quality of life, even though there was no scientifically reliable evidence to

SUPPORTTHE0ANUFACTURER'EFENDANTShCLAIMS

        75.   The Manufacturer Defendants have disseminated these common messages to

reverse the popular and medical understanding of opioids and risks of opioid use. They

disseminated these messages directly, through their sales representatives, in speaker groups led

by physicians the Manufacturer Defendants recruited for their support of their marketing

messages, through unbranded marketing and through industry-funded front groups.




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           76.    The Manufacturer DEFENDANTSh EFFORTS HAVE BEEN WILDLY SUCCESSFUL 2PIOIDS ARE

now the most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue

for drug companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue

annually since 2009.65 ,NANOPENLETTERTOTHENATIONhSPHYSICIANSIN$UGUSTTHETHEN-U.S.

6URGEON*ENERALEXPRESSLYCONNECTEDTHISeURGENTHEALTHCRISISfTOeHEAVYMARKETINGOFOPIOIDS

to doctors . . . [m]any of [whom] were even taught c incorrectly c that opioids are not addictive

WHEN PRESCRIBED FOR LEGITIMATE PAINf66 This epidemic has resulted in a flood of prescription

opioids available for illicit use or sale (the supply) and a population of patients physically and

psychologically dependent on them (the demand). When those patients can no longer afford or

obtain opioids from licensed dispensaries, they often turn to the street to buy prescription opioids

or even non-prescription opioids, like heroin.

           77.    The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the

harms and damages alleged herein.

                 1. Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their
                    False and Deceptive Statements About Opioids.

           78.    The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients in and around the State,

INCLUDING IN 3LAINTIFFhS &OMMUNITY 'EFENDANTS ALSO DEPLOYED SEEMINGLY UNBIAsed and

independent third parties whom they controlled to spread their false and deceptive statements




65
  See Katherine Eban, Oxycontin: Purdue +;4E@4TF+4<A9H?(87<6<A8, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www.ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
66
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.



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about the risks and benefits of opioids for the treatment of chronic pain throughout the State and

3LAINTIFFhS&OMMUNITY

       79.   The Manufacturer Defendants employed the same marketing plans and strategies

ANDDEPLOYEDTHESAMEMESSAGESINANDAROUNDTHE6TATEINCLUDINGIN3LAINTIFFhS&OMMUNITYAS

they did nationwide. Across the pharmaceutical industry, corporate headquarters fund and

OVERSEE eCORE MESSAGEf ON A national basis. This comprehensive approach ensures that the

Manufacturer Defendants accurately and consistently deliver their messages across marketing

channels c including detailing visits, speaker events and advertising c and in each sales territory.

The Manufacturer Defendants consider this high level of coordination and uniformity crucial to

successfully marketing their drugs.

       80.   The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants required their sales representatives and physician

speakers to stick to prescribed talking points, sales messages and slide decks, and supervisors

rode along with them periodically to check on both their performance and compliance.

                         i.    Direct Marketing.

       81.   7HE0ANUFACTURER'EFENDANTShDIRECTMARKETINGOFOPIOIDSGENERALLYPROCEEDEDON

two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, upon information

and belief, the Manufacturer Defendants spent more than $14 million on medical journal

advertising of opioids in 2011, nearly triple what they spent in 2001.




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        82.   0ANY OF THE 0ANUFACTURER 'EFENDANTSh BRANDED ADS DECEPTIVELY PORTrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like construction worker, chef and teacher, misleadingly implying

that the drug would provide long-term pain-relief and functional improvement. Upon information

AND BELIEF 3URDUE ALSO RAN A SERIES OF ADS CALLED e3AIN VIGNETTESf FOR 2XY&ONTIN IN  IN

medical journals. These ads featured chronic pain patients and recommended OxyContin for

EACH2NEADDESCRIBEDAe-year-OLDWRITERWITHOSTEOARTHRITISOFTHEHANDSfANDIMPLIEDTHAT

OxyContin would help the writer work more effectively.

        83.   Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

THROUGH eDETAILERSf c sales representatives who visited individual doctors and medical staff in

their offices c and small-group speaker programs. The Manufacturer Defendants have not

corrected this misinformation. Instead, each Defendant devoted massive resources to direct sales

contacts with doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants

spent in excess of $168 million on detailing branded opioids to doctors, more than twice what

they spent on detailing in 2000.

        84.   7HE0ANUFACTURER'EFENDANTShDETAILINGTODOCTORSISEFFECTIVE1UMEROUSSTUDIES

indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest

influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

analyze some of the most sophisticated data available in any industry, data available from IMS

Health Holdings, Inc., to precisely track the rates of initial prescribing and renewal by individual

doctors, which in turn allows them to target, tailor and monitor the impact of their core

messages. Thus, the Manufacturer Defendants know their detailing to doctors is effective.




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        85.    7HE0ANUFACTURER'EFENDANTShDETAILERSHAVEBEENREPRIMANDEDFORTHEIRDECEPTIVE

promotions. In March 2010, for example, the FDA found that Actavis had been distributing

PROMOTIONAL MATERIALS THAT eMINIMIZE>? THE RISKS ASSOCIATED WITH .ADIAN AND MISLEADINGLY

SUGGEST>?THAT.ADIANISSAFERTHANHASBEENDEMONSTRATEDf7HOSEMATERIALSINPARTICULAReFAILTO

reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

PATIENTFORWHOMTHEDRUGWASPRESCRIBEDf67

                          ii.    Indirect Marketing.

        86.    The Manufacturer Defendants indirectly marketed their opioids using unbranded

advertising, paid sPEAKERS AND eKEY OPINION LEADERSf e.2/Sf AND INDUSTRY-funded

organizations posing as neutral and credible professional societies and patient advocacy groups

 REFERREDTOHEREINAFTERASe)RONT*ROUPSf

        87.    The Manufacturer Defendants deceptively marketed opioids in the State and

3LAINTIFFhS &OMMUNITY THROUGH UNBRANDED ADVERTISING c e.g., advertising that promotes opioid

use generally but does not name a specific opioid. Independent third parties ostensibly created

and disseminated this advertising. However, by funding, directing, reviewing, editing and

distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

messages these third parties disseminated and acted in concert with them to falsely and

misleadingly promote opioids for the treatment of chronic pain. Much as the Manufacturer

'EFENDANTS CONTROLLED THE DISTRIBUTION OF THEIR eCORE MESSAGESf VIA THEIR OWN DETAILERS AND

speaker programs, they similarly controlled the distribution of these messages in scientific

publicatioNSTREATMENT GUIDELINES&ONTINUING0EDICAL(DUCATION e&0(fPROGRAMSMEDICAL



67
  /ETTERFROM7HOMAS$BRAMS'IR'IVOF'RUG0KTG$DVERT &OMMChNS86)OOD 'RUG$DMINTO
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.



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conferences and seminars. To this end, the Manufacturer Defendants used third-party public

relations firms to help control those messages when they originated from third-parties.

       88.    The Manufacturer Defendants marketed through third-party, unbranded advertising

to avoid regulatory scrutiny because that advertising is not submitted to and typically is not

reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded

advertising to give the false appearance that the deceptive messages came from an independent

and objective source. Like the tobacco companies, the Manufacturer Defendants used third

parties that they funded, directed and controlled to carry out and conceal their scheme to deceive

doctors and patients about the risks and benefits of long term opioid use for chronic pain.

       89.    The Manufacturer Defendants also identified doctors to serve, for payment, on their

SPEAKERShBUREAUSANDTOATTENDPROGRAMSWITHSPEakers and meals paid for by Defendants. These

speaker programs provided: (1) an incentive for doctors to prescribe a particular opioid (so they

might be selected to promote the drug); (2) recognition and compensation for the doctors

selected as speakers; and (3) an opportunity to promote the drug through the speaker to his or her

peers. These speakers give the false impression that they are providing unbiased and medically

accurate presentations when they are, in fact, presenting a script prepared by Defendants. On

information and belief, these presentations conveyed misleading information, omitted material

INFORMATION AND FAILED TO CORRECT 'EFENDANTSh PRIOR MISREPRESENTATIONS ABOUT THE RISKS AND

benefits of opioids.

       90.    %ORROWING A PAGE FROM %IG 7OBACCOhS PLAYBook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging and directing

doctors who served as KOLs, and (b) funding, assisting, directing and encouraging seemingly

neutral and credible Front Groups. The Manufacturer Defendants then worked together with




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those KOLs and Front Groups to taint the sources that doctors and patients relied on for

OSTENSIBLY eNEUTRALf GUIDANCE SUCH AS TREATMENT GUIDELINES &0( PROGRAMS MEDICAL

conferences, seminars and scientific articles. Thus, working individually and collectively and

through these Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and

patients that what they have long known c that opioids are addictive drugs, unsafe in most

circumstances for long-term use c was untrue and that the compassionate treatment of pain

required opioids.

        91.     In 2007, multiple States sued Purdue for engaging in unfair and deceptive practices

in its marketing, promotion and sale of OxyContin. Certain states settled their claims in a series

of Consent Judgments that prohibited Purdue from making misrepresentations in the promotion

and marketing of OxyContin in the future. By using indirect marketing strategies, however,

Purdue intentionally circumvented these restrictions. Such actions included contributing to the

creation of misleading publications and prescribing guidelines, which lack reliable scientific

basis and promote prescribing practices that have worsened the opioid crisis.

        92.     Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of

long-term opioid use. The Manufacturer Defendants know that doctors rely heavily and less

critically on their peers for guidance, and KOLs provide the false appearance of unbiased and

reliable support for chronic opioid therapy. For example, the State of New York found in its

SETTLEMENT WITH 3URDUE THAT THE 3URDUE WEBSITE e,N THE )ACE OF 3AINf FAILED TO DISCLOSE THAT

PurdUEPAIDDOCTORSWHOPROVIDEDTESTIMONIALSONTHESITEANDCONCLUDEDTHAT3URDUEhSFAILURETO

disclose these financial connections potentially misled consumers regarding the objectivity of the

testimonials.




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           93.   Defendants utilized many KOLs, including many of the same ones.

           94.   Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees and honoraria from Cephalon, Endo, Janssen

and Purdue (among others) and was a paid consultant to Cephalon and Purdue. Dr. Portenoy was

instrumental in opening the door for the regular use of opioids to treat chronic pain. He served on

THE $MERICAN 3AIN 6OCIETY e$36f  $MERICAN $CADEMY OF 3AIN 0EDICINE e$$30f

Guidelines Committees, which endorsed the use of opioids to treat chronic pain, first in 1996 and

again in 2009. He was also a mEMBEROFTHEBOARDOFTHE$MERICAN3AIN)OUNDATION e$3)fAN

advocacy organization almost entirely funded by the Manufacturer Defendants.

           95.   Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his clAIM THAT eTHE LIKELIHOOD THAT THE TREATMENT OF PAIN

USINGANOPIOIDDRUGWHICHISPRESCRIBEDBYADOCTORWILLLEADTOADDICTIONISEXTREMELYLOWf+E

appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

CLAIMED e$DDICTION WHEN TREATING PAIN IS DISTINCTLY UNCOMMON ,F APERSONDOES NOT HAVE A

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

ASSUREDTHATTHATPERSONISNOTGOINGTOBECOMEADDICTEDf68

           96.   'R3ORTENOYLATERADMITTEDTHATHEeGAVEINNUMERABLELECTURESINTHELATESAND

gS ABOUT ADDICTION THAT WERENhT TRUEf 7HESE LECTURES FALSELY CLAIMED THAT FEWER THAN   OF


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     Good Morning America (ABC television broadcast Aug. 30, 2010).



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patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

WASTOeDESTIGMATIZEfOPIOIDSHEANDOTHERDOCTORSPROMOTINGTHEMOVERSTATEDTHEIRBENEFITSAND

GLOSSED OVER THEIR RISKS 'R 3ORTENOY ALSO CONCEDED THAT e>D?ATA ABOUT THE EFFECTIVENESS OF

OPIOIDS DOES NOT EXISTf69 Portenoy candidly statED e'ID , TEACH ABOUT PAIN MANAGEMENT

specifically about opioid therapy, in a way that reflects misinformation? Well, . . . I guess I

DIDf70

           97.   Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

:EBSTER WAS 3RESIDENT OF $MERICAN $CADEMY OF 3AIN 0EDICINE e$$30f IN  +E IS A

Senior Editor of Pain Medicine, the same journal that published Endo special advertising

supplements touting Opana ER. Dr. Webster was the author of numerous CMEs sponsored by

Cephalon, Endo and Purdue. At the same time, Dr. Webster was receiving significant funding

from the Manufacturer Defendants (including nearly $2 million from Cephalon).

           98.   During a portion of his time as a KOL, Dr. Webster was under investigation for

OVERPRESCRIBINGBYTHE86'EPARTMENTOF-USTICEhS'RUG(NFORCEMENT$GENCYWHICHRAIDEDHIS

clinic in 2010. Although the DEA closed the investigation without charges in 2014, more than 20

of Dr. WebSTERhSFORMERPATIENTSATTHE/IFETREE&LINICHAVEDIEDOFOPIOIDOVERDOSES

           99.   Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to

manage the risk that their patients will become addicted to or abuse opioids. The claimed ability

to pre-sort patients likely to become addicted is an important tool in giving doctors confidence to


69
  Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
70
     Id.



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prescribe opioids long-term, and, for this reason, references to screening appear in various

industry-SUPPORTED GUIDELINES 9ERSIONS OF 'R :EBSTERhS 2PIOID 5ISK 7OOL APPEAR ON OR ARE

linked to websites run by Endo, Janssen and Purdue. Unaware of the flawed science and industry

bias underlying this tool, certain states and public entities have incorporated the Opioid Risk

Tool into their own guidelines, indicating, also, their reliance on the Manufacturer Defendants

and those under their influence and control.

           100. In 2011, Dr. Webster presented via webinar a program sponsored by Purdue

ENTITLED e0ANAGING 3ATIENThS 2PIOID 8SE %ALANCING THE 1EED AND THE 5ISKf 'R :EBSTER

recommended use of risk screening tools, urine testing and patient agreements as a way to

PREVENTeOVERUSEOFPRESCRIPTIONSfANDeOVERDOSEDEATHSf7HIS webinar was available to and was

INTENDEDTOREACHDOCTORSINTHE6TATEANDDOCTORSTREATINGMEMBERSOF3LAINTIFFhS&OMMUNITY71

           101. 'R:EBSTERALSOWASALEADINGPROPONENTOFTHECONCEPTOFePSEUDOADDICTIONfTHE

notion that doctors should see addictive behaviors not as warnings, but as indications of

UNDERTREATED PAIN ,N 'R :EBSTERhS DESCRIPTION THE ONLY WAY TO DIFFERENTIATE THE TWO WAS TO

INCREASEAPATIENThSDOSEOFOPIOIDS$SHEANDCO-author Beth Dove wrote in their 2007 book

Avoiding Opioid Abuse While Managing Painda book that is still available onlinedwhen faced

WITHSIGNSOFABERRANTBEHAVIORINCREASINGTHEDOSEeINMOSTCASESSHOULDBETHECLINICIANhS

FIRSTRESPONSEf72 Upon information and belief, Endo distributed this book to doctors. Years later,




71
   See Emerging Solutions in Pain, (4A4:<A: +4G<8AGTF *C<B<7 0F8 4?4A6<A: G;8 )887 4A7 G;8 -<F>,
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
72
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).



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'R :EBSTER REVERSED HIMSELF ACKNOWLEDGING THAT e>PSEUDOADDICTION? OBVIOUSLY BECAME TOO

MUCHOFANEXCUSETOGIVEPATIENTSMOREMEDICATIONf73

       102. The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

e)RONT*ROUPSfGENERATEDTREATMENTGUIDELINESUNBRANDEDMATERIALSANDPROGRAMSTHATFAVORED

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to

negative articles, advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence and conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants.

       103. These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. The Manufacturer Defendants also exercised control over programs and

materials created by these groups by collaborating on, editing and approving their content and by

funding their dissemination. In doing so, the Manufacturer Defendants made sure that the Front

Groups would generate only the messages that the Manufacturer Defendants wanted to

distribute. Despite this, the Front Groups held themselves out as independent and serving the

needs of their members c whether patients suffering from pain or doctors treating those patients.

       104. Defendants Cephalon, Endo, Janssen and Purdue, in particular, utilized many Front

Groups, including many of the same ones. Several of the most prominent are described below,

BUTTHEREAREMANYOTHERSINCLUDINGTHE$MERICAN3AIN6OCIETY e$36f$MERICAN*ERIATRICS

6OCIETY e$*6f THE )EDERATION OF 6TATE 0EDICAL %OARDS e)60%f $MERICAN &HRONIC 3AIN



73
    John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.



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$SSOCIATION e$&3$f THE &ENTER FOR 3RACTICAL %IOETHICS e&3%f THE 86 3AIN )OUNDATION

 e863)fAND3AIN 3OLICY6TUDIES*ROUP e336*f74

        105. 7HE MOST PROMINENT OF THE 0ANUFACTURER 'EFENDANTSh )RONT *ROUPS WAS THE

AmeriCAN3AIN)OUNDATION e$3)fWHICHUPONINFORMATIONANDBELIEFRECEIVEDMORETHAN 

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

primarily from Endo and Purdue. APF issued education guides for patients, reporters and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed to high rates of addiction and other adverse outcomes c

including death c among returning soldiers. APF also engaged in a significant multimedia

campaign c through radio, television and the internet c TOEDUCATEPATIENTSABOUTTHEIReRIGHTfTO

pain treatment, namely opioids. All of the programs and materials were available nationally and

WEREINTENDEDTOREACHCITIZENSOFTHE6TATEAND3LAINTIFFhS&OMMUNITY

        106. ,N  AND  MORE THAN   OF $3)hS OPERATING BUDGET CAME FROM

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of a total

income of about $3.5 million. By 2011, upon information and belief, APF was entirely

dependent on incoming grants from defendants Purdue, Cephalon, Endo and others to avoid

using its line of credit.




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  See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
'EPhTOF+EALTHAND+UMAN6ERVS 0AY
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.



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        107. APF held itself out as an independent patient advocacy organization. It often

engaged in grassroots lobbying against various legislative initiatives that might limit opioid

prescriptions and thus the profitability of its sponsors. Upon information and belief, the

0ANUFACTURER 'EFENDANTS OFTEN CALLED UPON IT TO PROVIDE ePATIENT REPRESENTATIVESf FOR THE

PROMOTIONAL ACTIVITIES INCLUDING FOR 3URDUEhS 3ARTNERS $GAINST 3AIN AND -ANSSENhS /EThS 7ALK

Pain. APF functioned largely as an advocate for the interests of the Manufacturer Defendants,

not patients. Indeed, upon information and belief, as early as 2001, Purdue told APF that the

BASIS OF A GRANT WAS 3URDUEhS DESIRE TO eSTRATEGICALLY ALIGN ITS INVESTMENTS IN NONPROFIT

ORGANIZATIONSTHATSHARE>ITS?BUSINESSINTERESTSf

        108. Upon information and belief, on several occasions, representatives of the

Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these

activities and publications, knowing that drug companies would support projects conceived as a

result of these communications.

        109. The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The iNVESTIGATION CAUSED CONSIDERABLE DAMAGE TO $3)hS CREDIBILITY AS AN

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within

days of being targeted by the 6ENATE INVESTIGATION $3)hS BOARD VOTED TO DISSOLVE THE

organizatION eDUE TO IRREPARABLE ECONOMIC CIRCUMSTANCESf $3) eCEASE>D? TO EXIST EFFECTIVE

IMMEDIATELYf75



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   Charles Ornstein & Tracy Weber, Senate Panel InvestigaG8FEH:B@C4A<8FT/<8FGB+4<A"EBHCF, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.



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       110. Another front group for the Manufacturer Defendants was the American Academy

OF3AIN0EDICINE e$$30f:ITHTHEASSISTANCEPROMPTINGINVOLVEMENTANDFUNDINg of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

HOSTED MEDICAL EDUCATION PROGRAMS ESSENTIAL TO THE 0ANUFACTURER 'EFENDANTSh DECEPTIVE

marketing of chronic opioid therapy.

       111. AAPM received substantial funding from opioid manufacturers. For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top

of other funding) to participate. The benefits included allowing members to present educational

programs at off-site dinner sYMPOSIA IN CONNECTION WITH $$30hS MARQUEE EVENT c its annual

meeting held in Palm Springs, California or other resort locations. AAPM describes the annual

EVENT AS AN eEXCLUSIVEVENUEf FOROFFERING EDUCATIONPROGRAMS TO DOCTORS 0EMBERSHIP IN THE

corporate relations council also allows drug company executives and marketing staff to meet

with AAPM executive committee members in small settings. Defendants Endo, Purdue and

Cephalon were members of the council and presented deceptive programs to doctors who

attended this annual event.

       112. 8PONINFORMATIONANDBELIEF(NDOINTERNALLYVIEWS$$30ASeINDUSTRYFRIENDLYf

with Endo advisors and speakers among its active members. Endo attended AAPM conferences,

funded its CMEs and distributed its publications. The conferences sponsored by AAPM heavily

emphasized sessions on opioids c  OUT OF ROUGHLY  AT ONE CONFERENCE ALONE $$30hS

presidents have included top industry-supported KOLs Perry Fine and Lynn Webster. The

AAPM even elected Dr. Webster president while he was under a DEA investigation.

       113. The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.




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             114. In 1996, AAPM and APS jointly issued a consensus statement, e7HE 8SE OF

2PIOIDSFORTHE7REATMENTOF&HRONIC3AINfWHICHENDORSEDOPIOIDSTOTREATCHRONICPAINAND

claimed that the risk of a patienths addiction to opioids was low. Dr. Haddox, who co-authored

the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole

CONSULTANT 7HE CONSENSUS STATEMENT REMAINED ON $$30hS WEBSITE UNTIL  AND UPON

information and belief, the AAPM only removed it from the website after a doctor complained.76

             115. AAPM and APS issued their own treatment GUIDELINES IN  e$$30$36

*UIDELINESf AND CONTINUED TO RECOMMEND THE USE OF OPIOIDS TO TREAT CHRONIC PAIN 77 Doctors,

especially the general practitioners and family doctors targeted by the Manufacturer Defendants,

have relied upon treatment guidelineS 7REATMENT GUIDELINES NOT ONLY DIRECTLY INFORM DOCTORSh

prescribing practices, but are cited throughout the scientific literature and referenced by third-

party payors in determining whether they should cover treatments for specific indications.

Pharmaceutical sales representatives employed by Endo, Actavis and Purdue discussed treatment

guidelines with doctors during individual sales visits.

             116. At least 14 of the 21 panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support

FROM-ANSSEN&EPHALON(NDOAND3URDUE7HE*UIDELINESPROMOTEOPIOIDSASeSAFEAND

EFFECTIVEfFORTREATINGCHRONICPAINDESPITEACKNOWLEDGINGLIMITEDEVIDENCEANDCONCLUDETHAT

the risk of addiction is manageable for patients regardless of past abuse histories.78 One panel

member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and


76
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
77
  Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
78
     Id.



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founder of the Michigan Headache & Neurological Institute, resigned from the panel because of

his concerns that the 2009 Guidelines were influenced by contributions that drug companies,

including Manufacturer Defendants, made to the sponsoring organizations and committee

members. These AAPM/APS Guidelines have been a particularly effective channel of deception

and have influenced not only treating physicians, but also the body of scientific evidence on

opioids; the Guidelines have been cited hundreds of times in academic literature, were

DISSEMINATEDINTHE6TATEANDOR3LAINTIFFhS&OMMUNITYDURINg the relevant time period, are still

available online and were reprinted in the Journal of Pain. The Manufacturer Defendants widely

referenced and promoted the 2009 Guidelines without disclosing the lack of evidence to support

them or the Manufacturer Defendants' financial support to members of the panel.

       117. The Manufacturer Defendants worked together through Front Groups to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their effortSTHROUGHTHE3AIN&ARE)ORUM e3&)fWHICHBEGANIN

as an APF project. PCF comprises representatives from opioid manufacturers (including

Cephalon, Endo, Janssen and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that an FDA-mandated education project on opioids was not unacceptably negative and

did not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.




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           2. -:7'3?E835DEB7B787?63?DCJ'3B<7D;?9,5:7>7';CB7AB7C7?D76D:7+;C<C
              and Benefits of Opioids.

                       i. The Manufacturer Defendants embarked upon a campaign of
                          false, deceptive and unfair assurances grossly understating and
                          misstating the dangerous addiction risks of the opioid drugs.

       118. To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

particularly the risk of addiction, through a series of misrepresentations that the FDA and CDC

have conclusively debunked. These misrepresentations c described below c reinforced each other

and created the dangerously misleading impression that: (1) starting patients on opioids was low

risk because most patients would not become addicted and because doctors could identify and

manage those at greatest risk for addiction; (2) patients who displayed signs of addiction

probably were not addicted, and, in any event, doctors could easily wean them from the drugs;

(3) the use of higher opioid doses, which many patients need to sustain pain relief as they

develop tolerance to the drugs, do not pose special risks; and (4) abuse-deterrent opioids both

prevent abuse and overdose and are inherently less addictive. The Manufacturer Defendants have

not only failed to correct these misrepresentations; they continue to make them today.

       119. Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

them from making many of the misrepresentations identified in this Complaint. Yet even

afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of

long-term opioid use INTHE6TATEAND3LAINTIFFhS&OMMUNITYANDEACHCONTINUESTOFAILTOCORRECT

its past misrepresentations.

       120. 6OME ILLUSTRATIVE EXAMPLES OF THE 0ANUFACTURER 'EFENDANTSh FALSE DECEPTIVE AND

unfair claims about the purportedly low risk of addiction include:



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            a. ActAVIShS PREDECESSOR CAUSED A PATIENT EDUCATION BROCHURE Managing Chronic
               Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
               IS POSSIBLE BUT FALSELY CLAIMED THAT IT IS eLESS LIKELY IF YOU HAVE NEVER HAD AN
               addiction problem.f%ASEDON$CTAVIShSACQUISITIONOFITSPREDECESSORhSMARKETING
               materials along with the rights to Kadian, it appears that Actavis continued to use
               this brochure in 2009 and beyond.

            b. &EPHALONAND3URDUESPONSORED$3)hS Treatment Options: A Guide for People
               Living with Pain (2007), which suggested that addiction is rare and limited to
               extreme cases of unauthorized dose escalations, obtaining duplicative opioid
               prescriptions from multiple sources, or theft. This publication is still available
               online.79

            c. Endo spoNSORED A WEBSITE e3AIN.NOWLEDGEf WHICH UPON INFORMATION AND
               BELIEFCLAIMEDINTHATe>P?EOPLEWHOTAKEOPIOIDSASPRESCRIBEDUSUALLYDO
               NOT BECOME ADDICTEDf 8PON INFORMATION AND BELIEF ANOTHER (NDO WEBSITE
               3AIN$CTIONCOM STATED e'ID YOU KNOW" 0ost chronic pain patients do not
               BECOME ADDICTED TO THE OPIOID MEDICATIONS THAT ARE PRESCRIBED FOR THEMf (NDO
               ALSO DISTRIBUTED AN e,NFORMED &ONSENTf DOCUMENT ON 3AIN$CTIONCOM THAT
               MISLEADINGLY SUGGESTED THAT ONLY PEOPLE WHO eHAVE PROBLEMS WITH SUBSTANCE
               ABUSEANDADDICTIONfARELIKELYTOBECOMEADDICTEDTOOPIOIDMEDICATIONS

            d. Upon information and belief, Endo distributed a pamphlet with the Endo logo
               entitled Living with Someone with Chronic PainWHICHSTATEDTHATe0OSTHEALTH
               care providers who treat people with pain agree that most people do not develop
               ANADDICTIONPROBLEMf

            e. Janssen reviewed, edited, approved and distributed a patient education guide
               entitled Finding Relief: Pain Management for Older Adults (2009), which
               DESCRIBEDASeMYTHfTHECLAIM that opioids are addictive and asserted as fact that
               e>M?ANYSTUDIESSHOWTHATOPIOIDSARERARELYADDICTIVEWHENUSEDPROPERLYFORTHE
               MANAGEMENTOFCHRONICPAINf

            f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,
               2015), whiCHCLAIMSTHATCONCERNSABOUTOPIOIDADDICTIONAREeOVERESTIMATEDf

            g. 3URDUE SPONSORED $3)hS  +B?<6L@4>8ETF "H<78 GB 0A78EFG4A7<A: +4<A  $GF
               Management, which claims that less than 1% of children prescribed opioids will



79
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.



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                     become addicted and that pain is undERTREATED DUE TO e>M?ISCONCEPTIONS ABOUT
                     OPIOIDADDICTIONf80

                 h. &ONSISTENT WITH THE 0ANUFACTURER 'EFENDANTSh PUBLISHED MARKETING MATERIALS
                    upon information and belief, detailers for Purdue, Endo, Janssen and Cephalon in
                    THE 6TATE AND 3LAINTIFFhS &OMMUNITY MInimized or omitted any discussion with
                    doctors of the risk of addiction, misrepresented the potential for abuse of opioids
                    with purportedly abuse-deterrent formulations and routinely did not correct the
                    misrepresentations noted above.

                 i. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                    OPIOIDSTHE0ANUFACTURER'EFENDANTSh)RONT*ROUPS$3)ANDNPF argued in an
                    amicus BRIEFTOTHE8NITED6TATES)OURTH&IRCUIT&OURTOF$PPEALSTHATePATIENTS
                    RARELYBECOMEADDICTEDTOPRESCRIBEDOPIOIDSfCITINGRESEARCHBYTHEIR.2/'R
                    Portenoy.81

            121. These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription GUIDELINE ISSUED BY THE &'& THE e &'& *UIDELINEf EXPLAINS THAT THERE IS

e>E?XTENSIVE EVIDENCEf OF THE ePOSSIBLE HARMS OF OPIOIDS INCLUDING OPIOID USE DISORDER >AN

alternative term for opioid addiction], [and] overdose . . f82 The 2016 CDC Guideline further

EXPLAINSTHATe>O?PIOIDPAINMEDICATIONUSEPRESENTSSERIOUSRISKSINCLUDINGOVERDOSEANDOPIOID

USEDISORDERfANDTHATeCONTINUINGOPIOIDTHERAPYFORMONTHSSUBSTANTIALLYINCREASESRISKFOR

OPIOIDUSEDISORDERf83

            122. The FDA further exposed the FALSITYOF'EFENDANTShCLAIMSABOUTTHELOWRISKOF

addiction when it announced changes to the labels for extended-release and long-acting


80
  Am. Pain Found., +B?<6L@4>8ETF"H<78to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
+B?<6L@4>8ETF"H<78], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
81
  Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
82
  Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic PainPUnited States, 2016, Morbidity
& Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
83
     Id. at 2, 25.



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 e(5/$f OPIOIDS IN  AND FOR IMMEDIATE RELEASE e,5f OPIOIDS IN  ,N ITS

announcements, the FDA found that eMOSTOPIOIDDRUGSHAVEgHIGHPOTENTIALFORABUSEhfANDTHAT

OPIOIDS eARE ASSOCIATED WITH A SUBSTANTIAL RISK OF MISUSE ABUSE 12:6 >NEONATAL OPIOID

WITHDRAWALSYNDROME?ADDICTIONOVERDOSEANDDEATHf$CCORDINGTOTHE)'$BECAUSEOFTHE

eKNOWNSERIOUSRISKSfASSOCIATEDWITHLONG-TERMOPIOIDUSEINCLUDINGeRISKSOFADDICTIONABUSE

and misuse, even at recommended doses, and because of the greater risks of overdose and

DEATHf OPIOIDS SHOULD BE USED ONLY eIN PATIENTS FOR WHOM ALTERNATIVE TREATMENT OPTIONSf LIKE

non-opioid drugs have failed.84

        123. The State of New York, in a 2016 settlement agreement with Endo, found that

OPIOIDeUSEDISORDERSAPPEARTOBEHIGHLYPREVALENTINCHRONICPAINPATIENTSTREATEDWITHOPIOIDS

with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

MEETING THE CLINICAL CRITERIA FOR AN OPIOID USE DISORDERf85 Endo had claimed on its

WWWOPANACOM WEBSITE THAT e>M?OST HEALTHCARE PROVIDERS WHO TREAT PATIENTS WITH PAIN AGREE

that patients treated witHPROLONGEDOPIOIDMEDICINESUSUALLYDONOTBECOMEADDICTEDfBUTTHE

State of New York found that Endo had no evidence for that statement. Consistent with this,

(NDOAGREEDNOTTOeMAKESTATEMENTSTHATOPIOIDSGENERALLYARENON-ADDICTIVEfOReTHATMost

PATIENTSWHOTAKEOPIOIDSDONOTBECOMEADDICTEDfIN1EW<ORK(NDOREMAINSFREEHOWEVERTO

make those statements in this State.


84
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
86'EPhTOF+EALTHAND+UMAN6ERVSTO$NDREW.OLDNY0'3RESIDENT3HYSICIANSFOR5ESPONSIBLE2PIOID
Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
AND5ESEARCH86)OODAND'RUG$DMIN86'EPhTOF+EALTHAND+UMAN6ERVSTO3ETERR. Mathers & Jennifer
A. Davidson, Kleinfeld, Kaplan and Becker, LLP (Mar. 22, 2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.
85
  Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.



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           124. In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented to doctors and patients

that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.,

pseudoaddiction) c and instructed doctors to increase the opioid prescription dose for patients

who were already in danger.

           125. 7O THIS END ONE OF 3URDUEhS EMPLOYEES 'R 'AVID +ADDOX INVENTED A

PHENOMENONCALLEDePSEUDOADDICTIONf.2/'R3ORTENOYPOPULARIZEDTHe term. Examples of the

false, misleading, deceptive and unfair statements regarding pseudoaddiction include:

               a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                  TAUGHT THAT BEHAVIORS SUCH AS eREQUESTING DRUGS BY NAMEf eDEMANDING OR
                  MANIPULATIVE BEHAVIORf SEEING MORE THAN ONE DOCTOR TO OBTAIN OPIOIDS AND
                  hoarding are all signs of pseudoaddiction, rather than true addiction.86 The 2012
                  edition, which remains available for sale online, continues to teach that
                  pseudoaddiction is real.87

               b. -ANSSENSPONSOREDFUNDEDANDEDITEDTHE/EThS7ALK3AINWEBSITEWHICHIN
                  STATEDePSEUDOADDICTIONREFERSTOPATIENTBEHAVIORSTHATMAYOCCURWHENPAIN
                  is under-treated . . . . Pseudoaddiction is different from true addiction because
                  such behaVIORSCANBERESOLVEDWITHEFFECTIVEPAINMANAGEMENTf

               c. (NDOSPONSOREDA1ATIONAL,NITIATIVEON3AIN&ONTROL e1,3&f&0(PROGRAMIN
                  ENTITLEDe&HRONIC2PIOID7HERAPY8NDERSTANDING5ISK:HILE0AXIMIZING
                  $NALGESIAf WHICH UPON INFORMATION AND BELIEF Promoted pseudoaddiction by
                  TEACHINGTHATAPATIENThSABERRANTBEHAVIORWASTHERESULTOFUNTREATEDPAIN(NDO
                  appears to have substantially controlled NIPC by funding NIPC projects;
                  developing, specifying and reviewing content; and distributing NIPC materials.

               d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
                  which, upon information and belief, described pseudoaddiction as a concept that
                  eEMERGED IN THE LITERATUREf TO DESCRIBE THE INACCURATE INTERPRETATION OF >DRUG-

86
     Scott M. Fishman, M.D., -8FCBAF<5?8*C<B<7+E8F6E<5<A:+;LF<6<4ATF"H<78 (2007) at 62.
87
     See Scott M. Fishman, M.D., Responsible Opioi7+E8F6E<5<A:+;LF<6<4ATF"H<78 (2d ed. 2012).



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                seeking behaviors] in patients who have pain that has not been effectively
                TREATEDf

            e. 8PONINFORMATIONANDBELIEF3URDUESPONSORED A&0(PROGRAMTITLED e3ATHOF
               THE3ATIENT0ANAGING&HRONIC3AININ<OUNGER$DULTSAT5ISKFOR$BUSEf,NA
               roleplay, a chronic pain patient with a history of drug abuse tells his doctor that he
               is taking twice as many hydrocodone pills as directed. The narrator notes that
               because of pseudoaddiction, the doctor should not assume the patient is addicted
               even if he persistently asks for a specific drug, seems desperate, hoards medicine
               OReOVERINDULGESINUNAPPROVEDESCALATINGDOSESf7HEDOCTORTREATS THISPATIENT
               by prescribing a high-dose, long-acting opioid.

        126. In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already-

addicted patients.

        127. In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive and unfair practice is the Manufacturer

'EFENDANTSh FALSE INSTRUCTIONS THAT ADDICTION RISK SCREENING TOOLS PATIENT CONTRACTS URINE DRUG

screens and similar strategies allow them to reliably identify and safely prescribe opioids to

patients predisposed to addiction. These misrepresentations were especially insidious because the

Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

'EFENDANTShMISREPRESENTations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

            a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
               DOCTOR WHO BECAME A MEMBER OF (NDOhS SPEAKERS BUREAU IN  7HE
               supplement, entitled Pain Management Dilemmas in Primary Care: Use of
               Opioids, emphasized the effectiveness of screening tools, claiming that patients at
               high risk of addiction could safely receive chronic opioid therapy using a
               eMAXIMALLYSTRUCTUREDAPPROACHfINVOLVINGTOXICOLOGYSCREENSANDPILLCOUNTS



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                  b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing
                     +4G<8AGTF*C<B<70F84?4A6<A:G;8)8874A7-<F>, which claimed that screening
                     TOOLS URINE TESTS AND PATIENTAGREEMENTS PREVENT eOVERUSE OF PRESCRIPTIONSf AND
                     eOVERDOSEDEATHSf

                  c. As recently as 2015, upon information and belief, Purdue has represented in
                     SCIENTIFICCONFERENCESTHATeBADAPPLEfPATIENTSc and not opioids c are the source
                     OFTHEADDICTIONCRISISANDTHATONCETHOSEeBADAPPLESfAREIDENTIFIEDDOCTORSCAN
                     safely prescribe opioids without causing addiction.

            128. The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains thAT THERE ARE NO STUDIES ASSESSING THE EFFECTIVENESS OF RISK MITIGATION STRATEGIES eFOR

IMPROVINGOUTCOMESRELATEDTOOVERDOSEADDICTIONABUSEORMISUSEf88

            129. A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendantsh FALSE ASSURANCES REGARDING THE ALLEGED EASE OF ELIMINATING OPIOID

dependence. The Manufacturer Defendants falsely claimed that doctors can easily address opioid

dependence by tapering and that opioid withdrawal is not a problem, but they failed to disclose

the increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women.89

            130. The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by

TAPERING A PATIENThS OPIOID DOSE BY  -  FOR  DAYS $ND 3URDUE SPONSORED $3)hS A

+B?<6L@4>8ETF "H<78 GB 0A78EFG4A7<A: +4<A                   $GF (4A4:8@8AG, which claimed that


88
     Id. at 11.
89
     Id. at 26.



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e>S?YMPTOMSOFPHYSICALDEPENDence can often be ameliorated by gradually decreasing the dose

OFMEDICATIONDURINGDISCONTINUATIONfWITHOUTMENTIONINGANYHARDSHIPSTHATMIGHTOCCUR90

           131. A fifth category of false, deceptive and unfair statements the Manufacturer

Defendants made to sell more drugs is that patients could increase opioid dosages indefinitely

WITHOUTADDEDRISK7HEABILITYTOESCALATEDOSAGESWASCRITICALTO'EFENDANTShEFFORTSTOMARKET

opioids for long-term use to treat chronic pain because, absent this misrepresentation, doctors

would have abandoned treatment when patients built up tolerance and lower dosages did not

PROVIDEPAINRELIEF7HE0ANUFACTURER'EFENDANTShDECEPTIVECLAIMSINCLUDE

               a. 8PONINFORMATIONANDBELIEF$CTAVIShSPREDECESSORCREATEDAPATIENTBROCHUREFOR
                  KADIANINTHATSTATEDe2VERTIMEYOURBODYMAYBECOMETOLERANTOFYOUR
                  current dose. You may require a dose adjustment to get the right amount of pain
                  RELIEF7HISISNOTADDICTIONf%ASEDON$CTAVIShSACQUISITIONOFITSPREDECESSORhS
                  marketing materials along with the rights to Kadian, Actavis appears to have
                  continued to use these materials in 2009 and beyond.

               b. &EPHALONAND3URDUESPONSORED$3)hS Treatment Options: A Guide for People
                  Living with Pain WHICHCLAIMSTHATSOMEPATIENTSeNEEDfALarger dose of
                  an opioid, regardless of the dose currently prescribed. The guide stated that
                  OPIOIDS HAVE eNO CEILING DOSEf AND INSINUATED THAT THEY ARE THEREFORE THE MOST
                  appropriate treatment for severe pain.91 This publication is still available online.

               c. ENDO SPONSORED A WEBSITE e3AIN.NOWLEDGEf WHICH UPON INFORMATION AND
                  BELIEFCLAIMEDINTHATOPIOIDDOSAGESMAYBEINCREASEDUNTILeYOUAREONTHE
                  RIGHTDOSEOFMEDICATIONFORYOURPAINf

               d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
                  Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
                  FORMATITASKEDe,F,TAKETHEOPIOIDNOWWILLITWORKLATERWHEN,REALLYNEEDIT"f
                  7HE RESPONSE IS e7HE DOSE CAN BE INCREASED    <OU WONhT gRUN OUTh OF PAIN
                  RELIEFf92


90
     APF, +B?<6L@4>8ETF"H<78, at 32.
91
     APF, Treatment Options, at 12.
92
  Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).


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                e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                   Management for Older Adults (2009), which its sales force distributed. This guide
                   LISTEDDOSAGELIMITATIONSASeDISADVANTAGESfOFOTHERPAINMEDICINESBUTOMITTED
                   any discussion of risks of increased opioid dosages.

                f. 8PONINFORMATIONANDBELIEF3URDUEhS,NTHE)ACEOF3AINWEBSITEPROMOTEDTHE
                   NOTIONTHATIFAPATIENThSDOCTORDOESNOTPRESCRIBEWHATINTHEPATIENThSVIEWISA
                   sufficient dosage of opioids, he or she should find another doctor who will.

                g. 3URDUE SPONSORED $3)hS A +B?<6L@4>8ETF "H<78 GB 0A78EFG4A7<A: +4<A  $GF
                   Management WHICH TAUGHT THAT DOSAGE ESCALATIONS ARE eSOMETIMES NECESSARYf
                   ANDTHATeTHENEEDFORHIGHERDOSESOFMEDICATIONISNOTNECESSARILYINDICATive of
                   ADDICTIONfBUTINACCURATELYDOWNPLAYEDTHERISKSFROMHIGHOPIOIDDOSAGES93

                h. ,N3URDUESPONSOREDA&0(ENTITLEDe2VERVIEWOF0ANAGEMENT2PTIONSf
                   that was available for CME credit and available until at least 2012. The CME was
                   edited by a KOL and taught that NSAIDs and other drugs, but not opioids, are
                   unsafe at high dosages.

                i. Purdue presented a 2015 paper at the College on the Problems of Drug
                   'EPENDENCE eTHE OLDEST AND LARGEST ORGANIZATION IN THE 86 DEDICATED TO
                   advancing a scientific approach TO SUBSTANCE USE AND ADDICTIVE DISORDERSf
                   challenging the correlation between opioid dosage and overdose.94

                j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                   OPIOIDSTHE0ANUFACTURER'EFENDANTSh)RONT*ROUPS$3)ANDNPF argued in an
                   amicus BRIEFTOTHE8NITED6TATES)OURTH&IRCUIT&OURTOF$PPEALSTHATeTHEREISNO
                   gCEILINGDOSEhfFOROPIOIDS95

           132. 2NCE AGAIN THE  &'& *UIDELINE REVEALS THAT THE 0ANUFACTURER 'EFENDANTSh

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

CLARIFIESTHATTHEe>B?ENEFITSOFHIGH-DOSEOPIOIDSFORCHRONICPAINARENOTESTABLISHEDfWHILETHE

eRISKS FOR SERIOUS HARMS RELATED TO OPIOID THERAPY INCREASE AT HIGHER OPIOID DOSAGEf 96 More



93
     APF, +B?<6L@4>8ETF"H<78, supra, at 32.
94
     The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
95
     Brief of APF, supra, at 9.
96
     2016 CDC Guideline, supra, at 22c23.



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specifically, the CDC eXPLAINS THAT eTHERE IS NOW AN ESTABLISHED BODY OF SCIENTIFIC EVIDENCE

SHOWINGTHATOVERDOSERISKISINCREASEDATHIGHEROPIOIDDOSAGESf97 The CDC also states that

THERE IS AN INCREASED RISKeFOR OPIOID USE DISORDER RESPIRATORYDEPRESSION AND DEATH AT HIgher

DOSAGESf98 7HAT IS WHY THE &'& ADVISES DOCTORS TO eAVOID INCREASING DOSAGEf TO ABOVE 

morphine milligram equivalents per day.99

            133. 'EFENDANTSh DECEPTIVE MARKETING OF THE SO-called abuse-deterrent properties of

some of their opioids has created false impressions that these opioids can cure addiction and

abuse.

            134. The Manufacturer Defendants made misleading claims about the ability of their so-

called abuse-DETERRENTOPIOIDFORMULATIONSTODETERABUSE)OREXAMPLE(NDOhSADVERTISEMENTS

for the 2012 reformulation of Opana ER claimed Endo had designed it to be crush-resistant, in a

way that suggested it was more difficult to abuse. This claim was false. The FDA warned in a

2013 letter that Opana ER Extended-5ELEASE 7ABLETSh eEXTENDED-release features can be

comPROMISEDCAUSINGTHEMEDICATIONTOgDOSEDUMPhWHENSUBJECTTO . . . forms of manipulation

SUCHASCUTTINGGRINDINGORCHEWINGFOLLOWEDBYSWALLOWINGf100 Also troubling, Opana ER can

BE PREPARED FOR SNORTING USING COMMONLY AVAILABLE METHODS AND eREADILy prepared for

INJECTIONf101 7HELETTERDISCUSSEDeTHETROUBLINGPOSSIBILITYTHATAHIGHER ANDRISINGPERCENTAGE

of [Opana ER Extended-5ELEASE7ABLET?ABUSEISOCCURRINGVIAINJECTIONf 102 (NDOhSOWNSTUDIES


97
     Id. at 23c24.
98
     Id. at 21.
99
     Id. at 16.
100
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
86'EPhTOF+EALTHAND+UMAN6ERVSTO5OBERT%ARTO9ICE3RESIDENT5EG$FFAIRS(NDO3HARM,NC 0AY
2013), at 5.
101
      Id. at 6.
102
      Id. at 6 n.21.



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which it failed to disclose, showed that Opana ER could still be ground and chewed. In June

2017, the FDA requested that Endo remove Opana ER from the market.

                              ii. The Manufacturer Defendants embarked upon a campaign of
                                  false, deceptive and unfair assurances grossly overstating the
                                  benefits of the opioid drugs.

            135. To convince doctors and patients that they should use opioids to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to

long-TERMOPIOIDUSE%UTASTHE&'&*UIDELINEMAKESCLEARe>N?OEVIDENCE shows a long-term

benefit of opioids in pain and function versus no opioids for chronic pain with outcomes

examined at least 1 year later (with most placebo-CONTROLLED RANDOMIZED TRIALS a  WEEKS IN

DURATIONfANDTHATOTHERTREATMENTSWEREMOREOREQUALLy beneficial and less harmful than long-

term opioid use.103 The FDA, too, has recognized the lack of evidence to support long-term

opioid use. Despite this, Defendants falsely and misleadingly touted the benefits of long-term

opioid use and falsely and misleadingly suggested that these benefits were supported by

scientific evidence.

            136. 6OMEILLUSTRATIVEEXAMPLESOFTHE0ANUFACTURER'EFENDANTShFALSECLAIMSARE

                   a. Upon information and belief, Actavis distributed an advertisement claiming that
                      the use of Kadian to treat chronic pain would allow patients to return to work,
                      RELIEVEeSTRESSONYOURBODYANDYOURMENTALHEALTHfANDHELPPATIENTSENJOYTHEIR
                      lives.

                   b. Endo distributed advertisements that claimed the use of Opana ER for chronic
                      pain would allow patients to perform demanding tasks like construction work or
                      work as a chef and portrayed seemingly healthy, unimpaired subjects.

                   c. Janssen sponsored and edited a patient education guide entitled Finding Relief:
                      Pain Management for Older Adults (2009), which states as eAFACTfTHATeOPIOIDS
                      MAY MAKE IT EASIER FOR PEOPLE TO LIVE NORMALLYf 7HE GUIDE LISTS EXPECTED


103
      Id. at 15.



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                   functional improvements from opioid use, including sleeping through the night,
                   returning to work, recreation, sex, walking and climbing stairs.

               d. Janssen promoted Ultracet for everyday chronic pain and distributed posters for
                  DISPLAYINDOCTORShOFFICESOFPRESUMEDPATIENTSINACTIVEPROFESSIONS7HECAPTION
                  READe3AINDOESNhTFITINTOTHEIRSCHEDULESf

               e. Upon information and belief, Purdue ran a series of advertisements for OxyContin
                  IN  IN MEDICAL JOURNALS ENTITLED e3AIN VIGNETTESf WHICH WERE CASE STUDIES
                  featuring patients with pain conditions persisting over several months and
                  recommending OxyContin for them. The ads implied that OxyContin improves
                  patientshFUNCTION

               f. Responsible Opioid Prescribing (2007), which Cephalon, Endo and Purdue
                  sponsored and distributed, taught that relief of pain by opioids, by itself, improved
                  PATIENTShFUNCTION

               g. &EPHALONAND3URDUESPONSORED$3)hSTreatment Options: A Guide for People
                  Living with Pain  WHICH COUNSELED PATIENTS THAT OPIOIDS eGIVE >PAIN
                  PATIENTS?AQUALITYOFLIFEWEDESERVEf104 This publication is still available online.

               h. (NDOhS1,3&WEBSITEe3AIN.NOWLEDGEfCLAIMEDINUPONINFORMATIONAND
                  belief, that wITH OPIOIDS eYOUR LEVEL OF FUNCTION SHOULD IMPROVE  YOU MAY FIND
                  you are now able to participate in activities of daily living, such as work and
                  HOBBIESTHATYOUWERENOTABLETOENJOYWHENYOURPAINWASWORSEf(LSEWHERE
                  the website touted improved quaLITY OF LIFE AS WELL AS eIMPROVED FUNCTIONf AS
                  benefits of opioid therapy. The grant request that Endo approved for this project
                  SPECIFICALLY INDICATED 1,3&hS INTENT TO MAKE MISLEADING CLAIMS ABOUT FUNCTION
                  and Endo closely tracked visits to the site.

               i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled
                  e3ERSISTENT 3AIN IN THE 2LDER 3ATIENTf105 Upon information and belief, a CME
                  DISSEMINATEDVIAWEBCASTCLAIMEDTHATCHRONICOPIOIDTHERAPYHASBEENeSHOWNTO
                  reduce pain and improve depressIVESYMPTOMSANDCOGNITIVEFUNCTIONINGf

               j. Janssen sponsored and funded a multimedia patient education campaign called
                  e/EThS 7ALK 3AINf 2NE FEATURE OF THE CAMPAIGN WAS TO COMPLAIN THAT PATIENTS
                  were under-treated. In 2009, upon information and belief, a Janssen-sponsored

104
      APF, Treatment Options.
105
   E.g., NIPC, Persistent Pain and the Older Patient (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.



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                    WEBSITEPARTOFTHEe/EThS7ALK3AINfCAMPAIGNFEATUREDANINTERVIEWEDITEDBY
                    -ANSSENCLAIMINGTHATOPIOIDSALLOWEDAPATIENTTOeCONTINUETOFUNCTIONf

               k. 3URDUE SPONSORED THE DEVELOPMENT AND DISTRIBUTION OF $3)hS  +B?<6L@4>8ETF
                  Guide to Understanding Pain & Its ManagementWHICHCLAIMEDTHATe>M?ULTIPLE
                  CLINICAL STUDIESf HAVE SHOWN THAT OPIOIDS ARE EFFECTIVE IN IMPROVING e>D?AILY
                  FUNCTIONfe>P?SYCHOLOGICALHEALTHfANDe>O?VERALLHEALTH-related quality of life for
                  CHRONICPAINf106 The PoLICYMAKERhS*UIDEWASORIGINALLYPUBLISHEDIN

               l. 3URDUEhS&EPHALONhS(NDOhSAND-ANSSENhSSALESREPRESENTATIVESHAVECONVEYED
                  and continue to convey the message that opioids will improve patient function.

           137. As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

           138. In 2010, the FDA warned Actavis, in response to its advertising of Kadian

DESCRIBEDABOVETHATeWEARENOTAWAREOFSUBSTANTIALEVIDENCEORSUBSTANTIALCLINICALEXPERIENCE

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

POSITIVE IMPACT ON A PATIENThS WORK PHYSICAL AND MENTAL FUNCTIONING DAIly activities, or

ENJOYMENTOFLIFEf107 And in 2008, upon information and belief, the FDA sent a warning letter to

ANOPIOIDMANUFACTURERMAKINGITCLEAReTHAT>THECLAIMTHAT?PATIENTSWHOARETREATEDWITHTHE

drug experience an improvement in their overall function, social function, and ability to perform

daily activities . . . has not been demonstrated by substantial evidence or substantial clinical

EXPERIENCEf

           139. The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by


106
      APF, +B?<6L@4>8ETF"H<78, supra, at 29.
107
      Letter from Thomas Abrams to Doug Boothe, supra, at 2.



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the Manufacturer Defendants contravene pronouncements by and guidance from the FDA and

CDC based on the scientific evidence. Indeed, the FDA changed the labels for ER/LA opioids in

AND,5OPIOIDSINTOSTATETHATOPIOIDSSHOULDONLYBEUSEDASALASTRESORTeINPATIENTS

FORWHICHALTERNATIVETREATMENTOPTIONSfLIKENON-opioid druGSeAREINADEQUATEf$NDTHE

CDC Guideline states that NSAIDs, not opioids, should be the first-line treatment for chronic

pain, particularly arthritis and lower back pain.108 Purdue misleadingly promoted OxyContin as

being unique among opioids in providing 12 continuous hours of pain relief with one dose. In

fact, OxyContin does not last for 12 hours c a fact that Purdue has known at all times relevant to

THISACTION8PONINFORMATIONANDBELIEF3URDUEhSOWNRESEARCHSHOWSTHAT2XY&ONTINWEARSOFF

in under six hours in one quarter of patients and in under 10 hours in more than half. This is

because OxyContin tablets release approximately 40% of their active medicine immediately,

after which release tapers. This triggers a powerful initial response, but provides little or no pain

relief at the end of the dosing period, when the tablet releases less medicine. This phenomenon is

KNOWNASeENDOFDOSEfFAILUREANDTHE)'$FOUNDINTHATAeSUBSTANTIALPROPORTIONfOF

chronic pain patients taking OxyContiNEXPERIENCEIT7HISNOTONLYRENDERS3URDUEhSPROMISEOF

12 hours of relief false and deceptive, it also makes OxyContin more dangerous because the

declining pain relief patients experience toward the end of each dosing period drives them to take

more OxyContin before the next dosing period begins, quickly increasing the amount of drug

they are taking and spurring growing dependence.

           140. 3URDUEhSCOMPETITORSWEREAWAREOFTHISPROBLEM)OREXAMPLEUPONINFORMATION

and belief, Endo ran advertisements for OpanA (5 REFERRING TO eREALf -hour dosing.

Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours.


108
      2016 CDC Guideline, supra , at 12.



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8PON INFORMATION AND BELIEF 3URDUEhS SALES REPRESENTATIVES CONTINUE TO TELL DOCTORS THAT

OxyContin lasts a full 12 hours.

        141. Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

        OxyContin is particularly useful for sustained long-term pain because it comes in
        higher, compact pills with a slow release coating. OxyContin pills can work for
        12 hours. This makes it easier for patients to comply with dosing requirements
        without experiencing a roller-coaster of pain relief followed quickly by pain
        renewal that can occur with shorter acting medications. It also helps the patient
        sleep through the night, which is often impossible with short-acting medications.
        For many of those serviced by Pain Care Amici, OxyContin has been a miracle
        medication.109

        142. Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain, even

though the FDA has expressly limited their use to the treatment of cancer pain in opioid-tolerant

individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

approved for nor has been shown to be safe or effective for chronic pain. Indeed, the FDA

expressly prohibited Cephalon from marketing Actiq for anything but cancer pain and refused to

approve Fentora for the treatment of chronic pain because of the potential harm, including the

HIGHRISKOFeSERIOUSANDLIFE-THREATENINGADVERSEEVENTSfANDABUSEc which are greatest in non-

cancer patients. The FDA also issued a Public Health Advisory in 2007, emphasizing that

Fentora should only be used for cancer patients who are opioid-tolerant and should not be used




109
    Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio
Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).



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for any other conditions, such as migraines, post-operative pain or pain due to injury.110

6PECIFICALLY THE )'$ADVISEDTHAT )ENTORA eIS ONLY APPROVED FOR BREAKTHROUGH CANCER PAIN IN

patients who are opioid-tolerant, meaning those patients who take a regular, daily, around-the-

CLOCKNARCOTICPAINMEDICATIONf111

            143. Despite this, Cephalon conducted and continues to conduct a well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

not approved and is not appropriate or safe. As part of this campaign, Cephalon used CMEs,

speaker programs, KOLs, journal supplements and detailing by its sales representatives to give

doctors the false impression that Actiq and Fentora are safe and effective for treating non-cancer

pain. For example:

               a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of
                  Persistent and Breakthrough Pain, published in a supplement of Pain Medicine
                  1EWSIN7HE&0(INSTRUCTEDDOCTORSTHATe>C?LINICALLYBROADCLASSIFICATION
                  of pain syndromes as either cancer- or non-cancer-RELATEDHASLIMITEDUTILITYfAND
                  recommended Actiq and Fentora for patients with chronic pain.

               b. 8PONINFORMATIONANDBELIEF&EPHALONhSSALESREPRESENTATIVESSETUPHUNDREDSOF
                  speaker programs for doctors, including many non-oncologists, which promoted
                  Actiq and Fentora for the treatment of non-cancer pain.

               c. In December 2011, Cephalon widely disseminated a journal supplement entitled
                  e6PECIAL 5EPORT $N ,NTEGRATED 5ISK (VALUATION AND 0ITIGATION 6TRATEGY FOR
                  Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate
                   $&7,4fTO Anesthesiology News, Clinical Oncology News and Pain Medicine
                  News c three publications that are sent to thousands of anesthesiologists and other
                  MEDICALPROFESSIONALS7HE6PECIAL5EPORTOPENLYPROMOTES)ENTORAFOReMULTIPLE
                  CAUSESOFPAINfc and not just cancer pain.




110
   See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora
(fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
111
      Id.



                                                  54
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         144. &EPHALONhSDECEPTIVEMARKETINGGAVEDOCTORSANDPATIENTSTHEFALSEIMPRESSIONTHAT

Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

approved by the FDA for such uses.

         145. Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

PRESCRIBINGOFITSDRUGSDESPITEKNOWINGABOUTITFORYEARS3URDUEhSSALESREPRESENTATIVESHAVE

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors to state medical boards or law enforcement authorities (as

Purdue is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate

the high rate of diversion of OxyContin c the same OxyContin that Purdue had promoted as less

addictive c in order to persuade the FDA to bar the manufacture and sale of generic copies of the

drug because the drug was too likely to be abused. In an interview with the Los Angeles Times,

3URDUEhSSENIORCOMPLIANCEOFFICERACKNOWLedged that in five years of investigating suspicious

pharmacies, Purdue failed to take action c even where Purdue employees personally witnessed

the diversion of its drugs. The same was true of prescribers; despite its knowledge of illegal

prescribing, Purdue did not report that a Los Angeles clinic prescribed more than 1.1 million

2XY&ONTIN TABLETS AND THAT 3URDUEhS DISTRICT MANAGER DESCRIBED IT INTERNALLY AS eAN ORGANIZED

DRUGRINGfUNTILYEARSAFTERLAWENFORCEMENTSHUTITDOWN,NDOINGSO3URDUEPROTEcted its own

profits at the expense of public health and safety.112

         146. Like Purdue, Endo has been cited for its failure to set up an effective system for

identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State

of New York found that Endo failed to require sales representatives to report signs of abuse,

diversion and inappropriate prescribing; paid bonuses to sales representatives for detailing

112
   Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.



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prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct had caused

them to be placed on a no-call list.

3. The Manufacturer Defendants Targeted Susceptible Prescribers and Vulnerable
Patient Populations.

           147. As a part of their deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

INCLUDING THIS 6TATE AND 3LAINTIFFhS &OMMUNITY )OR EXAMPLE THE 0ANUFACTURER 'EFENDAnts

focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

pain patients and prescribe them drugs, but were less likely to be educated about treating pain

and the risks and benefits of opioids and therefore more likely to accept the Manufacturer

'EFENDANTShMISREPRESENTATIONS

           148. The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants

targeted these vulnerable patients, even though the risks of long-term opioid use were

significantly greater for them. For example, the 2016 CDC Guideline observes that existing

evidence confirms that elderly patients taking opioids suffer from elevated fall and fracture risks,

reduced renal function and medication clearance and a smaller window between safe and unsafe

dosages.113 7HE  &'& *UIDELINE CONCLUDES THAT THERE MUST BE eADDITIONAL CAUTION AND

INCREASEDMONITORINGfTOMINIMIZETHERISKSOFOPIOIDUSEINELDERLYPATIENts. Id. at 27. The same

is true for veterans, who are more likely to use anti-anxiety drugs (benzodiazepines) for post-

traumatic stress disorder, which interact dangerously with opioids.




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      2016 CDC Guideline, supra, at 13.



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4. The Manufacturer Defendants Made Materially Deceptive Statements and Concealed
Material Facts.

       149. As alleged herein, the Manufacturer Defendants made and/or disseminated

deceptive statements regarding material facts and further concealed material facts in the course

of manufacturing, marketing and selling prescription opioids 7HE 0ANUFACTURER 'EFENDANTSh

actions were intentional and/or unlawful. Such statements include, but are not limited to, those

set out below and alleged throughout this Complaint.

       150. Defendant Purdue made and/or disseminated deceptive statements and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring and assisting in the distribution of patient education
                materials distributed to consumers that contained deceptive statements;

             b. Creating and disseminating advertisements that contained deceptive statements
                concerning the ability of opioids to improve function long-term and concerning
                the evidence supporting the efficacy of opioids long-term for the treatment of
                chronic non-cancer pain;

             c. Disseminating misleading statements concealing the true risk of addiction and
                PROMOTING THE DECEPTIVE CONCEPT OF PSEUDOADDICTION THROUGH 3URDUEhS OWN
                unbranded publications and on internet sites Purdue operated that were marketed
                to and accessible by consumers;

             d. Distributing brochures to doctors, patients and law enforcement officials that
                included deceptive statements concerning the indicators of possible opioid abuse;

             e. Sponsoring, directly distributing and assisting in the distribution of publications
                that promoted the deceptive concept of pseudoaddiction, even for high-risk
                patients;

             f. Endorsing, directly distributing and assisting in the distribution of publications
                that presented an unbalanced treatment of the long-term and dose-dependent risks
                of opioids versus NSAIDs;




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      g. Providing significant financial support to pro-opioid KOL doctors who made
         deceptive statements concerning the use of opioids to treat chronic non-cancer
         pain;

      h. Providing needed financial support to pro-opioid pain organizations that made
         deceptive statements, including in patient education materials, concerning the use
         of opioids to treat chronic non-cancer pain;

      i. Assisting in the distribution of guidelines that contained deceptive statements
         concerning the use of opioids to treat chronic non-cancer pain and misrepresented
         the risks of opioid addiction;

      j. Endorsing and assisting in the distribution of CMEs containing deceptive
         statements concerning the use of opioids to treat chronic non-cancer pain;

      k. Developing and disseminating scientific studies that misleadingly concluded
         opioids are safe and effective for the long-term treatment of chronic non-cancer
         pain and that opioids improve quality of life, while concealing contrary data;

      l. Assisting in the dissemination of literature written by pro-opioid KOLs that
         contained deceptive statements concerning the use of opioids to treat chronic non-
         cancer pain;

      m. Creating, endorsing and supporting the distribution of patient and prescriber
         education materials that misrepresented the data regarding the safety and efficacy
         of opioids for the long-term treatment of chronic non-cancer pain, including
         known rates of abuse and addiction and the lack of validation for long-term
         efficacy;

      n. Targeting veterans by sponsoring and disseminating patient education marketing
         materials that contained deceptive statements concerning the use of opioids to
         treat chronic non-cancer pain;

      o. Targeting the elderly by assisting in the distribution of guidelines that contained
         deceptive statements concerning the use of opioids to treat chronic non-cancer
         pain and misrepresented the risks of opioid addiction in this population;

      p. Exclusively disseminating misleading statements in education materials to
         hospital doctors and staff, while purportedly educating them on new pain
         standards;

      q. Making deceptive statements concerning the use of opioids to treat chronic non-
         cancer pain to prescribers through in-person detailing; and


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             r. Withholding from law enforcement the names of prescribers Purdue believed to
                be facilitating the diversion of its opioids, while simultaneously marketing opioids
                to these doctors by disseminating patient and prescriber education materials,
                advertisements and CMEs they knew would reach these same prescribers.

       151. Defendant Endo made and/or disseminated deceptive statements and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring and assisting in the distribution of patient education
                materials that contained deceptive statements;

             b. Creating and disseminating advertisements that contained deceptive statements
                concerning the ability of opioids to improve function long-term and concerning
                the evidence supporting the efficacy of opioids long-term for the treatment of
                chronic non-cancer pain;

             c. Creating and disseminating paid advertisement supplements in academic journals
                promoting chronic opioid therapy as safe and effective for long term use for high
                risk patients;

             d. Creating and disseminating advertisements that falsely and inaccurately conveyed
                thEIMPRESSIONTHAT(NDOhSOPIOIDSWOULDPROVIDEAREDUCTIONINORALINTRANASALOR
                intravenous abuse;

             e. Disseminating misleading statements concealing the true risk of addiction and
                PROMOTING THE MISLEADING CONCEPT OF PSEUDOADDICTION THROUGH (NDOhS OWN
                unbranded publications and on internet sites Endo sponsored or operated;

             f. Endorsing, directly distributing and assisting in the distribution of publications
                that presented an unbalanced treatment of the long-term and dose-dependent risks
                of opioids versus NSAIDs;

             g. Providing significant financial support to pro-opioid KOLs, who made deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             h. Providing needed financial support to pro-opioid pain organizations c including
                over $5 million to the organization responsible for many of the most egregious
                misrepresentations c that made deceptive statements, including in patient
                education materials, concerning the use of opioids to treat chronic non-cancer
                pain;


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             i. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer
                pain and misrepresented the risks of opioid addiction in this population;

             j. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             k. Developing and disseminating scientific studies that deceptively concluded
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life, while concealing contrary data;

             l. Directly distributing and assisting in the dissemination of literature written by
                pro-opioid KOLs that contained deceptive statements concerning the use of
                opioids to treat chronic non-cancer pain, including the concept of
                pseudoaddiction;

             m. Creating, endorsing and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including
                known rates of abuse and addiction and the lack of validation for long-term
                efficacy; and

             n. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing.

       152. Defendant Janssen made and/or disseminated deceptive statements and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring and assisting in the distribution of patient education
                materials that contained deceptive statements;

             b. Directly disseminating deceptive statements through internet sites, over which
                Janssen exercised final editorial control and approval, stating that opioids are safe
                and effective for the long-term treatment of chronic non-cancer pain and that
                opioids improve quality of life, while concealing contrary data;

             c. Disseminating deceptive statements concealing the true risk of addiction and
                promoting the deceptive concept of pseudoaddiction through internet sites, over
                which Janssen exercised final editorial control and approval;




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      d. Promoting opioids for the treatment of conditions for which Janssen knew, due to
         the scientific studies it conducted, that opioids were not efficacious and
         concealing this information;

      e. Sponsoring, directly distributing and assisting in the dissemination of patient
         education publications over which Janssen exercised final editorial control and
         approval, which presented an unbalanced treatment of the long-term and dose
         dependent risks of opioids versus NSAIDs;

      f. Providing significant financial support to pro-opioid KOLs, who made deceptive
         statements concerning the use of opioids to treat chronic non-cancer pain;

      g. Providing necessary financial support to pro-opioid pain organizations that made
         deceptive statements, including in patient education materials, concerning the use
         of opioids to treat chronic non-cancer pain;

      h. Targeting the elderly by assisting in the distribution of guidelines that contained
         deceptive statements concerning the use of opioids to treat chronic non-cancer
         pain and misrepresented the risks of opioid addiction in this population;

      i. Targeting the elderly by sponsoring, directly distributing and assisting in the
         dissemination of patient education publications targeting this population that
         contained deceptive statements about the risks of addiction and the adverse effects
         of opioids and made false statements that opioids are safe and effective for the
         long-term treatment of chronic non-cancer pain and improve quality of life, while
         concealing contrary data;

      j. Endorsing and assisting in the distribution of CMEs containing deceptive
         statements concerning the use of opioids to treat chronic non-cancer pain;

      k. Directly distributing and assisting in the dissemination of literature written by
         pro-opioid KOLs that contained deceptive statements concerning the use of
         opioids to treat chronic non-cancer pain, including the concept of
         pseudoaddiction;

      l. Creating, endorsing and supporting the distribution of patient and prescriber
         education materials that misrepresented the data regarding the safety and efficacy
         of opioids for the long-term treatment of chronic non-cancer pain, including
         known rates of abuse and addiction and the lack of validation for long-term
         efficacy;




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           m. Targeting veterans by sponsoring and disseminating patient education marketing
              materials that contained deceptive statements concerning the use of opioids to
              treat chronic non-cancer pain; and

           n. Making deceptive statements concerning the use of opioids to treat chronic non-
              cancer pain to prescribers through in-person detailing.

       153. Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

           a. Creating, sponsoring and assisting in the distribution of patient education
              materials that contained deceptive statements;

           b. Sponsoring and assisting in the distribution of publications that promoted the
              deceptive concept of pseudoaddiction, even for high-risk patients;

           c. Providing significant financial support to pro-opioid KOL doctors who made
              deceptive statements concerning the use of opioids to treat chronic non-cancer
              pain and breakthrough chronic non-cancer pain;

           d. Developing and disseminating scientific studies that deceptively concluded
              opioids are safe and effective for the long-term treatment of chronic non-cancer
              PAININCONJUNCTIONWITH&EPHALONhSPOTENTRAPID-onset opioids;

           e. Providing needed financial support to pro-opioid pain organizations that made
              deceptive statements, including in patient education materials, concerning the use
              of opioids to treat chronic non-cancer pain;

           f. Endorsing and assisting in the distribution of CMEs containing deceptive
              statements concerning the use of opioids to treat chronic non-cancer pain;

           g. Endorsing and assisting in the distribution of CMEs containing deceptive
              STATEMENTSCONCERNINGTHEUSEOF&EPHALONhSRAPID-onset opioids;

           h. 'IRECTING ITS MARKETING OF &EPHALONhS RAPID-onset opioids to a wide range of
              doctors, including general practitioners, neurologists, sports medicine specialists
              ANDWORKERShCOMPENSATIONPROGRAMSSERVINGCHRONICPAINPATIENTS

           i. 0AKING DECEPTIVE STATEMENTS CONCERNING THE USE OF &EPHALONhS OPIOIDS TO TREAT
              chronic non-cancer pain to prescribers through in-PERSONDETAILINGANDSPEAKERSh
              bureau events, when such uses are unapproved and unsafe; and


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             j. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-PERSON DETAILING AND SPEAKERSh BUREAU
                events.

       154. Defendant Actavis made and/or disseminated deceptive statements and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing;

             b. Creating and disseminating advertisements that contained deceptive statements
                that opioids are safe and effective for the long-term treatment of chronic non-
                cancer pain and that opioids improve quality of life;

             c. Creating and disseminating advertisements that concealed the risk of addiction in
                the long-term treatment of chronic, non-cancer pain; and

             d. Developing and disseminating scientific studies that deceptively concluded
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life while concealing contrary data.

5. The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

       155. The Manufacturer Defendants, both individually and collectively, made, promoted

and profited from their misrepresentations about the risks and benefits of opioids for chronic

pain, even though they knew that their misrepresentations were false and deceptive. The history

of opioids, as well as research and clinical experience, establish that opioids are highly addictive

and are responsible for a long list of very serious adverse outcomes. The FDA warned

Defendants of this, and Defendants had access to scientific studies, detailed prescription data and

reports of adverse events, including reports of addiction, hospitalization and death c all of which

clearly described the harm from long-term opioid use and that patients were suffering from

addiction, overdose and death in alarming numbers. More recently, the FDA and CDC have

issued pronouncements, based on medical evidence, that conclusively expose the falsity of


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'EFENDANTShMISREPRESENTATIONSAND(NDOAND3URDUEHAVERECENTLYENTEREDAGREEMENTSIN1EW

York prohibiting them from making some of the same misrepresentations described in this

Complaint.

       156. At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair and

fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy

ANDINTEGRITYOFTHE0ANUFACTURER'EFENDANTShFALSEANDDECEPTIVESTATEMENTSABOUTTHERISKSAND

benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in

shaping, editing and approving the content of information and materials disseminated by these

third parties. The Manufacturer Defendants exerted considerable influence on these promotional

ANDeEDUCATIONALfMATERIALSINEMAILSCORRespondence and meetings with KOLs, Front Groups

and public relations companies that were not, and have not yet become, public. For example,

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Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their

own role.

       157. Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make it appear that these documents were accurate, truthful and

supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

DIDNOTSUPPORT7HE0ANUFACTURER'EFENDANTSINVENTEDePSEUDOADDICTIONfANDPromoted it to an




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unsuspecting medical community. The Manufacturer Defendants provided the medical

community with false and misleading information about ineffectual strategies to avoid or control

opioid addiction. The Manufacturer Defendants recommended to the medical community that

dosages be increased, without disclosing the risks. The Manufacturer Defendants spent millions

OFDOLLARSOVERAPERIODOFYEARSONAMISINFORMATIONCAMPAIGNAIMEDATHIGHLIGHTINGOPIOIDSh

alleged benefits, disguising the risks and promoting sales. The lack of support for the

0ANUFACTURER 'EFENDANTSh DECEPTIVE MESSAGES WAS NOT APPARENT TO MEDICAL PROFESSIONALS WHO

RELIEDUPONTHEMINMAKINGTREATMENTDECISIONSNORCOULDTHE3LAINTIFFOR3LAINTIFFhS&OMMUNITY

have detected it. Thus, the Manufacturer Defendants successfully concealed from the medical

community, patients and health care payors facts sufficient to arouse suspicion of the claims that

the Plaintiff now asserts. Plaintiff did not know of the existence or scope of the Manufacturer

'EFENDANTShINDUSTRY-wide fraud and could not have acquired such knowledge earlier through the

exercise of reasonable diligence.

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       158. The Distributor Defendants owe a duty under both federal law and Georgia law to

monitor, detect, investigate, refuse to fill, and report suspicious orders of prescription opioids

ORIGINATINGFROM3LAINTIFFhS&OMMUNITYASWELLASTHOSEORDERSWHICHTHE'ISTRIBUTOR'EFENDANTS

knew or should have known were likeLYTOBEDIVERTEDINTO3LAINTIFFhS&OMMUNITY

       159. The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       160. Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law. Such breaches are direct and proximate causes of the widespread diversion

OFPRESCRIPTIONOPIOIDSFORNONMEDICALPURPOSESINTO3LAINTIFFhS&OMMUNITY




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       161. The unlawful diversion of prescription opioids is a direct and proximate cause

and/or substantial contributing factor to the opioid epidemic, prescription opioid abuse,

ADDICTIONMORBIDITYANDMORTALITYINTHE6TATEANDIN3LAINTIFFhS&OMMUNITY7HISDIVERSIONAND

the epidemic are direct causes of harms for which Plaintiff seeks to recover here.

       162. The opioid epidemic in the State, including, inter alia, IN3LAINTIFFhS&OMMUNITY

remains an immediate hazard to public health and safety.

       163. 7HE OPIOID EPIDEMIC IN 3LAINTIFFhS &OMMUNITY IS A TEMPORARY AND CONTINUOUS

public nuisance and remains unabated.

       164. The Distributor Defendants intentionally continued their conduct, as alleged herein,

with knowledge that such conduct was creating the opioid nuisance and causing the harms and

damages alleged herein.

           1. Wholesale Drug Distributors Have a Duty Under State and Federal Law to
              Guard Against and Report Unlawful Diversion and to Report and Prevent
              Suspicious Orders.

       165. Opioids are a controlled substance, and Georgia law categorizes them as having a

eHIGHPOTENTIALFORABUSEfSee Ga. Code Ann. § 16-13-24(b)(2)(A). TheSEe6CHEDULE,,fDRUGS

are controlled substances wITHAeHIGHPOTENTIALFORABUSEf86&$]] B  $-

(C). See also Ga. Code Ann. § 16-13-26.

       166. Georgia law required each Defendant to first be registered with the Georgia State

Board of Pharmacy. Ga. Code Ann. §§ 16-13-35 (Georgia Controlled Substances Act) and § 26-

4-115(a) (Georgia Pharmacy Practice Act); and Ga. Comp. R. & Regs. 480-7-.03(1).

       167. The Georgia Controlled Substances Act rEQUIRES e>E?VERY PERSON WHO

manufactures, distributes, or dispenses any controlled substances within this state or who

proposes to engage in the manufacture, distribution, or dispensing of any controlled substance




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within this state must obtain annually a registration issued by the State Board of Pharmacy in

ACCORDANCEWITHITSRULESf*A&ODE$NN]-13-35(a).

        168. Similarly, the Georgia Pharmacy Practice Act requires all ePERSONS FIRMS OR

corporations, whether located in this state or in any other states, engaged in the business of

selling or distributing drugs at wholesale in this state, in the business of supplying drugs to

manufacturers, compounders, and processors in the state, or in the business of a reverse drug

distributor shall biennially register with the [Board of Pharmacy] as a drug wholesaler,

distributor, reverse drug distributor, or supplierf*A&ODE$NN]-4-115(a).

        169. The State Board of Pharmacy is required to register manufacturers and distributors

eUNLESSITDETERMINESTHATTHEISSUANCEOf that registration would be inconsistent with the public

INTERESTf *A &ODE $NN ] -13-36(a). Factors to be considered in determining the public

interest include, inter alia, e>M?AINTENANCEOFEFFECTIVECONTROLSAGAINSTDIVERSIONOFCONTROLLED

substancES INTO OTHER THAN LEGITIMATE MEDICAL SCIENTIFIC OR INDUSTRIAL CHANNELSf AND e>P?AST

experience in the manufacture or distribution of controlled substances and the existence in the

APPLICANThSESTABLISHMENTOFEFFECTIVECONTROLSAGAINSTillegal diversionfGa. Code Ann. § 16-13-

36(a)(1) and (4).

        170. Georgia Board of Pharmacy Regulations require manufacturers and distributors of

CONTROLLEDSUBSTANCESTOemaintain records of unusual orders of controlled substances received by

the registrant and shall inform the Office of the Director of the Georgia Drugs and Narcotics

$GENCY *'1$OFUNUSUALORDERSWHENDISCOVEREDBYTHEREGISTRANTf*A&OMP5 5EGS

480-20-.02(1). See also Ga. Code Ann. § 16-13-39 (e3ERSONS REGISTERED TO MANUFACTURE

distribute, or dispense controlled substances under this article shall keep a complete and accurate

record of all controlled substances . . . and shall maintain such records and inventories in




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conformance with the record-keeping and inventory requirements of federal law and with any

ADDITIONALRULESISSUEDBYTHE6TATE%OARDOF3HARMACYf Ga. Code Ann. § 16-13-42 A  e,TIS

unlawful for any person: . . . To refuse or fail to make, keep, or furnish any record, notification,

order form, statement, invoice, or information required under this articlef ANDGa. Code Ann. §

16-13-37(a)(1) (registration to manufacture or distribute a controlled substance may be

SUSPENDEDORREVOKEDIFTHEREGISTRANTHASeFURNISHEDFALSEor fraudulent material information in

any application filed under [the Georgia Uniform Controlled Substances Act]f).

       171. Furthermore, Georgia law incorporates federal requirements set out under the

Controlled Substance Act and related controlled substance laws and regulations. See Ga. Comp.

R. & Regs. 480-7-.03(10)(b) eWholesale drug distributors . . . shall comply with all applicable

6TATE /OCAL AND '($ REGULATIONSf  Ga. Code Ann. § 16-13-36(d) (e>C?OMPLIANCE BY

manufacturers and distributors with the provisions of federal law respecting registration . . .

entitles them to be registered under [Article 16 of the Georgia Controlled Substances Act]f and

Ga. Code Ann. § 16-13-39 (e3ERSONSREGISTEREDTOMANUFACTUREDISTRIBUTEORDISPENSECONTROLLED

substances under [Article 16 of the Georgia Controlled Substances Act] shall keep a complete

and accurate record of all controlled substances . . . and shall maintain such records and

inventories in conformance with the record-keeping and inventory requirements of federal law

ANDWITHANYADDITIONALRULESISSUEDBYTHE6TATE%OARDOF3HARMACYf.

       172. The federal Controlled Substance Act further required each Distributor Defendant

to register with the DEA. See 21 U.S.C. § 823(b), (e) and 28 C.F.R. § 0.100. Each Distributor

'EFENDANTISAeREGISTRANTfASAWHOLESALEDISTRIBUTORINTHECHAINOFDISTRIBUTIONOF6CHEDULE,,

controlled substances with a duty to comply with all security requirements imposed under that

statutory scheme. Georgia law adopts and incorporates those requirements, as set out above. See,




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e.g., Ga. Comp. R. & Regs. 480-7-  e:HOLESALE DRUG DISTRIBUTORS SHALL OPERATE IN

compliance with applicable Federal, State, and local laws and regulatIONSf Ga. Code Ann. §

26-4-115(a) (registration may be suspended or revoked AMONG OTHER PUNISHMENTS eif the

REGISTRANTFAILSTOCOMPLYWITHANYLAWOFTHISSTATE>OR?THE8NITED6TATESf); Ga. Code Ann. § 26-

4-115(b)(2) (registered wholesalers and distributors SHALLe>A?UTOMatically submit reports of any

excessive purchases of controlled substances by licensed persons or firms located within this

state using the federal Drug Enforcement Administration guidelines to define excessive

purchases as set fortHUNDERTHEPROVISIONSOF&)56ECTIONf Ga. Code Ann. § 16-13-

37(a)(3) (registration can be suspended or revoked if the registrant has had its efederal

registration to manufacture, distribute, or dispense controlled substances suspended or revoKEDf

       173. Each Distributor Defendant has an affirmative duty under federal and Georgia law

to act as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid

drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must

MAINTAINeEFFECTIVECONTROLAGAINSTDIVERSIONOFPARTICULARCONTROLLEDSUBSTANCESINTOOTHERTHAN

LEGITIMATE MEDICAL SCIENTIFIC AND INDUSTRIAL CHANNELSf  86& ]  B  Georgia law

adopts and incorporates those requirements, as set out above. See also Ga. Code Ann. § 16-13-

37(a)(5) (registration can be suspended or revoked by the State Board of Pharmacy upon a

FINDING THAT THE REGISTRANT HAS efailed to maintain sufficient controls against diversion of

controlled substances INTOOTHERTHANLEGITIMATEMEDICALSCIENTIFICORINDUSTRIALCHANNELSf

       174. Federal regulations and Georgia law impose a non-delegable duty upon wholesale

DRUGDISTRIBUTORSTOeDESIGNANDOPERATEASYSTEMTODISCLOSETOTHEREGISTRANTSUSPICIOUSORDERSOF

controlled substances. The registrant [distributor] shall inform the Field Division Office of the

Administration in his area of suspicious orders when discovered by the registrant. Suspicious




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orders include orders of unusual size, orders deviating substantially from a normal pattern, and

ORDERSOFUNUSUALFREQUENCYf&)5] BSee also Ga. Comp. R. & Regs. 480-20-

  e(ACH REGISTRANT SHALL MAINTAIN RECORDS OF UNUSUAL ORDERS OF CONTROLLED SUBSTANCES

received by the registrant and shall inform the Office of the Director of the Georgia Drugs and

Narcotics Agency (GDNA) of unusual orders when discovered by the registrant. For purposes of

this section, an unusual order shall include orders of greatly increased quantity, orders deviating

substantiALLYFROMANORMALPATTERNANDORDERSOFHIGHLYABNORMALFREQUENCYf

        175. e6USPICIOUSORDERSfINCLUDEORDERSOFANUNUSUALSIZEORDERSOFUNUSUALFREQUENCY

or orders deviating substantially from a normal pattern. See 21 CFR § 1301.74(b). These criteria

are disjunctive and are not all inclusive. For example, if an order deviates substantially from a

normal pattern, the size of the order does not matter and the distributor should report the order as

suspicious. Likewise, a wholesale distributor need not wait for a normal pattern to develop over

time before determining whether a particular order is suspicious. The size of an order alone,

regardless of whether it deviates from a normal pattern, is enough to trigger the wholesale

DISTRIBUTORhS RESPONSIBILITY TO Report the order as suspicious. The determination of whether an

order is suspicious depends not only on the ordering patterns of the particular customer, but also

ON THE PATTERNS OF THE ENTIRETY OF THE WHOLESALE DISTRIBUTORhS CUSTOMER BASE AND THE PATTERNS

throughout the relevant segment of the wholesale distributor industry.

        176. In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders that were flagged as potentially

suspicious if, after conducting due diligence, the distributor can determine that the order is not

likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

 'RUG(NFhT$DMIN-ULY  Masters Pharmaceutical, Inc. v. Drug Enforcement




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Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, distributors must report all

flagged orders. Id.

          177. 7HELAWREGULATESTHESEPRESCRIPTIONDRUGSFORTHEPURPOSEOFPROVIDINGAeCLOSEDf

system intended to reduce the widespread diversion of these drugs out of legitimate

channels into the illicit market, while at the same time providing the legitimate drug industry

with a unified approach to narcotic and dangerous drug control.114

          178. Different entities supervise the discrete links in the chain that separate a consumer

FROM A CONTROLLED SUBSTANCE 6TATUTES AND REGULATIONS DEFINE EACH PARTICIPANThS ROLE AND

responsibilities.115

          179. As the DEA advised the Distributor Defendants in a letter to them dated September

27, 2006, wholesale DISTRIBUTORSAREeONEOFTHEKEYCOMPONENTSOFTHEDISTRIBUTIONCHAIN,FTHE

CLOSED SYSTEM IS TO FUNCTION PROPERLY b DISTRIBUTORS MUST BE VIGILANT IN DECIDING WHETHER A

prospective customer can be trusted to deliver controlled substances only for lawful purposes.

7HIS RESPONSIBILITY IS CRITICAL AS b THE ILLEGAL DISTRIBUTION OF CONTROLLED SUBSTANCES HAS A

SUBSTANTIALANDDETRIMENTALEFFECTONTHEHEALTHANDGENERALWELFAREOFTHE$MERICANPEOPLEf116



114
      See 1970 U.S.C.C.A.N. 4566, 4571-72.
115
   Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as
Amici Curiae in Support of Neither Party, (4FG8EF+;4E@ $A6I0.EH: A9TG7@<A(No. 15-1335) (D.C. Cir.
Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)dnow known as the Healthcare Distribution Alliance (HDA)dis a
national, not-for-PROFITTRADEASSOCIATIONTHATREPRESENTSTHENATIONhSPRIMARYFULL-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
McKesson Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug.
21, 2017). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
NACDS, Mission, https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).
116
    See /ETTERFROM-OSEPH75ANNAZZISI'EPUTY$SSISTANT$DMhR2FFICEOF'IVERSION&ONTROL'RUG(NFhT
$DMIN86'EPhTOF-USTICETO&ARDINAL+EALTH 6EPT>HEREINAFTER5ANNAZZISI/ETTER? e7HISLETTERIS
being sent to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to
distribute controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance


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            180. The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders.117

            181. The DEA sent a letter to each of the Distributor Defendants on September 27,

2006, warning that it would use its authority to revoke and suspend registrations when

appropriate. The letter expressly states that a distributor, in addition to reporting suspicious

ORDERSHASAeSTATUTORYRESPONSIBILITYTOEXERCISEDUEDILIGENCETOAVOIDFILLINGSUSPICIOUSORDERS

THATMIGHTBEDIVERTEDINTOOTHERTHANLEGITIMATEMEDICALSCIENTIFICANDINDUSTRIALCHANNELSf118

The letTER ALSO INSTRUCTS THAT eDISTRIBUTORS MUST BE VIGILANT IN DECIDING WHETHER A PROSPECTIVE

CUSTOMERCANBETRUSTEDTODELIVERCONTROLLEDSUBSTANCESONLYFORLAWFULPURPOSESf 119 The DEA

WARNS THAT eEVEN JUST ONE DISTRIBUTOR THAT USES ITS '($ REGISTRATION TO FAcilitate diversion can

CAUSEENORMOUSHARMf120

            182. The DEA sent a second letter to each of the Distributor Defendants on December

27, 2007.121 This letter reminds the Defendants of their statutory and regulatory duties to

eMAINTAINEFFECTIVECONTROLSAGAINSTDIVERSIONfANDeDESIGNANDOPERATEASYSTEMTODISCLOSETO

THEREGISTRANTSUSPICIOUSORDERSOFCONTROLLEDSUBSTANCESf122 The letter further explains:

                   The regulation also requires that the registrant inform the local DEA
            Division Office of suspicious orders when discovered by the registrant. Filing a

DISTRIBUTORSINVIEWOFTHEPRESCRIPTIONDRUGABUSEPROBLEMOURNATIONCURRENTLYFACESffiled in Cardinal Health,
Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
117
   See Brief for HDMA and NACDS, supra, 2016 WL 1321AT e>5?EGULATIONS . . . in place for more than 40
years require distributors to report suspicious orders of controlled substances to DEA based on information readily
AVAILABLETOTHEM EGAPHARMACYhSPLACEMENTOFUNUSUALLYFREQUENTORLARGEORDERSf
118
      Rannazzisi Letter, supra, at 2.
119
      Id. at 1.
120
      Id. at 2.
121
  See /ETTERFROM-OSEPH75ANNAZZISI'EPUTY$SSISTANT$DMhR2FFICEOF'IVERSION&ONTROL'RUG(NFhT$DMIN
86'EPhTOF-USTICETO&ARDINAL+EALTH 'ECFILEDINCardinal Health, Inc. v. Holder, No. 1:12-cv-
00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
122
      Id.



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   monthly report of completed transactions (e.g eEXCESSIVE PURCHASE REPORTf OR
   eHIGH UNITY PURCHASESf DOES NOT MEET THE REGULATORY REQUIREMENT TO REPORT
   suspicious orders. Registrants are reminded that their responsibility does not end
   merely with the filing of a suspicious order report. Registrants must conduct an
   independent analysis of suspicious orders prior to completing a sale to determine
   whether the controlled substances are likely to be diverted from legitimate
   channels. Reporting an order as suspicious will not absolve the registrant of
   responsibility if the registrant knew, or should have known, that the controlled
   substances were being diverted.

           The regulation specifically states that suspicious orders include orders of
   unusual size, orders deviating substantially from a normal pattern, and orders of
   an unusual frequency. These criteria are disjunctive and are not all inclusive. For
   example, if an order deviates substantially from a normal pattern, the size of the
   order does not matter and the order should be reported as suspicious. Likewise, a
   REGISTRANT NEED NOT WAIT FOR A eNORMAL PATTERNf TO DEVELOP OVER TIME BEFORE
   determining whether a particular order is suspicious. The size of an order alone,
   whether or not it deviates from a normal pattern, is enough to trigger the
   REGISTRANThSRESPONSIBILITYTOREPORTTHEORDERASSUSPICIOUS7HEDETERMINATIONOF
   whether an order is suspicious depends not only on the ordering patterns of the
   particular customer, but ALSOONTHEPATTERNSOFTHEREGISTRANThSCUSTOMERBASEAND
   the patterns throughout the segment of the regulated industry.

           Registrants that rely on rigid formulas to define whether an order is
   suspicious may be failing to detect suspicious orders. For example, a system that
   identifies orders as suspicious only if the total amount of a controlled substance
   ordered during one month exceeds the amount ordered the previous month by a
   certain percentage or more is insufficient. This system fails to identify orders
   placed by a pharmacy if the pharmacy placed unusually large orders from the
   beginning of its relationship with the distributor. Also, this system would not
   identify orders as suspicious if the order were solely for one highly abused
   controlled substance if the orders never grew substantially. Nevertheless, ordering
   one highly abused controlled substance and little or nothing else deviates from the
   normal pattern of what pharmacies generally order.

           When reporting an order as suspicious, registrants must be clear in their
   communication with DEA that the registrant is actually characterizing an order as
   suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
   eEXCESSIVE PURCHASESf DO NOT COMPLY WITH THE REQUIREMENT TO REPORT SUSPIcious
   ORDERSEVENIFTHEREGISTRANTCALLSSUCHREPORTSeSUSPICIOUSORDERREPORTSf

           Lastly, registrants that routinely report suspicious orders, yet fill these
   orders without first determining that order is not being diverted into other than
   legitimate medical, scientific, and industrial channels, may be failing to maintain
   effective controls against diversion. Failure to maintain effective controls against
   diversion is inconsistent with the public interest as that term is used in 21 USC



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            823 and 824, and maYRESULTINTHEREVOCATIONOFTHEREGISTRANThS'($&ERTIFICATE
            of Registration.123

Finally, the DEA letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

REPORT SUSPICIOUS ORDERS AND eSOME CRITERIA TO USE WHEN DETERMINING WHETHER AN ORDER IS

SUSPICIOUSf124

            183. The Distributor Defendants ADMITTHATTHEYeHAVENOTONLYSTATUTORYANDREGULATORY

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake

SUCHEFFORTSASRESPONSIBLEMEMBERSOFSOCIETYf125

            184. The Distributor Defendants knew they were required to monitor, detect and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that

DISTRIBUTORS ARE e>A?T THE CENTER OF A SOPHISTICATED SUPPLY CHAINf AND THEREFORE eARE UNIQUELY

situated to perform due diligence in order to help support the security of the controlled

substances they deliver to their customers." The guidelines set forth recommended steps in the

eDUE DILIGENCEf PROCESS AND NOTE IN PARTICULAR ,F AN ORDER MEETS OR EXCEEDS A DISTRIBUTORhS

THRESHOLD AS DEFINED IN THE DISTRIBUTORhS monitoring system, or the distributor otherwise

characterizes it as an order of interest, the distributor should not ship to the customer, in

fulfillment of that order, any units of the specific drug code product as to which the order met or




123
      Id.
124
      Id.
125
      See Brief of HDMA, supra, 2012 WL 1637016, at *2.



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exceeded a threshold or as to which the order was otherwise characterized as an order of

interest.126

        185. Each of the Distributor Defendants sold prescription opioids, including

HYDROCODONE ANDOR OXYCODONE TO RETAILERS IN 3LAINTIFFhS &OMMUNITY ANDOR TO RETAILERS FROM

whicH'EFENDANTSKNEWPRESCRIPTIONOPIOIDSWERELIKELYTOBEDIVERTEDTO3LAINTIFFhS&OMMUNITY

        186. Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

prescription opioids.

        187. Each Distributor Defendant owes a duty under federal and state law to investigate

and refuse suspicious orders of prescription opioids.

        188. Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids.

        189. Each Distributor Defendant owes a duty under federal and state law to prevent the

DIVERSIONOFPRESCRIPTIONOPIOIDSINTOILLICITMARKETSINTHE6TATEAND3LAINTIFFhS&OMMUNITY

        190. The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

        191. The foreseeable harm resulting from the diversion of prescription opioids for

NONMEDICALPURPOSESISABUSEADDICTIONMORBIDITYANDMORTALITYIN3LAINTIFFhS&OMMUNITYAND

the damages caused thereby.

               2. The Distributor Defendants Breached Their Duties.

        192. Because distributors handle such large volumes of controlled substances and are the

first major line of defense in the movement of legal pharmaceutical controlled substances from

legitimate channels into the illicit market, it is incumbent on distributors to maintain effective
126
    Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.
12- '&&IR0AR'OC1O $PPhX%



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controls to prevent diversion of controlled substances. Should a distributor deviate from these

checks and balances, the closed system collapses.127

         193. The sheer volume of prescription opioids distributed to phaRMACIESINTHE3LAINTIFFhS

Community and/or to pharmacies from which the Distributor Defendants knew the opioids were

LIKELY TO BE DIVERTED INTO 3LAINTIFFhS &OMMUNITY IS EXCESSIVE FOR THE MEDICAL NEED OF THE

community and facially suspicious. Some red flags are so obvious that no one who engages in

the legitimate distribution of controlled substances can reasonably claim ignorance of them.128

         194. 7HE 'ISTRIBUTOR 'EFENDANTS FAILED TO REPORT eSUSPICIOUS ORDERSf ORIGINATING FROM

3LAINTIFFhS &OMMUNITY OR THAT THE 'Istributor Defendants knew were likely to be diverted to

3LAINTIFFhS &OMMUNITY TO THE FEDERAL AND STATE AUTHORITIES INCLUDING THE '($ ANDOR THE STATE

Board of Pharmacy.

         195. The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern and/or orders of unusual frequency in

3LAINTIFFhS&OMMUNITYANDORINAREASFROMWHICHTHE'ISTRIBUTOR'EFENDANTSKNEWOPIOIDSWERE

LIKELYTOBEDIVERTEDTO3LAINTIFFhS&OMMUNITY

         196. The Distributor Defendants breached their duty to monitor, detect, investigate,

REFUSE AND REPORT SUSPICIOUS ORDERS OF PRESCRIPTION OPIATES ORIGINATING FROM 3LAINTIFFhS

Community and/or in areas from which the Distributor Defendants knew opioids were likely to

be diverted to PlaintifFhS&OMMUNITY




127
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
2012), ECF No. 14-2.
128
   Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C.,
d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).



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           197. The Distributor Defendants breached their duty to maintain effective controls

against diversion of prescription opiates into other than legitimate medical, scientific and

industrial channels.

           198. The Distributor Defendants breached their duty tOeDESIGNANDOPERATEASYSTEMTO

DISCLOSE TO THE REGISTRANT SUSPICIOUS ORDERS OF CONTROLLED SUBSTANCESf AND FAILED TO INFORM THE

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law.

           199. The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels.129

           200. The federal and state laws at issue here are public safety laws.

           201. 7HE 'ISTRIBUTOR 'EFENDANTSh VIOLATIONS OF PUBLIC SAFETY STATUTES CONSTITUTE PRIMA

facie evidence of negligence under State law.

           202. The Distributor Defendants supplied prescription opioids to obviously suspicious

physicians and pharmacies, enabled the illegal diversion of opioids, aided criminal activity and

disseminated massive quantities of prescription opioids into the black market.

           203. The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal and state law, which

require Distributor Defendants to legally acquire and maintain a license to distribute prescription

opiates.




129
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).



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           204. The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

           205. 7HE 'ISTRIBUTOR 'EFENDANTSh REPEATED SHIPMENTS OF SUSPICIOUS ORDERS OVER AN

extended period of time, in violation of public safety statutes and without reporting the

suspicious orders to the relevant authorities demonstrate wanton, willful or reckless conduct or

criminal indifference to civil obligations affecting the rights of others and justifies an award of

punitive damages.

               3. The Distributor Defendants Have Sought to Avoid and Have Misrepresented
                  Their Compliance with Their Legal Duties.

           206. The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under state and federal law and have wrongfully and repeatedly disavowed

those duties in an effort to mislead regulators and the public regarding the Distributor

'EFENDANTShCOMPLIANCEWITHTHEIRLEGALDUTIES

           207. The Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association the Distributor

Defendants run, and the NACDS submitted amicus briefs regarding the legal duty of wholesale

distributors. Inaccurately denying the legal duties that the wholesale drug industry has been

tragically recalcitrant in performing, they argued as follows:

               a. The Associations complained that THEe'($HASREQUIREDDISTRIBUTORSNOTONLYTO
                  report suspicious orders, but to investigate orders (e.g., by interrogating
                  pharmacies and physicians) and take action to halt suspicious orders before they
                  AREFILLEDf130

               b. 7HE$SSOCIATIONSARGUEDTHATe'($NOw appears to have changed its position to
                  require that distributors not only report suspicious orders, but investigate and halt
130
      Brief for HDMA and NACDS, supra, 2016 WL 1321983, at *4c5.



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                       suspicious orders. Such a change in agency position must be accompanied by an
                       acknowledgment of the change and a reasoned explanation for it. In other words,
                       an agency must display awareness that it is changing position and show that there
                       are good reasons for the new policy. This is especially important here, because
                       imposing intrusive obligation on distributors threatens to disrupt patient access to
                       NEEDEDPRESCRIPTIONMEDICATIONSf131

                    c. 7HE $SSOCIATIONS ALLEGED INACCURATELY THAT NOTHING eREQUIRES DISTRIBUTORS TO
                       investigate the legitimacy of orders, or to halt shipment of any orders deemed to
                       BESUSPICIOUSf132

                    d. The Association complAINEDTHATTHEPURPORTEDePRACTICALINFEASIBILITYOFREQUIRING
                       distributors to investigate and halt suspicious orders (as well as report them)
                       underscores the importance of ensuring that DEA has complied with the APA
                       before attempting to impose such dutiesf133

                    e. 7HE $SSOCIATIONS ALLEGED INACCURATELY THAT e'($hS REGULATIONS >? SENSIBLY
                       impose[] a duty on distributors simply to report suspicious orders, but left it to
                       '($ANDITSAGENTSTOINVESTIGATEANDHALTSUSPICIOUSORDERSf134

                    f. Also inaccurately, the AssocIATIONSARGUEDTHATe>I?MPOSINGADUTYONDISTRIBUTORS
                       c which lack the patient information and the necessary medical expertise c to
                       investigate and halt orders may force distributors to take a shot-in-the-dark
                       APPROACHTOCOMPLYINGWITH'($hSDEMANDSf135

            208. The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.136

            209. The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

131
      Id. at *8 (citations and quotation marks omitted).
132
      Id. at *14.
133
      Id. at *22.
134
      Id. at *24c25.
135
      Id. at 26.
136
   See Brief of HDMA, supra:/AT ARGUINGTHEWHOLESALEDISTRIBUTORINDUSTRYeDOESNOTKNOW
THERULESOFTHEROADBECAUSEfTHEYCLAIM INACCURATELYTHATTHEe'($HASNOTADEQUATELYEXPLAINEDTHEMf



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+;4E@  $A6 I EH: A9TG 7@<A, 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court

upheld the revocation of Master PharmaceuticALhSLICENSEANDDETERMINEDTHAT'($REGULATIONS

REQUIRE THAT IN ADDITION TO REPORTING SUSPICIOUS ORDERS DISTRIBUTORS MUST eDECLINE TO SHIP THE

ORDERORCONDUCTSOMEgDUEDILIGENCEhANDdif it is able to determine that the order is not likely

to be diverted into illegal channelsdSHIPTHEORDERfId. at 212. Masters Pharmaceutical was in

violation of legal requirements because it failed to conduct necessary investigations and filled

suspicious orders. Id. at 218c$DISTRIBUTORhSINVESTIGATIONMUSTdispel all the red flags

giving rise to suspicious circumstance prior to shipping a suspicious order. Id. at 226. The Circuit

Court also rejected the argument made by the HDMA and NACDS (quoted above) that,

allegedly, the DEA had created or imposed new duties. Id. at 220.

         210. Wholesale Distributor McKesson recently has been forced to specifically admit to

breaches of its duties to monitor, report and prevent suspicious orders. Pursuant to an

$DMINISTRATIVE 0EMORANDUM OF $GREEMENT e $GREEMENTf BETWEEN 0C.Esson and the

DEA in January 2017, McKesson admitted that, at various times during the period from January

THROUGHTHEEFFECTIVEDATEOFTHE$GREEMENT -ANUARYITeDIDNOTIDENTIFYOR

report to [the] DEA certain orders placed by certain pharmacies which should have been detected

BY0C.ESSONASSUSPICIOUSBASEDONTHEGUIDANCECONTAINEDINTHE'($/ETTERSf137 Further, the

 $GREEMENT SPECIFICALLY FINDS THAT 0C.ESSON eDISTRIBUTED CONTROLLED SUBSTANCES TO

pharmacies even though those McKesson Distribution Centers should have known that the

pharmacists practicing within those pharmacies had failed to fulfill their corresponding

responsibility to ensure that controlled substances were dispensed pursuant to prescriptions

issued for legitimate medical purposes by practitioners acting in the usual course of their

137
   See $DMINISTRATIVE0EMORANDUMOF$GREEMENTBETWEENTHE86'EPhTOF-USTICETHE'RUG(NFhT$DMINAND
the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.



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professional practice, as required by 21 C.F.R §  Af138 McKesson admitted that, during

THISTIMEPERIODITeFAILEDTOMAINTAINEFFECTIVECONTROLSAGAINSTDIVERSIONOFPARTICULARcontrolled

substances into other than legitimate medical, scientific and industrial channels by sales to

CERTAIN OF ITS CUSTOMERS IN VIOLATION OF THE &6$ AND THE &6$hS IMPLEMENTING REGULATIONS 

C.F.R. Part 1300 et seq., at the McKesson Distribution Centers,f INCLUDING THE 0C.ESSON

'ISTRIBUTION &ENTER LOCATED IN e:ASHINGTON &OURTHOUSE 2HIOf 139 Due to these violations,

McKesson agreed that its authority to distribute controlled substances from the Washington

Courthouse, Ohio facility (among other facilities) would be partially suspended.140

            211. The 2017 Agreement followed a 2008 Settlement Agreement in which McKesson

also admitted failure to report suspicious orders of controlled substances to the DEA.141 In the

6ETTLEMENT$GREEMENT0C.ESSONeRECOGNIZEDTHATITHADADUTYTOMONITORITSSALESOFALL

controlled substances and report suspicious oRDERSTO'($fBUTHADFAILEDTODOSO142 The 2017

$GREEMENT DOCUMENTS THAT 0C.ESSON CONTINUED TO BREACH ITS ADMITTED DUTIES BY eFAIL>ING? TO

properly monitor its sales of controlled substances and/or report suspicious orders to DEA, in

accordance with McKESSONhS OBLIGATIONSf143 As a result of these violations, McKesson was

fined and required to pay to the United States $150,000,000.144



138
      Id. at 4.
139
      Id.
140
      Id. at 6.
141
      Id. at 4.
142
      Id.
143
   Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
[hereinafter 2017 SettlemeNT$GREEMENTAND5ELEASE? e0C.ESSONACKNOWLEDGESTHATATVARIOUSTIMESDURINGTHE
Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
FORTHINTHE02$fHTTPSWWWJUSTICEGOVOPAPRESS-release/file/928471/download.
144
      See 2017 Settlement Agreement and Release, supra, at 6.



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            212. Even though McKesson had been sanctioned in 2008 for failure to comply with its

legal obligations regarding controlling diversion and reporting suspicious orders, and even

though McKesson had specifically agreed in 2008 that it would no longer violate those

obligations, McKesson continued to violate the laws in contrast to its written agreement not to do

so.

            213. Because of the DisTRIBUTOR'EFENDANTShREFUSALTOABIDEBYTHEIRLEGALOBLIGATIONS

the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

in May 2014, the United States Department of Justice, Office of the Inspector General,

Evaluation and Inspections Divisions reported that the DEA issued final decisions in 178

registrant actions between 2008 and 2012.145 The Office of Administrative Law Judges issued a

recommended decision in a total of 117 registrant actions before the DEA issued its final

decision, including 76 actions involving orders to show cause and 41 actions involving

immediate suspension orders.146 These actions include the following:

               a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                  CENTER e2RLANDO)ACILITYfALLEGINGFAILURETOMAINTAINEFFECTIVECONTROLSAGAINST
                  diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
                  into a settlement that resulted in the suspension of its DEA registration;

               b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Auburn, Washington Distribution
                  &ENTER e$UBURN )ACILITYf FOR FAILURE TO MAINTAIN EFFECTIVE CONTROLs against
                  diversion of hydrocodone;

               c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the Cardinal Health Lakeland, Florida Distribution



145
  Evaluation and Inspections Div., Office of the InSPECTOR *EN 86 'EPhT OF -USTICE The Drug Enforcement
7@<A<FGE4G<BATF7=H7<64G<BAB9-8:<FGE4AG6G<BAF 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
146
      Id.



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         &ENTER e/AKELAND )ACILITYf FOR FAILURE TO MAINTAIN EFFECTIVE CONTROLS against
         diversion of hydrocodone;

      d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
         Suspension Order against the Cardinal Health Swedesboro, New Jersey
         'ISTRIBUTION &ENTER e6WEDESBORO )ACILITYf FOR FAILURE TO MAINTAIN EFFECTIVE
         controls against diversion of hydrocodone;

      e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
         Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
          e6TAFFORD)ACILITYfFORFAILURETOMAINTAINEFFECTIVECONTROLSAGAINSTDIVERSIONOF
         hydrocodone;

      f. On May 2, 2008, McKesson Corporation entered into an Administrative
         Memorandum of Agreement e02$fWITHTHE'($WHICHPROVIDEDTHAT
         0C.ESSONWOULDeMAINTAINACOMPLIANCEPROGRAMDESIGNEDTODETECTANDPREVENT
         the diversion of controlled substances, inform DEA of suspicious orders required
         by 21 C.F.R. § 1301.74(b), and follow the procedures established by its
         Controlled Substance Monitoring Program;f

      g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
         Agreement and Administrative Memorandum of Agreement with the DEA related
         to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford
         Facility. The document also referenced allegations by the DEA that Cardinal
         failed to maintain effective controls against the diversion of controlled substances
         at its distribution facilities located in McDonough, GeORGIA e0C'ONOUGH
         )ACILITYf  9ALENCIA &ALIFORNIA e9ALENCIA )ACILITYf  AND 'ENVER &OLORADO
          e'ENVER)ACILITYf

      h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
         Suspension Order against the Lakeland Facility for failure to maintain effective
         controls against diversion of oxycodone;

      i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
         DEA to resolve the civil penalty portion of the administrative action taken against
         the Lakeland Facility; and

      j. On January 5, 2017, McKesson Corporation entered into an Administrative
         Memorandum Agreement with the DEA wherein it agreed to pay a $150 million
         civil penalty for violation of the 2008 MOA as well as failure to identify and
         report suspicious orders at its facilities in Aurora, Colorado; Aurora, Illinois;
         Delran, New Jersey; LaCrosse, Wisconsin; Lakeland, Florida; Landover,


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                 Maryland; La Vista, Nebraska; Livonia, Michigan; Livonia, Michigan; Methuan,
                 Massachusetts; Santa Fe Springs, California; Washington Courthouse, Ohio; and
                 West Sacramento, California.

         214. Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

PRESSUREDTHE86'EPARTMENTOF-USTICETOeHALTfPROSECUTIONSANDLOBBIED&ONGRESSTOSTRIPTHE

'($OFITSABILITYTOIMMEDIATELYSUSPENDDISTRIBUTORREGISTRATIONS7HERESULTWASAeSHARPDROP

IN ENFORCEMENT ACTIONSf AND THE PASSAGE OF THE e(NSURING 3ATIENT $CCESS AND (FFECTIVE 'RUG

Enforcement Act,f WHICH IRONICALLY RAISED THE BURDEN FOR THE '($ TO REVOKE A DISTRIBUTORhS

LICENSEFROMeIMMINENTHARMfTOeIMMEDIATEHARMfANDPROVIDEDTHEINDUSTRYTHERIGHTTOeCUREf

any violations of law before the DEA can issue a suspension order.147

         215. In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

         216. )OREXAMPLEA&ARDINAL+EALTHEXECUTIVECLAIMEDTHATITUSESeADVANCEDANALYTICSf

to monitor its supply chain and represented that it was beING eAS EFFECTIVE AND EFFICIENT AS




147
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre,  :8AGQ28#47)B
'8478EF;<CR<A21@<7!?BB7B9+4<A+<??F, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.



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POSSIBLEINCONSTANTLYMONITORINGIDENTIFYINGANDELIMINATINGANYOUTSIDECRIMINALACTIVITYf 148

*IVENTHESALESVOLUMESANDTHECOMPANYhSHISTORYOFVIOLATIONSTHISEXECUTIVEWASEITHERNOT

telling the truth or, if Cardinal Health had such a system, it ignored the results.

         217. 6IMILARLY 'EFENDANT 0C.ESSON PUBLICLY STATED THAT IT HAS A eBEST-in-class

CONTROLLED SUBSTANCE MONITORING PROGRAM TO HELP IDENTIFY SUSPICIOUS ORDERSf AND CLAIMED IT IS

eDEEPLY PASSIONATE ABOUT CURBING THE OPIOID EPIDEMIC IN OUR COUNTRYf149 Again, given

0C.ESSONhSHISTORICALCONDUCTTHISSTATEMENTISEITHERFALSEORTHECOMPANYIGNOREDOUTPUTSOF

the monitoring program.

         218. By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that the Plaintiff now asserts. The Plaintiff did not know of the

EXISTENCEORSCOPEOF'ISTRIBUTOR'EFENDANTShINDUSTRY-wide fraud and could not have acquired

such knowledge earlier through the exercise of reasonable diligence.

         219. Meanwhile, the opioid epidemic rages unabated in the Nation, the State and

3LAINTIFFhS&OMMUNITY

         220. The epidemic still rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants,

pay fines as a cost of doing business in an industry that generates billions of dollars in annual

revenue. They hold multiple DEA registration numbers, and when the DEA suspends one

facility, they simply ship from another facility.
148
   Lenny Bernstein, et al., #BJEH:F$AG8A7879BE+4G<8AGF A7870C<AG;8#4A7FB9$??8:4?0F8EFQ)B*A824F
Doing Their Job,R Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
8ff7-7b6c1998b7a0_story.html.
149
    Scott Higham, et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.



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       221. 3LAINTIFFhS RACKETEERING ALLEGATIONS BELOW ALLEGE IN GREATER DETAIL THE WRONGFUL

actions and omissions of the Distributor Defendants, which have caused the diversion of opioids

and have been a substantial contributing factor to and/or proximate cause of the opioid crisis.

       222. The Distributor Defendants have abandoned their duties imposed under federal and

state law, taken advantage of a lack of DEA law enforcement and abused the privilege of

DISTRIBUTINGCONTROLLEDSUBSTANCESINTHE6TATEAND3LAINTIFFhS&OMMUNITY

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DIVERSION AND MONITOR, REPORT AND PREVENT SUSPICIOUS ORDERS.

       223. The same legal duties to prevent diversion and to monitor, report and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Manufacturer Defendants under federal and Georgia law.

       224. Under Georgia and federal law, the Manufacturer Defendants were required to

comply with substantially the same licensing and permitting requirements as the Distributor

Defendants and the same rules regarding prevention of diversion and reporting suspicious orders,

as set out above. See, e.g., Ga. Comp. R. & Regs. 480-7-.02; Ga. Comp. R. & Regs. 480-20-

.02(1); Ga. Code Ann. § 16-13-35; Ga. Code Ann. § 16-13-36; Ga. Code Ann. § 16-13-37(a);

Ga. Code Ann. § 16-13-39.

       225. Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances like prescription opioids.

See 21 U.S.C. § 823(a). A requirement of such registration is the:

       maintenance of effective controls against diversion of particular controlled
       substances and any controlled substance in schedule I or II compounded
       therefrom into other than legitimate medical, scientific, research, or industrial
       channels, by limiting the importation and bulk manufacture of such controlled
       substances to a number of establishments which can produce an adequate and
       uninterrupted supply of these substances under adequately competitive conditions
       for legitimate medical, scientific, research, and industrial purposes...



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21 U.S.C. § 823(a)(1).

       226. $DDITIONALLY AS eREGISTRANTSf UNDER 6ECtion 823, the Manufacturer Defendants

were also required to monitor, report and prevent suspicious orders of controlled substances:

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,
       orders deviating substantially from a normal pattern, and orders of unusual
       frequency.

21 C.F.R. § 1301.74. See also &)5] e$NYTERMUSEDINTHISPARTSHALLHAVETHE

DEFINITIONSETFORTHINSECTIONOFTHE$CT 86&ORPARTOFTHISCHAPTERf 

&)5] e5EGISTRANTMEANSANY person who is registered pursuant to either section 303

or section 1008 of the Act (21 U.S.C. 823 or 958).f) Like the Distributor Defendants, the

Manufacturer Defendants breached these duties.

       227. The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report and prevent suspicious orders and to prevent diversion. The

0ANUFACTURER'EFENDANTSENGAGEDINTHEPRACTICEOFPAYINGeCHARGEBACKSfTOOPIOIDDISTRIBUtors.

A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

MANUFACTURERhS PRODUCT AT A PRICE BELOW A SPECIFIED RATE $FTER A DISTRIBUTOR SELLS A

MANUFACTURERhSPRODUCTTOAPHARMACYFOREXAMPLETHEDISTRIBUTOR requests a chargeback from

the manufacturer and, in exchange for the payment, the distributor identifies to the manufacturer

the product, volume and the pharmacy to which it sold the product. Thus, the Manufacturer

Defendants knew c just as the Distributor Defendants knew c the volume, frequency and pattern

of opioid orders being placed and filled. The Manufacturer Defendants built receipt of this

information into the payment structure for the opioids provided to the opioid distributors.




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            228. Federal statutes and regulations are clear: just like opioid distributors, the law

REQUIRESOPIOIDMANUFACTURERSTOeDESIGNANDOPERATEASYSTEMTODISCLOSESUSPICIOUSORDERS

OF CONTROLLED SUBSTANCESf AND TO MAINTAIN eEFFECTIVE CONTROLS AGAINST DIVERSIONf  &)5 §

1301.74; 21 U.S.C. § 823(a)(1). Georgia law also requires manufacturers to maintain sufficient

controls against diversion. See., e.g., Ga. Code Ann. § 16-13-36(a)(1); Ga. Code Ann. § 16-13-

37(a)(5); Ga. Comp. R. & Regs. 480-7-.03(7)(b) (minimum requirements for storage and

handling of prescription drugs and for establishment and maintenance of prescription drug

distribution records includes protections against diversion).

            229. The Department of Justice recently has confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements.150

            230. In the press release accompanying the settlement, the Department of Justice stated:

0ALLINCKRODT eDID NOT MEET ITS OBLIGATIONS TO DETECT AND NOTIFY '($ OF SUSPICIOUS ORDERS OF

controlled substances such as oxycodone, the abuse of which is part of the current opioid

epidemic. These suspicious order monitoring requirements exist to prevent excessive sales of

controlled substances, like oxycodone . . . 0ALLINCKRODThSACTIONSANDOMISSIONSFORMEDALINKIN

the chain of supply that resulted in millions of oxycodone pills being sold on the street. . . .

Manufacturers and distributors have a crucial responsibility to ensure that controlled substances

do not get into the wrong hands[.]f151


150
   See 3RESS5ELEASE86'EPhTOF-USTICEMallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders.
151
      Id.



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            231. The settlement resolved, inter alia, governmenthS ALLEGATIONS THAT e0ALLINCKRODT

failed to design and implement aNEFFECTIVESYSTEMTODETECTANDREPORTgSUSPICIOUSORDERShFOR

controlled substances c orders that are unusual in their frequency, size, or other patterns . . . [and]

Mallinckrodt supplied distributors, and the distributors then supplied various U.S. pharmacies

and pain clinics, an increasingly excessive quantity of oxycodone pills without notifying DEA of

THESESUSPICIOUSORDERSf152

            232. 7HE 0EMORANDUM OF $GREEMENT 0ALLINCKRODT ENTERED INTO e 0ALLINCKRODT

02$f AVERS e>A?S A REGISTRANT UNDER THE &6$ 0ALLinckrodt had a responsibility to maintain

effective controls against diversion, including a requirement that it review and monitor these

SALESANDREPORTSUSPICIOUSORDERSTO'($f153

            233. 7HE  0ALLINCKRODT 02$ FURTHER DETAILS THE '($hS ALLEGATIONS REGARDING

0ALLINCKRODThSFAILURESTOFULFILLITSLEGALDUTIESASANOPIOIDMANUFACTURER

            With respect to its distribution of oxycodone and hydrocodone products,
            0ALLINCKRODThS ALLEGED FAILURE TO DISTRIBUTE THESE CONTROLLED SUBSTANCES IN A
            manner authorized by its reGISTRATIONAND0ALLINCKRODThSALLEGEDFAILURETOOPERATE
            an effective suspicious order monitoring system and to report suspicious orders to
            the DEA when discovered as required by and in violation of 21 C.F.R. §
            1301.74(b). The above includes, but is not liMITED TO 0ALLINCKRODThS ALLEGED
            failure to:
                        i. conduct adequate due diligence of its customers;
                       ii. detect and report to the DEA orders of unusual size and frequency;
                      iii. detect and report to the DEA orders deviating substantially from
                           normal patterns including, but not limited to, those identified in
                           letters from the DEA Deputy Assistant Administrator, Office of
                           Diversion Control, to registrants dated September 27, 2006 and
                           December 27, 2007:


152
      Id.
153
    Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
https://www.justice.gov/usao-edmi/press-release/file/986026/dOWNLOAD e0ALLINCKRODT02$f



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                              1. orders that resulted in a disproportionate amount of a
                                 substance which is most often abused going to a particular
                                 geographic region where there was known diversion,
                              2. orders that purchased a disproportionate amount of a
                                 substance which is most often abused compared to other
                                 products, and
                              3. orders from downstream customers to distributors who
                                 were purchasing from multiple different distributors, of
                                 which Mallinckrodt was aware;
                      iv. USE eCHARGEBACKf INFORMATION FROM ITS DISTRIBUTORS TO EVALUATE
                          suspicious orders. Chargebacks include downstream purchasing
                          information tied to certain discounts, providing Mallinckrodt with
                          data on buying patterns for Mallinckrodt products; and
                       v. take sufficient action to prevent recurrence of diversion by
                          downstream customers after receiving concrete information of
                          diversion of Mallinckrodt product by those downstream
                          customers.154

            234. 0ALLINCKRODTAGREEDTHATITSeSYSTEMTOMONITORANDDETECTSUSPICIOUSORDERSDIDNOT

meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27, AND'ECEMBERf0ALLINCKRODTFURTHER

AGREED THAT IT eRECOGNIZES THE IMPORTANCE OF THE PREVENTION OF DIVERSION OF THE CONTROLLED

SUBSTANCES THEY MANUFACTUREf AND WOULD eDESIGN AND OPERATE A SYSTEM THAT MEETS THE

requirements of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction

information to identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt

agrees to notify DEA of any diversion and/or suspicious circumstances involving any

Mallinckrodt conTROLLEDSUBSTANCESTHAT0ALLINCKRODTDISCOVERSf155




154
      2017 Mallinckrodt MOA at p. 2-3.
155
      Id. at 3-4.



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            235. 0ALLINCKRODT ACKNOWLEDGED THAT e>A?S PART OF THEIR BUSINESS MODEL 0ALLINCKRODT

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

CONTROLLEDSUBSTANCESTO gDOWNSTREAMhREGISTRANTSf0ALLINCKRODTAGREEDTHATFROMTHISDATAIT

WOULD eREPORT TO THE '($ WHEN 0ALLINCKRODT CONCLUDES THAT THE CHARGEBACK DATA OR OTHER

informATIONINDICATESTHATADOWNSTREAMREGISTRANTPOSESARISKOFDIVERSIONf156

            236. The same duties federal law imposed on Mallinckrodt were imposed upon all

Manufacturer Defendants.

            237. 7HE SAME BUSINESS PRACTICES 0ALLINCKRODT UTILIZED REGARDING eCHARGE BACKSf AND

receipt and review of data from opioid distributors as to orders of opioids were utilized industry-

wide among opioid manufacturers and distributors, including, upon information and belief, the

other Manufacturer Defendants.

            238. Through, inter alia, the chargeback data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

            239. The Manufacturer Defendants failed to monitor, report and halt suspicious orders

of opioids as required by federal law.

            240. The Manufacturer DefENDANTShFAILURESTOMONITORREPORTANDHALTSUSPICIOUSORDERS

of opioids were intentional and unlawful.

            241. The Manufacturer Defendants have misrepresented their compliance with federal

law.

            242. The Manufacturer Defendants enabled the supply of prescription opioids to

obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided


156
      Id. at p.5.



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criminal activity and disseminated massive quantities of prescription opioids into the black

market.

          243. 3LAINTIFFhS RACKETEERING ALLEGATIONS BELOW ALLEGE in greater detail the wrongful

actions and omissions of the Manufacturer Defendants, which have caused the diversion of

opioids and have been a substantial contributing factor to and/or proximate cause of the opioid

crisis.

          244. 7HE 0ANUFACTURER 'EFENDANTSh ACTions and omissions in failing to effectively

prevent diversion and failing to monitor, report and prevent suspicious orders have enabled the

UNLAWFULDIVERSIONOFOPIOIDSINTO3LAINTIFFhS&OMMUNITY

E.  ((-,J.(&0 .&)(.-(+",) &!&.-#,
CAUSED THE HARM ALLEGED HEREIN AND SUBSTANTIAL DAMAGES.

          245. $S THE 0ANUFACTURER 'EFENDANTSh EFFORTS TO EXPAND THE MARKET FOR OPIOIDS HAVE

increased, so have the rates of prescription and sale of their products d and the rates of opioid-

related substance abuse, hospitalization and death among the people of the State and the

3LAINTIFFhS &OMMUNITY 7HE 'ISTRIBUTOR 'EFENDANTS HAVE CONTINUED TO UNLAWFULLY SHIP THESE

MASSIVE QUANTITIES OF OPIOIDS INTO COMMUNITIES LIKE THE 3LAINTIFFhS &OMMUNITY FUELING THE

epidemic.

          246. 7HERE IS A ePARALLEL RELATIONSHIP BETWEEN THE AVAILABILITY OF PRESCRIPTION OPIOID

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

ASSOCIATEDADVERSEOUTCOMESf157

          247. Opioid analgesics are widely diverted and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.158


157
   See Dart, et al., supra.
158
   See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic PainPMisconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).


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           248. 7HEEPIDEMICISeDIRECTLYRELATEDTOTHEINCREASINGLYWIDESPREADMISUSEOFPOWERFUL

OPIOIDPAINMEDICATIONSf159

           249. The increased abuse of prescription painkillers, along with growing sales, has

contributed to a large number of overdoses and deaths.160

           250. $SSHOWNABOVETHEOPIOIDEPIDEMICHASESCALATEDIN3LAINTIFFhS&OMMUNITYWITH

devastating effects: substantial opiate-related substance abuse, hospitalization and death that

MIRRORS'EFENDANTShINCREASEDDISTRIBUTIONOFOPIATES

           251. Because of the well-established relationship between the use of prescription opiates

and the use of non-prescription opioids, like heroin, the massive distribution of opioids to

3LAINTIFFhS &OMMUNITY AND AREAS FROM WHICH SUCH OPIOIDS ARE BEING DIVERTED INTO 3LAINTIFFhS

Community has resulted in the Defendant-caused opioid epidemic including heroin addiction,

abuse and death.

           252. Prescription opioid abuse, addiction, morbidity and mortality are hazards to public

HEALTHANDSAFETYINTHE6TATEANDIN3LAINTIFFhS&OMMUNITY

           253. Heroin abuse, addiction, morbidity and mortality are hazards to public health and

SAFETYINTHE6TATEANDIN3LAINTIFFhS&OMMUNITY

           254. Defendants repeatedly and purposefully breached their duties under state and

federal law, and such breaches are direct and proximate causes of and/or substantial factors

leading to the widespread diversion of prescription opioids for nonmedical purposes into the

PlaintiffhS&OMMUNITY

           255. The unlawful diversion of prescription opioids is a direct and proximate cause of

and/or substantial factor leading to the opioid epidemic, prescription opioid abuse, addiction,

159
      See Califf et al., supra .
160
      See 3RESS5ELEASE&TRSFOR'ISEASE&ONTROLAND3REVENTION86'EPhTOF+EALTHAND+UMAN6ERVSsupra.



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MORBIDITYANDMORTALITYINTHE6TATEAND3LAINTIFFhS&OMMUNITYThis diversion and the epidemic

AREDIRECTCAUSESOFFORESEEABLEHARMSTHE3LAINTIFFAND3LAINTIFFhS&OMMUNITYHAVEINCURRED

           256. 'EFENDANTShINTENTIONALANDORUNLAWFULCONDUCTRESULTEDINDIRECTANDFORESEEABLE

past and continuing economic damages for which Plaintiff seeks relief, as alleged herein.

3LAINTIFF ALSO SEEKS THE MEANS TO ABATE THE EPIDEMIC CREATED BY 'EFENDANTSh WRONGFUL ANDOR

unlawful conduct.

           257. Plaintiff seeks economic damages from the Defendants as reimbursement for the

costs associated with past efforts to eliminate the hazards to public health and safety.

           258. Plaintiff seeks economic damages from the Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.

           259. To eliminate the hazard to public health and safety and abate the public nuisance, a

eMULTIFACETEDCOLLABORATIVEPUBLICHEALTHANDLAWENFORCEMENTAPPROACHISURGENTLYNEEDEDf161

           260. A comprehensive response to this crisis must focus on preventing new cases of

opioid addiction, identifying opioid-addicted individuals early and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain.162

           261. These community-based problems require community-based solutions that

eBUDGETARYCONSTRAINTSATTHESTATEAND)EDERALLEVELSfHAVELIMITED 163




161
      See Rudd et al., supra, at 1145.
162
   See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.
163
    See 2FFICEOF1AThL'RUG&ONTROL3OLICY(XEC2FFICEOFTHE3RESIDENT C<78@<6-8FCBA7<A:GB@8E<64TF
Prescription Drug Abuse Crisis (2011), Error! Hyperlink reference not
valid.https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.



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       262. Having profited enormously through the aggressive sale, misleading promotion and

irresponsible distribution of opiates, Defendants should be required to take responsibility for the

financial burDENSTHEIRCONDUCTHASINFLICTEDUPONTHE3LAINTIFFAND3LAINTIFFhS&OMMUNITY

F. STATUTES OF LIMITATIONS ARE TOLLED BECAUSE DEFENDANTSJ
CONDUCT HAS NOT CEASED AND THEY FRAUDULENTLY CONCEALED THEIR
UNLAWFUL CONDUCT.

           1. Continuing Conduct.

       263. 'EFENDANTShCONTINUEDtortious and unlawful conduct has not ceased.

       264. 3LAINTIFFCONTENDSITCONTINUESTOSUFFERHARMFROM'EFENDANTShUNLAWFULACTIONS

       265. 'EFENDANThS persistent wrongful conduct is continuous in nature and causes a

repeated or continuous injury. The damages have not occurred all at once, but have continued to

occur and increase as time progresses. The tort is not completed nor have all the damages been

INCURREDUNTILTHE WRONGDOINGCEASES'EFENDANTShWRONGDOINGANDUNLAWFULACTIVITY HAVENOT

ceased. The public nuisance continues and remains unabated.

2. Fraudulent Concealment.

       266. Defendants cannot rely upon a statute of limitations defense because they

undertook efforts to purposefully conceal their unlawful conduct and fraudulently assure the

public, including the State, THE3LAINTIFFAND3LAINTIFFhS&OMMUNITYTHATTHEYWEREUNDERTAKING

efforts to comply with their obligations under the state and federal controlled substances laws, all

with the goal of protecting their registered manufacturer or distributor status in the State and

continuing to generate profits.

       267. Defendants committed actual fraud as alleged herein and also actively concealed

information which deterred and prevented Plaintiff, in the exercise of ordinary diligence, from

DISCOVERING'EFENDANTShWRONGFULCONDuct. Ga. Code. Ann. § 9-3-96.




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        268. 'EFENDANTShKNOWINGANDFRAUDULENTCONCEALMENTOFTHEFACTSALLEGEDHEREIN tolls

THELIMITATIONSPERIODSOF3LAINTIFFhSCLAIMS. As alleged herein, Defendants knew of the wrongful

acts set forth above, had material information pertinent to their discovery, and concealed them

FROM THE 3LAINTIFF AND 3LAINTIFFhS &OMMUNITY 7HE 3LAINTIFF DID NOT KNOW OR COULD NOT HAVE

known through the exercise of reasonable diligence, of its causes of action, as a result of

'EFENDANTShCONDUCT

        269. The purposes of the statutes of limitations periods are satisfied because Defendants

cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly upon

discovering the facts essential to its claims, described herein, which Defendants knowingly

concealed.

        270. In light of their statements to the media, in legal filings and in settlements, it is

clear that Defendants had actual or constructive knowledge that their conduct was deceptive, in

that they consciously concealed the schemes set forth herein.

        271. Defendants continually and secretly engaged in their scheme to avoid compliance

with their legal obligations. Only Defendants and their agents knew or could have known about

'EFENDANTSh UNLAWFUL ACTIONS BECAUSE 'EFENDANTS MADE DELIBERATE EFFORTS TO conceal their

conduct. As a result of the above, the Plaintiff was unable to obtain vital information bearing on

its claims absent any fault or lack of diligence on its part.

        272. Notwithstanding the allegations set forth above, the Defendants affirmatively

asSURED THE PUBLIC INCLUDING THE 6TATE THE 3LAINTIFF AND 3LAINTIFFhS &OMMUNITY THAT THEY ARE

working to curb the opioid epidemic.




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            273. )OREXAMPLEA&ARDINAL+EALTHEXECUTIVECLAIMEDTHATITUSESeADVANCEDANALYTICSf

to monitor its supply chain and assured thE PUBLIC IT WAS BEING eAS EFFECTIVE AND EFFICIENT AS

POSSIBLEINCONSTANTLYMONITORINGIDENTIFYINGANDELIMINATINGANYOUTSIDECRIMINALACTIVITYf 164

            274. 6IMILARLY0C.ESSONPUBLICLYSTATEDTHATITHASAeBEST-in-class controlled substance

monitoring program TO HELP IDENTIFY SUSPICIOUS ORDERSf AND CLAIMED IT IS eDEEPLY PASSIONATE

ABOUTCURBINGTHEOPIOIDEPIDEMICINOURCOUNTRYf165

            275. Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Distributor Defendants, through their trade associations, HDMA and

NACDS, filed an amicus brief in Masters Pharmaceuticals, which made the following

statements:166

                 a. e+'0$ AND 1$&'6 MEMBERS NOT ONLY HAVE STATUTORY AND REGULATORY
                    responsibilities to guard against diversion of controlled prescription drugs, but
                    UNDERTAKESUCHEFFORTSASRESPONSIBLEMEMBERSOFSOCIETYf

                 b. e'($ REGULATIONS THAT HAVE BEEN IN PLACE FOR MORE THAN  YEARS REQUIRE
                    distributors to report suspicious orders of controlled substances to DEA based on
                    information readILYAVAILABLETOTHEM EGAPHARMACYhSPLACEMENTOFUNUSUALLY
                    FREQUENTORLARGEORDERSf

                 c. e'ISTRIBUTORSTAKESERIOUSLYTHEIRDUTYTOREPORTSUSPICIOUSORDERSUTILIZINGBOTH
                    computer algorithms and human review to detect suspicious orders based on the
                    generalized information that is AVAILABLETOTHEMINTHEORDERINGPROCESSf

                 d. e$PARTICULARORDERORSERIESOFORDERSCANRAISEREDFLAGSBECAUSEOFITSUNUSUAL
                    SIZEFREQUENCYORDEPARTUREFROMTYPICALPATTERNSWITHAGIVENPHARMACYf

                 e. e'ISTRIBUTORS ALSO MONitor for and report abnormal behavior by pharmacies
                    placing orders, such as refusing to provide business contact information or
                    INSISTINGONPAYINGINCASHf


164
      Bernstein et al., supra.
165
      Higham et al., supra.
166
      Brief for HDMA and NACDS, supra, 2016 WL 1321983, at *3-4, *25.



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Through the above statements made on their behalf by their trade associations and other similar

statements assuring their continued compliance with their legal obligations, the Distributor

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

        276. The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database, that will confirm their identities and the

extent of their wrongful and illegal activities.

        277. The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The Manufacturer

'EFENDANTSINVENTEDePSEUDOADDICTIONfANDPROMOTEDITTOANUNSUSPECTINGMEDICALCOMMUNITY

The Manufacturer Defendants provided the medical community with false and misleading

information about ineffectual strategies to avoid or control opioid addiction. The Manufacturer

Defendants recommended to the medical community that dosages be increased, without

disclosing the risks. The Manufacturer Defendants spent millions of dollars over a period of

YEARSONAMISINFORMATIONCAMPAIGNAIMEDATHIGHLIGHTINGOPIOIDShALLEGEDBENEFITSDISGUISING

the risks and promoting sales. The 0ANUFACTURER 'EFENDANTSh CAMPAIGN TO MISREpresent and

conceal the truth about the opioid drugs that they were aggressively pushing in the State and in

3LAINTIFFhS &OMMUNITY DECEIVED THE MEDICAL COMMUNITY CONSUMERS THE 6TATE AND 3LAINTIFFhS

Community.

        278. Defendants intended that their actions and omissions would be relied upon,

INCLUDING BY 3LAINTIFF AND 3LAINTIFFhS &OMMUNITY 3LAINTIFF AND 3LAINTIFFhS &OMMUNITY DID NOT

KNOWANDDIDNOTHAVETHEMEANSTOKNOWTHETRUTHDUETO'EFENDANTShACTIONSANDOMISSIONS




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       279. 7HE 3LAINTIFF AND 3LAINTIFFhS &OMMUNITY REASONABLY RELIED ON 'EFENDANTSh

affirmative statements regarding their purported compliance with their obligations under the law

and consent orders.

                            V.     LEGAL CAUSES OF ACTION

                                            COUNT I
                                      PUBLIC NUISANCE
                                     (Against All Defendants)

       280. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       281. Each Defendant is liable for public nuisance because its conduct at issue has caused

an unreasonable and substantial interference with a right common to the general public, which is

THEPROXIMATECAUSEOFANDORASUBSTANTIALFACTORLEADINGTO3LAINTIFFhSINJURY6EE5ESTATEMENT

Second, Torts § 821B. See City of Coll. Park v. 2600 Camp Creek, LLC, 666 S.E.2d 607, 608

(Ga. Ct. App. 2008) (citing Restatement Second, Torts § 821B).

       282. Under Georgia Law, a nuisance is also eanything that causes hurt, inconvenience,

or damage to another and the fact that the act done may otherwise be lawful shall not keep it

FROMBEINGANUISANCEf*A&ODE$NN]-1-1. A public nuisance eISONEWHICHDAMAGESALL

persons who come within the sphere of its operation, though it may vary in its effects on

INDIVIDUALSf*A&ODE$NN]-1-2.

       283. Defendants have created a public nuisance under Georgia law.

       284. Plaintiff has standing to bring claims for nuisance due to the opioid epidemic

AFFECTINGANDCAUSINGHARMIN3LAINTIFFhS&OMMUNITY

       285. By causing dangerously addictive drugs to flood the community and be diverted for

illicit purposes, in contravention of federal and State law, each Defendant has injuriously

affected rights common to the general public, specifically including the rights of the people of


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THE3LAINTIFFhS&OMMUNITYTOPUBLICHEALTHPUBLICSAFETYPUBLICPEACEPUBLICCOMFORTANDPUBLIC

convenience. The public nuisance caused by the diversion of dangerous drugs has caused

substantial annoyance, inconvenience and injury to the public.

       286. By selling dangerously addictive opioid drugs diverted from a legitimate medical,

scientific or industrial purpose, Defendants have committed a course of conduct that injuriously

AFFECTSTHESAFETYHEALTHANDMORALSOFTHEPEOPLEOFTHE3LAINTIFFhS&OMMUNITY

       287. By failing to maintain a closed system that guards against diversion of dangerously

addictive drugs for illicit purposes, Defendants injuriously affected public rights, including the

right to public health, public safety, public peace and public comfort of the people of the

3LAINTIFFhS&OMMUNITY

       288. 3LAINTIFFALLEGESTHAT'EFENDANTShWRONGFULANDILLEGALACTIONSHAVECREATEDAPUBLIC

nuisance. Each Defendant is liable for public nuisance because its conduct at issue has caused an

unreasonable interference with a right common to the general public.

       289. The Defendants have intentionally and/or unlawfully created an absolute nuisance.

       290. The resIDENTS OF 3LAINTIFFhS &OMMUNITY HAVE A COMMON RIGHT TO BE FREE FROM

conduct that creates an unreasonable jeopardy to the public health, welfare and safety and to be

free from conduct that creates a disturbance and reasonable apprehension of danger to person and

property.

       291. Defendants intentionally, unlawfully and recklessly manufacture, market, distribute

and sell prescription opioids that Defendants know or reasonably should know will be diverted,

causing widespread distribution of prescription opioids in anDOR TO 3LAINTIFFhS &OMMUNITY

resulting in addiction and abuse; an elevated level of crime, death and injuries to the residents of




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3LAINTIFFhS&OMMUNITY AHIGHERLEVELOFFEARDISCOMFORTANDINCONVENIENCETOTHERESIDENTSOF

3LAINTIFFhS&OMMUNITY ANDDIRECTCOSTSTO3LAINTIFFhS&OMMUNITY

        292. Defendants have unlawfully and/or intentionally caused and permitted dangerous

DRUGS UNDER THEIR CONTROL TO BE DIVERTED SUCH AS TO INJURE THE 3LAINTIFFhS &OMMUNITY AND ITS

residents.

        293. Defendants have unlawfully and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct

is ILLEGAL 'EFENDANTSh FAILURES TO MAINTAIN EFFECTIVE CONTROLS AGAINST DIVERSION INCLUDE

'EFENDANTShFAILURETOEFfectively monitor for suspicious orders, report suspicious orders and/or

stop shipment of suspicious orders.

        294. Defendants have caused a significant and unreasonable interference with the public

health, safety, welfare, peace, comfort, convenience and ability to be free from disturbance and

reasonable apprehension of danger to person or property.

        295. 'EFENDANTSh CONDUCT IN ILLEGALLY DISTRIBUTING AND SELLING PRESCRIPTION OPIOIDS OR

causing such opioids to be distributed and sold where Defendants know or reasonably should

KNOWSUCHOPIOIDSWILLBEDIVERTEDPOSSESSEDANDORUSEDILLEGALLYIN3LAINTIFFhS&OMMUNITYIS

of a continuing nature.

        296. 'EFENDANTSh ACTIONS HAVE BEEN OF A CONTINUING NATURE AND HAVE PRODUCED A

SIGNIFICANTEFFECTUPONTHEPUBLIChSRIGHTSINCLUDINGTHEPUBLIChSRIGHTTOHEALTHANDSAFETY

        297. A violation of any rule or law controlling the distribution of a drug of abuse in

3LAINTIFFhS&OMMUNITYANDTHE6TATEISAPUBLICNUISANCE

        298. 6TATUTEANDREGULATIONPROSCRIBE'EFENDANTShDISTRIBUTIONOFOPIOIDSWHILe failing to

maintain effective controls against diversion.




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        299. 'EFENDANTSh ONGOING CONDUCT PRODUCES AN ONGOING NUISANCE AS THE PRESCRIPTION

OPIOIDS THAT THEY ALLOW ANDOR CAUSE TO BE ILLEGALLY DISTRIBUTED AND POSSESSED IN 3LAINTIFFhS

Community will be diverted, leading to abuse, addiction, crime, and public health costs.

        300. Because of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

        301. Defendants know, or reasonably should know, that their conduct will have an

ONGOINGDETRIMENTALEFFECTUPONTHEPUBLICHEALTHSAFETYANDWELFAREANDTHEPUBLIChSABIlity to

be free from disturbance and reasonable apprehension of danger to person and property.

        302. Defendants know, or reasonably should know, that their conduct causes an

UNREASONABLEINVASIONOFTHEPUBLICRIGHTTOHEALTHSAFETYANDWELFAREANDTHEPUBLIChS ability to

be free from disturbance and reasonable apprehension of danger to person and property.

        303. Defendants are aware, and at a bare minimum certainly should be aware, of the

UNREASONABLEINTERFERENCETHATTHEIRCONDUCTHASCAUSEDIN3LAINTIFFhSCommunity. Defendants are

in the business of manufacturing, marketing, selling and distributing prescription drugs,

including opioids, which Defendants specifically know to be dangerous under federal law. See

e.g., 21 U.S.C. § 812 (b)(2).

        304. 'EFENDANTSh CONDUct in marketing, distributing and selling prescription opioids

which the Defendants know, or reasonably should know, likely will be diverted for non-

legitimate, non-medical use creates a strong likelihood that these illegal distributions of opioids

will caUSEDEATHANDINJURIESTO RESIDENTSIN3LAINTIFFhS&OMMUNITYAND OTHERWISESIGNIFICANTLY

ANDUNREASONABLYINTERFEREWITHPUBLICHEALTHSAFETYANDWELFAREANDWITHTHEPUBLIChSRIGHTTOBE

free from disturbance and reasonable apprehension of danger to person and property.




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       305. It is, or should be, reasonably foreseeable to Defendants that their conduct will

CAUSEDEATHSANDINJURIESTORESIDENTSIN3LAINTIFFhS&OMMUNITYANDWILLOTHERWISESIGNIFICANTLY

and unreasonably interfere with public health, safety and weLFAREANDWITHTHEPUBLIChSRIGHTTOBE

free from disturbance and reasonable apprehension of danger to person and property.

       306. The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal puRPOSES IN 3LAINTIFFhS &OMMUNITY NOT ONLY

causes deaths and injuries, but also creates a palpable climate of fear among residents in

3LAINTIFFhS &OMMUNITY WHERE OPIOID DIVERSION ABUSE AND ADDICTION ARE PREVALENT AND WHERE

diverted opioids tend to be used frequently.

       307. 'EFENDANTSh CONDUCT MAKES IT EASIER FOR PERSONS TO DIVERT PRESCRIPTION OPIOIDS

constituting a dangerous threat to the public.

       308. 'EFENDANTSh ACTIONS WERE AT THE LEAST A SUBSTANTIAL FACTOR IN OPIOIDS BECOMING

widely available and widely used for non-MEDICAL PURPOSES %ECAUSE OF 'EFENDANTSh SPECIAL

POSITIONSWITHINTHECLOSEDSYSTEMOFOPIOIDDISTRIBUTIONBUTFOR'EFENDANTShACTIONSOPIOIDUSE

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse and addiction that now exists would have been averted.

       309. 7HE PRESENCE OF DIVERTED PRESCRIPTION OPIOIDS IN 3LAINTIFFhS &OMMUNITY AND THE

CONSEQUENCEOFPRESCRIPTIONOPIOIDSHAVINGBEENDIVERTEDIN3LAINTIFFhS&OMMUNITYPROXIMATELY

results in and/or substantially contributes to the creation of significant costs to the Plaintiff and to

3LAINTIFFhS&OMMUNITYINORDERTOENFORCETHELAWEQUIPITSPOLICEFORCEANDTREATTHEVICTIMSOF

opioid abuse and addiction.




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        310. Stemming the flow of illegally distributed prescription opioids and abating the

nuisance caused by the illegal flow of opioids will help to alleviate this problem, save lives,

PREVENTINJURIESANDMAKE3LAINTIFFhS&OMMUNITYASAFERPLACETOLIVE

        311. 'EFENDANTSh CONDUCT IS A DIRECT AND PRoximate cause of and/or a substantial

CONTRIBUTINGFACTORTOOPIOIDADDICTIONANDABUSEIN3LAINTIFFhS&OMMUNITYANDCOSTSBORNEBY

3LAINTIFFhS&OMMUNITYANDTHE3LAINTIFFASWELLASASIGNIFICANTANDUNREASONABLEINTERFERENCE

with public health, safety aNDWELFAREANDWITHTHEPUBLIChSRIGHTTOBEFREEFROMDISTURBANCEAND

reasonable apprehension of danger to person and property.

        312. 'EFENDANTShCONDUCTCONSTITUTESAPUBLICNUISANCEANDIFUNABATEDWILLCONTINUETO

threaten the health, safety and welfare of THE RESIDENTS OF 3LAINTIFFhS &OMMUNITY CREATING AN

ATMOSPHERE OF FEAR AND ADDICTION THAT TEARS AT THE RESIDENTSh SENSE OF WELL-being and security.

Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

        313. Defendants crEATEDANABSOLUTENUISANCE'EFENDANTShACTIONSCREATEDANDEXPANDED

the abuse of opioids, which are dangerously addictive, and the ensuing associated plague of

prescription opioid and heroin addiction. Defendants knew the dangers to public health and

safeTY THAT DIVERSION OF OPIOIDS WOULD CREATE IN 3LAINTIFFhS &OMMUNITY  HOWEVER 'EFENDANTS

intentionally and/or unlawfully failed to maintain effective controls against diversion through

proper monitoring, reporting and refusal to fill suspicious orders of opioids. Defendants

intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to fill suspicious orders or taking other measures to maintain effective

controls against diversion. Defendants intentionally and/or unlawfully continued to ship and

failed to halt suspicious orders of opioids or caused such orders to be shipped. Defendants




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intentionally and/or unlawfully marketed opioids in manners they knew to be false and

misleading. Such actions were inherently dangerous.

       314. Defendants knew prescription opioids have a high likelihood of being diverted. It

was foreseeable to Defendants that where Defendants distributed prescription opioids or caused

such opioids to be distributed without maintaining effective controls against diversion, including

monitoring, reporting and refusing shipment of suspicious orders, that the opioids would be

DIVERTEDANDCREATEANOPIOIDABUSENUISANCEIN3LAINTIFFhS&OMMUNITY

       315. 'EFENDANTShACTIONSALSOCREATEDAQUALIFIEDNUISANCe. Defendants acted recklessly,

negligently and/or carelessly, in breach of their duties to maintain effective controls against

diversion, thereby creating an unreasonable risk of harm.

       316. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

       317. The damages available to the Plaintiff include, inter alia, recoupment of

governmental costs, flowing from an ongoing and persistent public nuisance that the government

SEEKSTOABATE'EFENDANTShCONDUCTISONGOINGANDPERSISTENTANDTHE3LAINTIFFSEEKSALLDAMAGES

FLOWINGFROM'EFENDANTShCONDUCT3LAINTIFFFURTHERSEEKSTOABATETHENUISANCEANDHARMCREATED

by DefendantShCONDUCT

       318. $SADIRECTRESULTOF'EFENDANTShCONDUCTTHE3LAINTIFFAND3LAINTIFFhS&OMMUNITY

have suffered actual injury and damages including, but not limited to, significant expenses for

police, emergency, health, prosecution, corrections and other services. The Plaintiff here seeks

recovery for its own harm.




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       319. 7HE3LAINTIFFAND3LAINTIFFhS&OMMUNITYHAVESUSTAINEDSPECIFICANDSPECIALINJURIES

because their damages include, inter alia, health services, law enforcement expenditures, and

costs related to opioid addiction treatment and overdose prevention.

       320. 7HE 3LAINTIFF FURTHER SEEKS TO ABATE THE NUISANCE CREATED BY THE 'EFENDANTSh

unreasonable, unlawful, intentional, ongoing, continuing and persistent actions and omissions

and interference with a right common to the public.

       321. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

abatement, compensatory damages and punitive damages from the Defendants for the creation of

APUBLICNUISANCEATTORNEYShFEESANDCOSTSANDPRE- and post-judgment interest.

       322. 'EFENDANTSh INTENTIONAL AND UNLAWFUL ACTIONS AND OMISSIONS AS WELL AS THEIR

unreasonable interference with a right common to the public are of a continuing nature.

       323. Defendants are aware, and at a bare minimum certainly should be aware, of the

UNREASONABLEINTERFERENCETHATTHEIRCONDUCTHASCAUSEDINTHE3LAINTIFFhS&OMMUNITY'EFENDANTS

are in the business of manufacturing or distributing prescription drugs, including opioids, which

are specifically known to Defendants to be dangerous because, inter alia, federal and state law

define these drugs as substances posing a high potential for abuse and severe addiction.

'EFENDANTSCREATEDANABSOLUTENUISANCE'EFENDANTShACTIONSCREATEDANDEXPANDEDTHEABUSEOF

opioids, drugs specifically codified as constituting severely harmful substances.

       324. 7HEPUBLICNUISANCECREATEDBY'EFENDANTShACTIONSISSUBSTANTIALANDUNREASONABLE

c it has caused and continues to cause significant harm to the community, and the harm inflicted

outweighs any offsetting benefit. The staggering rates of opioid and heroin use resulting from the

'EFENDANTSh ABDICATION OF THEIR GATE-keeping and diversion prevention duties and the




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0ANUFACTURER 'EFENDANTSh FRAUDULENT MARKETING ACTIVITIES HAVE CAUSED HARM TO THE ENTIRe

community that includes, but is not limited to, the following:

           a. The high rates of use have led and continue to lead to unnecessary opioid abuse,
              addiction, overdose, injuries and deaths.

           b. Even children have fallen victim to the opioid epidemic. Easy access to
              prescription opioids made opioids a recreational drug of choice among teenagers.
              Even infants have been born addicted to opioids due to prenatal exposure, causing
              severe withdrawal symptoms and lasting developmental impacts.

           c. Even those residents of PlaINTIFFhS&OMMUNITYWHOHAVENEVERTAKENOPIOIDSHAVE
              SUFFERED FROM THE PUBLIC NUISANCE ARISING FROM 'EFENDANTSh ABDICATION OF THEIR
              gate-keeper duties and fraudulent promotions. Many residents have endured both
              the emotional and financial costs of caring for loved ones addicted to or injured
              by opioids and the loss of companionship, wages or other support from family
              members who have used, abused, become addicted to, overdosed on or been
              killed by opioids.

           d. The opioid epidemic has increased health care costs.

           e. Employers have lost the value of productive and healthy employees.

           f. 'EFENDANTShCONDUCTCREATEDANABUNDANCEOFDRUGSAVAILABLEFORCRIMINALUSEAND
              fueled a new wave of addiction, abuse and injury.

           g. 'EFENDANTSh DERELICTION OF DUTIES ANDOR FRAUDULENT misinformation campaign
              pushing dangerous drugs resulted in a diverted supply of narcotics to sell and the
              ensuing demand of addicts to buy them. More prescription opioids sold by
              Defendants led to more addiction, with many addicts turning from prescription
              opioids to heroin. People addicted to opioids frequently require increasing levels
              of opioids, and many turned to heroin as a foreseeable result.

           h. The diversion of opioids into the secondary, criminal market and the increased
              number of individuals who abuse or are addicted to opioids increased the
              demands on health care services and law enforcement.

           i. The significant and unreasonable interference with the public rights caused by
              'EFENDANTSh CONDUCT TAXED THE HUMAN MEDICAL PUBLIC HEALTH LAW ENFORCEMENT
              and FINANCIALRESOURCESOFTHE3LAINTIFFhS&OMMUNITY




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           j. 'EFENDANTShINTERFERENCEWITHTHECOMFORTABLEENJOYMENTOFLIFEINTHE3LAINTIFFhS
              Community is unreasonable because there is little social utility to opioid diversion
              and abuse, and any potential value is outweighed by the gravity of the harm
              'EFENDANTShACTIONSINFLICTED

       325. 7HE3LAINTIFFAND3LAINTIFFhS&OMMUNITYHAVESUSTAINEDSPECIFICANDSPECIALINJURIES

because their damages include, inter alia, health services and law enforcement expenditures, as

described in this Complaint.

       326. Plaintiff seeks economic losses (direct, incidental or consequential pecuniary

LOSSESRESULTINGFROM'EFENDANTShFRAUDULENTACTIVITYANDFRAUDULENTMISREPRESENTATIONS

       327. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, all damages allowed by law to be paid by the

'EFENDANTSATTORNEYShFEESANDCOSTSANDPRE- and post-judgment interest.

                                COUNT II
         RACKETEER-INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                           18 U.S.C. 1961, et seq.
                          (Against All Defendants)

       328. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       329. Plaintiff brings this Count against the following Defendants, as defined above:

Purdue, Cephalon, Janssen, Endo, Mallinckrodt, Actavis, McKesson, Cardinal and

$MERISOURCE%ERGEN COLLECTIVELYFORPURPOSESOFTHIS&OUNTTHEe5,&2'EFENDANTSf

       330. The RICO Defendants conducted and continue to conduct their business through

legitimate and illegitimate means in the form of an association-in-fact enterprise and/or a legal

ENTITYENTERPRISE$TALLRELEVANTTIMESTHE5,&2'EFENDANTSWEREePERSONSfUNDER86&]




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 BECAUSETHEYAREENTITIESCAPABLEOFHOLDINGANDDOHOLDeALEGALORBENEFICIALINTEREST

INPROPERTYf

         331. Section 1962(c) of Racketeer-Influenced and Corrupt ORGANIZATIONS$CT e5,&2f

MAKESITUNLAWFULeFORANYPERSONEMPLOYEDby or associated with any enterprise engaged in, or

the activities of which affect, interstate or foreign commerce, to conduct or participate, directly

ORINDIRECTLYINTHECONDUCTOFSUCHENTERPRISEhSAFFAIRSTHROUGHAPATTERNOFRACKETEERINGACTIVITY

or COLLECTIONOFUNLAWFULDEBTf86&] C 8NITED6TATESV7URKETTE86

580 (1981).

         332. 7HE TERM eENTERPRISEf INCLUDES eANY INDIVIDUAL PARTNERSHIP CORPORATION

association, or other legal entity, and any union or group of individuals associated in fact

ALTHOUGHNOTALEGALENTITYf86&]  7URKETTE86AT %OYLEV86

86 7HEDEFINITIONOFeENTERPRISEfIN6ECTION INCLUDESLEGITIMATEAND

illegitimate enterprises within its scope. SpeCIFICALLY THE SECTION eDESCRIBES TWO SEPARATE

CATEGORIES OF ASSOCIATIONS THAT COME WITHIN THE PURVIEW OF AN gENTERPRISEh c the first

ENCOMPASSINGORGANIZATIONSSUCHASCORPORATIONSPARTNERSHIPSANDOTHERgLEGALENTITIEShANDTHE

SECOND COVERING gANY UNion or group of individuals associated in fact although not a legal

ENTITYhf7URKETTE86AT7HESECONDCATEGORYISNOTAMOREGENERALIZEDDESCRIPTIONOF

the first. Id.

         333. For over a decade, the RICO Defendants aggressively sought to bolster their

revenue, increase profit and grow their share of the prescription painkiller market by unlawfully

and surreptitiously increasing the volume of opioids they sold. However, the RICO Defendants

are not permitted to engage in a limitless expansion of their market through the unlawful sales of

REGULATED PAINKILLERS $SeREGISTRANTSf THE 5,&2 'EFENDANTS OPERATED AND CONTINUE TO OPERATE




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WITHINTHEeCLOSEDSYSTEMfCREATEDUNDERTHE&ONTROLLED6UBSTANCES$CT86&]ETSEQ

 THE e&6$f 7HE &6$ RESTRICTS THE 5,&2 'EFENDANTSh ABILITY TO MANUFACTURE OR DISTRIBUTE

Schedule II substances like opioids by requiring them to: (1) register to manufacture or distribute

opioids; (2) maintain effective controls against diversion of the controlled substances that they

manufacturer or distribute; (3) design and operate a system to identify suspicious orders of

controlled substances, halt such unlawful sales and report them to the DEA; and (4) make sales

within a limited quota set by the DEA for the overall production of Schedule II substances like

opioids.

           334. Congress specifically intended the closed system created by the CSA, including the

establishment of quotas, to reduce or eliminate the diversion of Schedule II substances like

OPIOIDSFROMeLEGITIMATECHANNELSOFTRADEfTOTHEILLICITMARKETBYCONTROLLINGeTHEQUANTITIESOF

THEBASICINGREDIENTSNEEDEDFORTHEMANUFACTUREOF>CONTROLLEDSUBSTANCES?f167

           335. Finding it impossible to legally achieve their ever-increasing sales ambitions,

members of the Opioid Diversion Enterprise (as defined below) systematically and fraudulently

violated their statutory duty to maintain effective controls against diversion of their drugs, to

design and operate a system to identify suspicious orders of their drugs, to halt unlawful sales of

suspicious orders and to notify the DEA of suspicious orders. 168 As discussed in detail below,

THROUGHTHE5,&2'EFENDANTShSCHEMEMEMBERSOFTHE2PIOID'IVERSION(NTERPRISEREPEATEDLY

engaged in unlawful sales of painkillers, which, in turn, artificially and illegally increased the

annual production quotas for opioids allowed by the DEA. 169 In doing so, the RICO Defendants


167
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
168
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
169
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.



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allowed hundreds of millions of pills to enter the illicit market, which allowed them to generate

obscene profits.

         336. An association-in-fact enterprise between the Manufacturer Defendants and the

'ISTRIBUTOR 'EFENDANTS HATCHED 'EFENDANTSh ILLEGAL SCHEME AND EACH OF THEM EXECUTED IT IN

perfect harmony. In particular, each of the RICO Defendants were associated with and conducted

or participated in the affairs of the RICO enterprise (defined below and referred to collectively as

THEe2PIOID'IVERSION(NTERPRISEfTHEPURPOSEOFWHICHWASTOENGAGEINTHEUNLAWFULSALESOF

opioids, while deceiving the public and federal and state regulators into believing that the RICO

'EFENDANTSWEREFAITHFULLYFULFILLINGTHEIRSTATUTORYOBLIGATIONS7HE5,&2'EFENDANTShSCHEME

allowed them to make billions in unlawful sales of opioids and, in turn, increase and/or maintain

high production quotas with the purpose of ensuring unlawfully increasing revenues, profits and

MARKETSHARE$SADIRECTRESULTOFTHE5,&2'EFENDANTShFRAUDULENTSCHEMECOURSEOFCONDUCT

and pattern of racketeering activity, they were able to extract billions of dollars of revenue from

the addicted American public, while entities like the Plaintiff experienced tens of millions of

dollars of injury caused by the reasonably foreseeable consequences of the prescription opioid

addiction epidemic. As explained in detail below, the RICO DefendantSh MISCONDUCT VIOLATED

Section 1962(c), and 18 U.S.C. § 1964(c) entitles Plaintiff to treble damages for its injuries.

         337. Alternatively, the RICO Defendants were members of a legal entity enterprise

within the meaning of 18 U.S.C. § 1961(4), through which the RICO Defendants conducted their

pattern of racketeering activity in this jurisdiction and throughout the United States. Specifically,

THE +EALTHCARE 'ISTRIBUTION $LLIANCE THE e+'$f170 is a distinct legal entity that satisfies the

definition of a RICO enterprise. The HDA is a non-profit corporation formed under the laws of

170
    Health Distribution Alliance, History, Health Distribution Alliance, (last visited on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.



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the District of Columbia and doing business in Virginia. As a non-profit corporation, HDA

QUALIFIESASANeENTERPRISEfWITHINTHEDEFINITIONSETOUTIN86&] BECAUSEITISA

corporation and a legal entity.

           338. On information and belief, each of the RICO Defendants is a member, participant

and/or sponsor of the HDA and utilized the HDA to conduct the Opioid Diversion Enterprise and

to engage in the pattern of racketeering activity that gives rise to the Count.

           339. Each of the RICO Defendants is a legal entity separate and distinct from the HDA.

Additionally, the HDA serves the interests of distributors and manufacturers beyond the RICO

Defendants. Therefore, the HDA exists separately from the Opioid Diversion Enterprise, and

each of the RICO Defendants exists separately from the HDA. Therefore, the HDA may serve as

a RICO enterprise.

           340. The legal and association-in-fact enterprises alleged in the previous and subsequent

paragraphs were each used by the RICO Defendants to conduct the Opioid Diversion Enterprise

by engaging in a pattern of racketeering activity. Therefore, the legal and association-in-fact

enterprises alleged in the previous and subsequent paragraphs are pleaded in the alternative and

ARECOLLECTIVELYREFERREDTOASTHEe2PIOID'IVERSION(NTERPRISEf

       A. THE OPIOID DIVERSION ENTERPRISE

           341. Recognizing that there is a need for greater scrutiny over controlled substances due

to their potential for abuse and danger to public health and safety, the United States Congress

enacted the Controlled Substances Act in 1970.171 The CSA and its implementing regulations

created a closed system of distribution for all controlled substances and listed chemicals.172


171
   Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
cv-185 (Document 14-2 February 10, 2012).
172
      See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.



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Congress specifically designed the closed chain of distribution to prevent the diversion of legally

produced controlled substances into the illicit market.173 As reflected in comments from United

6TATES6ENATORSDURINGDELIBERATIONONTHE&6$THEe>&6$?ISDESIGNEDTOCRACKDOWNHARDON

the NARCOTICS PUSHER AND THE ILLEGAL DIVERTERS OF PEP PILLS AND GOOF BALLSf174 Congress was

concerned with the diversion of drugs out of legitimate channels of distribution when it enacted

THE&6$ANDACTEDTOHALTTHEeWIDESPREADDIVERSIONOF>CONTROLLEDSUBSTances] out of legitimate

CHANNELSINTOTHEILLEGALMARKETf175 Moreover, Congress specifically designed the closed system

to ensure that there are multiple ways of identifying and preventing diversion through active

participation by registrants within the drug delivery chain.176 All registrants c manufacturers and

distributors alike c must adhere to the specific security, recordkeeping, monitoring and reporting

requirements that are designed to identify or prevent diversion.177 When registrants at any level

fail to fulfill their obligations, the necessary checks and balances collapse.178 The result is the

scourge of addiction that has occurred.

            342. In 2006 and 2007, the DEA issued multiple letters to the Distributor Defendants

reminding them of their obligation to maintain effective controls against diversion of particular

controlled substances, design and operate a system to disclose suspicious orders, and inform the


173
  Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep.
No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
174
   See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566; 116 Cong. Rec. 977-78 (Comments of Sen. Dodd, Jan
23, 1970).
175
   See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United States
Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
176
   See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States
Senate, July 18, 2012 (available at
https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-dea-rannazzisi.pdf).
177
      Id.
178
   Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No.
12-cv-185 (Document 14-2 February 10, 2012).



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DEA of any suspicious orders.179 The DEA also published suggested questions that a distributor

should ask PRIORTOSHIPPINGCONTROLLEDSUBSTANCESINORDERTOeKNOWTHEIRCUSTOMERSf 180

         343. Central to the closed system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quOTASYSTEMWASINTENDEDTOREDUCEORELIMINATEDIVERSIONFROMeLEGITIMATECHANNELSOFTRADEf

BYCONTROLLINGTHEeQUANTITIESOFTHEBASICINGREDIENTSNEEDEDFORTHEMANUFACTUREOF>CONTROLLED

substances] and requiring order forms for all transfers of these DRUGSf181 When evaluating

production quotas, the DEA was instructed to consider the following information:

             a. Information provided by the Department of Health and Human Services;

             b. Total net disposal of the basic class by all manufacturers;

             c. Trends in the national rate of disposal of the basic class;

             d. $NAPPLICANThSPRODUCTIONCYCLEANDCURRENTINVENTORYPOSITION

             e. Total actual or estimated inventories of the class and of all substances
                manufactured from the class and trends in inventory accumulation; and

             f. Other factors such as: changes in the currently accepted medical use of substances
                manufactured for a basic class; the economic and physical availability of raw
                materials; yield and sustainability issues; potential disruptions to production; and
                unforeseen emergencies.182




179
  Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (September 27, 2006); Joseph T. Rannazzisi, In
Reference to Registration # RC0183080 (December 27, 2007).
180
   Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf).
181
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
182
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United States
Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).



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            344. It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA or (2) in excess of a quota assigned to it by the DEA.183

            345. At all relevant times, the RICO Defendants operated as an association-in-fact

enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

disregarding their statutory duty to identify, investigate, halt and report suspicious orders of

opioids and diversion of their drugs into the illicit market in order to unlawfully increase the

quotas set by the DEA and allow them to collectively benefit from the unlawful formation of a

greater pool of prescription opioids from which to profit. The RICO Defendants conducted their

pattern of racketeering activity in this jurisdiction and throughout the United States through this

enterprise.

            346. The opioid epidemic has its origins in the mid-1990s when, between 1997 and

2007, per capita purchase of methadone, hydrocodone and oxycodone increased 13-fold, 4-fold

and 9-fold, respectively. By 2010, enough prescription opioids were sold in the United States to

medicate every adult in the country with a dose of 5 milligrams of hydrocodone every 4 hours

for 1 month.184 On information and belief, the Opioid Diversion Enterprise has been ongoing for

at least the last decade.185

            347. The Opioid Diversion Enterprise was and is a shockingly successful endeavor. The

Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis.



183
      Id. (citing 21 U.S.C. 842(b)).
184
   Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural-urban differences in nonmedical
prescription opioid use and abuse in the United States. Am J Public Health. 2014;104(2):e52-9.
185
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.



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However, it was not until recently that United States and State regulators finally began to unravel

the extent of the enterprise and the toll that it exacted on the American public.

         348. At all relevant times, the Opioid Diversion Enterprise: (a) had an existence separate

and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of

racketeering in which the RICO Defendants engaged; (c) was an ongoing and continuing

organization consisting of legal entities, including each of the RICO Defendants; (d) was

characterized by interpersonal relationships among the RICO Defendants; (e) had sufficient

longevity for the enterprise to pursue its purpose; and (f) functioned as a continuing unit.

Turkette, 452 U.S. at 580; Boyle, 556 U.S. at 944 (2009). Each member of the Opioid Diversion

Enterprise participated in the conduct of the enterprise, including patterns of racketeering

activity, and shared in the astounding growth of profits supplied by fraudulently inflating opioid

SALESGENERATEDASARESULTOFTHE2PIOID'IVERSION(NTERPRISEhSDISREGARDFORTHEIRDUTYTOPREVENT

diversion of their drugs into the illicit market and requests that the DEA increase production

quotas, all so that the RICO Defendants would have a larger pool of prescription opioids from

which to profit.

         349. The Opioid Diversion Enterprise also engaged in efforts to lobby against the

'($hS AUTHORITY TO HOLD THE 5,&2 'EFENDANTS LIABLE FOR DISREGARDING THEIR DUTY TO PREVENT

diversion. Members of the Pain Care Forum (described in greater detail below) and the

+EALTHCARE 'ISTRIBUTION $LLIANCE LOBBIED FOR THE PASSAGE OF LEGISLATION TO WEAKEN THE '($hS

enforcement authority. The Ensuring Patient Access and Effective Drug Enforcement Act

signiFICANTLY REDUCED THE '($hS ABILITY TO ISSUE ORDERS TO SHOW CAUSE AND TO SUSPEND ANDOR

revoke registrations186 The HDA and other members of the Pain Care Forum contributed


186
   See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-


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substantial amounts of money to political campaigns for federal candidates, state candidates,

political action committees and political parties. Plaintiff is informed and believes that the Pain

Care Forum and its members and the HDA devoted millions dollars to its lobbying efforts in this

jurisdiction between 2011 and 2016.

        350. The Opioid Diversion Enterprise functioned by selling prescription opioids. While

there are some legitimate uses and/or needs for prescription opioids, the RICO Defendants,

through their illegal enterprise, engaged in a pattern of racketeering activity that involves a

fraudulent scheme to increase revenue by violating State and Federal laws requiring the

maintenance of effective controls against diversion of prescription opioids and the identification,

investigation and reporting of suspicious orders of prescription opioids destined for the illicit

DRUG MARKET 7HE GOAL OF 'EFENDANTSh SCHEME WAS TO INCREASE PROFITS FROM OPIOID SALES

+OWEVER 'EFENDANTSh PROFITS WERE LIMITED BY THE PRODUCTION QUOTAS SET BY THE '($ SO THE

Defendants refused to identify, investigate and/or report suspicious orders of their prescription

opioids being diverted into the illicit drug market. The end result of this strategy was to increase

and maintain artificially high production quotas of opioids so that there was a larger pool of

opioids for Defendants to manufacture and distribute for public consumption.

        351. The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

and foreign commerce because the enterprise involved commercial activities across state lines,

such as manufacture, sale, distribution and shipment of prescription opioids throughout the


alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre,  :8AGQ28#47AB
'8478EF;<CR<A21@<7!?BB7B9+4<A+<??F, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.



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country and this jurisdiction and the corresponding payment and/or receipt of money from the

sale of the same.

       352. Within the Opioid Diversion Enterprise, there were interpersonal relationships and

common communication by which the RICO Defendants shared information on a regular basis.

These interpersonal relationships also formed the organization of the Opioid Diversion

Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and

communication network for the purpose of conducting the enterprise through a pattern of

racketeering activity.

       353. Each of the RICO Defendants had a systematic link to each other through joint

participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. The RICO Defendants participated in the operation and

management of the Opioid Diversion Enterprise by directing its affairs, as described herein.

While the RICO Defendants participated in and are members of the enterprise, they each have a

separate existence from the enterprise, including distinct legal statuses, different offices and

roles, bank accounts, officers, directors, employees, individual personhood, reporting

requirements and financial statements.

       354. The RICO Defendants exerted substantial control over the Opioid Diversion

Enterprise by their membership in the Pain Care Forum and the HDA and through their

contractual relationships.

       355. 7HE 3AIN &ARE )ORUM e3&)f is a coalition of drug makers, trade groups and

dozens of non-profit organizations supported by industry funding. The PCF recently became a

national news story when reporters discovered that lobbyists for members of the PCF quietly




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shaped federal and state policies regarding the use of prescription opioids for more than a

decade.

            356. 7HE &ENTER FOR 3UBLIC ,NTEGRITY AND 7HE $SSOCIATED 3RESS OBTAINED eINTERNAL

documents shed[ding] new light on how drug makers and their allies shaped the national

response to the oNGOINGWAVEOFPRESCRIPTIONOPIOIDABUSEf187 Specifically, PCF members spent

OVER MILLIONLOBBYINGINTHENATIONhSCAPITALANDINALLSTATEHOUSESONANARRAYOFISSUES

including opioid-related measures.188

            357. Not surprisingly, each of the RICO Defendants who stood to profit from lobbying

in favor of prescription opioid use is a member of and/or participant in the PCF.189 In 2012,

membership and participating organizations included the HDA (of which all RICO Defendants

are members), Endo, Purdue, Johnson & Johnson (the parent company for Janssen

Pharmaceuticals), Actavis (i.e., Allergan) and Teva (the parent company of Cephalon).190 Each

of the Manufacturer Defendants worked together through the PCF to advance the interests of the

enterprise. However, the Manufacturer Defendants were not alone. The Distributor Defendants

actively participated and continue to participate in the PCF, at a minimum, through their trade

organization, the HDA.191 Upon information and belief, the Distributor Defendants participated

directly in the PCF as well.



187
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
188
      Id.
189
   PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf.
190
      Id. Upon information and belief, Mallinckrodt became an active member of the PCF sometime after 2012.
191
  Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson


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         358. The 2012 Meeting Schedule for the Pain Care Forum is particularly revealing on

THESUBJECTOFTHE'EFENDANTShINTERPERSONALRELATIONSHIPS 7HEMEETINGSCHEDULEINDICATESTHAT

meetings were held in the D.C. office of Powers Pyles Sutter & Verville on a monthly basis,

UNLESSOTHERWISENOTED /OCALMEMBERS WEREeENCOURAGEDTOATTENDINPERSONfATTHEMONTHLY

meetings. Additionally, the meeting schedule indicates that the quarterly and year-end meetings

INCLUDEDAe*UEST6PEAKERf

         359. The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

Defendants participated in meetings on a monthly basis, either directly or through their trade

organization, in a coalition of drug makers and their allies, sole purpose of which was to shape

the national response to the ongoing prescription opioid epidemic, including the concerted

lobbying efforts that the PCF undertook on behalf of its members.

         360. Second, the HDA c or Healthcare Distribution Alliance c led to the formation of

interpersonal relationships and an organization between the RICO Defendants. Although the

entire HDA membership directory is private, the HDA website confirms that each of the

Distributor Defendants and the Manufacturer Defendants named in the Complaint, including

Actavis (i.e., Allergan), Endo, Purdue, Mallinckrodt and Cephalon, were members of the

HDA.192 Additionally, the HDA and each of the Distributor Defendants eagerly sought the active

membership and participation of the Manufacturer Defendants by advocating that one of the

benefits of membership included the ability to develop direct relationships between

Manufacturers and Distributors at high executive levels.




Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.
192
   Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.



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            361. In fact, the HDA touted the benefits of membership to the Manufacturer

Defendants, advocating that membershiPINCLUDEDTHEABILITYTOAMONGOTHERTHINGSeNETWORK

ONE ON ONE WITH MANUFACTURER EXECUTIVES AT +'$hS MEMBERS-only Business and Leadership

&ONFERENCEfeNETWORKINGWITH+'$WHOLESALEDISTRIBUTORMEMBERSfeOPPORTUNITIESTOHOSTAND

sponsor HDA Board of 'IRECTORS EVENTSf ePARTICIPATE ON +'$ COMMITTEES TASK FORCES AND

WORKINGGROUPSWITHPEERSANDTRADINGPARTNERSfANDeMAKECONNECTIONSf 193 Clearly, the HDA

and the Distributor Defendants believed that membership in the HDA was an opportunity to

create interpersonal and ongoing organizational relationships between the Manufacturers and

Defendants.

            362. The application for manufacturer membership in the HDA further indicates the

level of connection that existed between the RICO Defendants. 194 $eSENIORCOMPANYEXECUTIVEf

must sign the manufacturer membership application, and it requests that the manufacturer

applicant identify a key contact and any additional contacts from within its company. The HDA

application also requests that the manufacturer identify its current distribution information and its

most recent year-end net sales through any HDA distributors, including, but not limited to,

Defendants AmerisourceBergen, Cardinal Health and McKesson.195

            363. After becoming members, the Distributors and Manufacturers were eligible to

participate on councils, committees, task forces and working groups, including:




193
   Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
194
   Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en.
195
      Id.



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             a. ,NDUSTRY 5ELATIONS &OUNCIL e7HIS COUNCIL COMPOSED OF DISTRIBUTOR AND
                manufacturer members, provides leadership on pharmaceutical distribution and
                SUPPLYCHAINISSUESf196

             b.    %USINESS 7ECHNOLOGY &OMMITTEE e7HIS COMMITTEE PROVIDES GUIDANCE TO +'$
                  and its members through the development of collaborative e-commerce business
                  SOLUTIONS 7HE COMMITTEEhS MAJOR AREAS OF FOCUS WITHIN PHARMACEUTICAL
                  distribution include information systems, operational integration and the impact of
                  e-COMMERCEf 3ARTICIPATION IN THIS COMMITTEE INCLUDES DISTRIBUTORS AND
                  manufacturer members.197

             c.    +EALTH%EAUTYAND:ELLNESS&OMMITTEEe7HISCOMMITTEECONDUCTSRESEARCHAS
                  well as creates and exchanges industry knowledge to help shape the future of the
                  distribution for health, beauty and wellness/consumer products in the healthcare
                  SUPPLY CHAINf 3ARTICIPATION IN THIS COMMITTEE INCLUDES DISTRIBUTOR AND
                  manufacturer members.198

             d. LogisticS 2PERATION &OMMITTEE e7HIS COMMITTEE INITIATES PROJECTS DESIGNED TO
                help members enhance the productivity, efficiency and customer satisfaction
                within the healthcare supply chain. Its major areas of focus include process
                automation, information systems, operational integration, resource management
                AND QUALITY IMPROVEMENTf 3ARTICIPATION IN THIS COMMITTEE INCLUDES DISTRIBUTORS
                and manufacturer members.199

             e. 0ANUFACTURER *OVERNMENT $FFAIRS $DVISORY &OMMITTEE e7HIS COMMITTEE
                PROVIDESAFORUMFORBRIEFING+'$hSmanufacturer members on federal and state
                legislative and regulatory activity affecting the pharmaceutical distribution
                channel. Topics discussed include such issues as prescription drug traceability,
                distributor licensing, FDA and DEA regulation of distribution, importation and
                0EDICAID0EDICARE REIMBURSEMENTf 3ARTICIPATION IN THIS COMMITTEE INCLUDES
                manufacturer members. 200




196
   Councils and Committees, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/councils-and-committees.
197
      Id.
198
      Id.
199
      Id.
200
      Id.



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               f. Bar Code Task Force: Participation includes Distributor, Manufacturer and
                  Service Provider Members.201

               g. eCommerce Task Force: Participation includes Distributor, Manufacturer and
                  Service Provider Members.202

               h. ASN Working Group: Participation includes Distributor, Manufacturer and
                  Service Provider Members.203

               i. &ONTRACTSAND&HARGEBACKS:ORKING*ROUPe7HISWORKINGGROUPEXPLORESHOW
                  the contract administration process can be streamlined through process
                  improvements or technical efficiencies. It also creates and exchanges industry
                  KNOWLEDGE OF INTEREST TO CONTRACT AND CHARGEBACK PROFESSIONALSf 3ARTICIPATION
                  includes Distributor and Manufacturer Members.204

            364. The councils, committees, task forces and working groups provided the

Manufacturer and Distributor Defendants with the opportunity to work closely together in

SHAPINGTHEIRCOMMONGOALSANDFORMINGTHEENTERPRISEhSORGANIZATION

            365. The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

THE0ANUFACTURER'EFENDANTSASANOPPORTUNITYTOeBRINGTOGETHERHIGH-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing

INDUSTRY ISSUESf205 The conferences also gave the Manufacturer and Distributor Defendants

eUNMATCHEDOPPORTUNITIESTONETWORKWITH>THEIR?PEERSANDTRADINg partners at all levels of the

HEALTHCAREDISTRIBUTIONINDUSTRYf206 The HDA and its conferences were significant opportunities


201
      Id.
202
      Id.
203
      Id.
204
      Id.
205
   Business and Leadership Conference c Information for Manufacturers, Healthcare Distribution Alliance,
(accessed on September 14, 2017), https://www.healthcaredistribution.org/events/2015-business-and-leadership-
conference/blc-for-manufacturers.
206
      Id.



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for the Manufacturer and Distributor Defendants to interact at a high level of leadership. It is

clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

these events.207

            366. Third, the RICO Defendants maintained their interpersonal relationships by

working together, exchanging information and driving the unlawful sales of their opioids through

their contractual relationships, including chargebacks and vault security programs.

            367. The Manufacturer Defendants engaged in an industry-wide practice of paying

rebates and/or chargebacks to the Distributor Defendants for sales of prescription opioids.208 As

reported in the Washington Post, identified by Senator McCaskill and acknowledged by the

HDA, there is an industry-wide practice whereby the Manufacturers paid the Distributors rebates

and/or chargebacks on their prescription opioid sales.209 On information and belief, these

contracts were negotiated at the highest levels, demonstrating ongoing relationships between the

Manufacturer and Distributor Defendants. In return for the rebates and chargebacks, the

Distributor Defendants provided the Manufacturer Defendants with detailed information

regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

notices, and invoices.210 The Manufacturer Defendants used this information to gather high-level



207
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance, (accessed on September
14, 2017), https://www.healthcaredistribution.org/events/2015-distribution-management-conference.
208
   Lenny Bernstein & Scott Higham, 7HEGOVERNMENThSSTRUGGLETOHOLDOPIOIDMANUFACTURERSACCOUNTABle, The
Washington Post, (April 2, 2017), https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-manufacturers.png; Letter from
Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (accessed on
September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.
209
      Id.
210
   Webinars, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.



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data regarding overall distribution and direct the Distributor Defendants on how to most

effectively sell the prescription opioids.

       368. The contractual relationships among the RICO Defendants also include vault

security programs. The RICO Defendants are required to maintain certain security protocols and

storage facilities for the manufacture and distribution of their opiates. Plaintiff is informed and

believes that Manufacturers negotiated agreements whereby the Manufacturers installed security

vaults for Distributors in exchange for agreements to maintain minimum sales performance

thresholds. Plaintiff is informed and believes that these agreements were used by the RICO

Defendants as a tool to violate their reporting and diversion duties in order to reach the required

sales requirements.

       369. Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants

were not two separate groups operating in isolation or two groups forced to work together in a

closed system. The RICO Defendants operated together as a united entity, working together on

multiple fronts, to engage in the unlawful sale of prescription opioids. The HDA and the Pain

Care Forum are but two examples of the overlapping relationships, and concerted joint efforts to

accomplish common goals and demonstrates that the leaders of each of the RICO Defendants

were in communication and cooperation.

       370. According to articles published by the Center for Public Integrity and The

Associated Press, the Pain Care Forum c the members of which include the Manufacturers and

THE 'ISTRIBUTORSh TRADE ASSOCIATION c has been lobbying on behalf of the Manufacturers and




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DistRIBUTORSFOReMORETHANADECADEf211 Additionally, from 2006 to 2016, the Distributors and

Manufacturers worked together through the Pain Care Forum to spend over $740 million

LOBBYING IN THE NATIONhS CAPITAL AND IN ALL  STATEHOUSES ON ISSUES INCLUDING OPioid-related

measures.212 Similarly, the HDA has continued its work on behalf of Distributors and

Manufacturers, without interruption, since at least 2000, if not longer.213

            371. As described above, the RICO Defendants began working together as early as 2006

through the Pain Care Forum and/or the HDA to promote the common purpose of their

enterprise. Plaintiff is informed and believes that the RICO Defendants worked together as an

ongoing and continuous organization throughout the existence of their enterprise.

                      B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE

            372. During the time period alleged in this Complaint, the RICO Defendants exerted

control over, conducted and/or participated in the Opioid Diversion Enterprise by fraudulently

failing to comply with their Federal and State obligations to identify, investigate and report

suspicious orders of opioids in order to prevent diversion of those highly addictive substances

into the illicit market and to halt such unlawful sales so as to increase production quotas and

generate unlawful profits, as follows:

            373. Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligations to maintain effective controls against diversion

of their prescription opioids.



211
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (accessed September 19, 2017), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.
212
      Id.
213
   HDA History, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/hda-history.



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         374. Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligations to design and operate a system to disclose to the

registrant suspicious orders of their prescription opioids.

         375. Defendants disseminated false and misleading statements to the public claiming

that they were complying with their obligation to notify the DEA of any suspicious orders or

diversion of their prescription opioids.

         376. Defendants paid nearly $800 million dollars to influence local, state and federal

governments through joint lobbying efforts as part of the Pain Care Forum. The RICO

Defendants were all members of their Pain Care Forum either directly or indirectly through the

HDA. The lobbying efforts of the Pain Care Forum and its members included efforts to pass

LEGISLATION MAKING IT MOREDIFFICULT FOR THE '($ TO SUSPEND ANDOR REVOKE THE0ANUFACTURERSh

AND'ISTRIBUTORShREGISTRATIONSFORFAILURETOREPORTSUSPICIOUSORDERSOFOPIOIDS

         377. The RICO Defendants exercised control and influence over the distribution

industry by participating and maintaining membership in the HDA.

         378. The RICO Defendants applied political and other pressure on the DOJ and DEA to

halt prosecutions for failure to report suspicious orders of prescription opioids and lobbied

Congress to strip the DEA of its ability to immediately suspend registrations pending

INVESTIGATIONBYPASSINGTHEe(NSURING3ATIENT$CCESSAND(FFECTIVE'RUG(NFORCEMENT$CTf 214


214
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre,  :8AGQ28#47AB
'8478EF;<CR<A21@<7!?BB7B9+4<A+<??F, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.



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         379. The RICO Defendants engaged in an industry-wide practice of paying rebates and

chargebacks to incentivize unlawful opioid prescription sales. Upon information and belief, the

Manufacturer Defendants used the chargeback program to acquire detailed, high-level data

regarding sales of the opioids they manufactured. Additionally, upon information and belief, the

Manufacturer Defendants used this high-LEVELINFORMATIONTODIRECTTHE'ISTRIBUTOR'EFENDANTSh

sales efforts to regions where prescription opioids were selling in larger volumes.

         380. The Manufacturer Defendants lobbied the DEA to increase Aggregate Production

Quotas year after year by submitting net disposal information that the Manufacturer Defendants

knew included sales that were suspicious and involved the diversion of opioids the RICO

Defendants had not properly investigated or reported.

         381. 7HE 'ISTRIBUTOR 'EFENDANTS DEVELOPED eKNOW YOUR CUSTOMERf QUESTIONNAIRES AND

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007, was

intended to help the RICO Defendants identify suspicious orders or customers who were likely to

divert prescription opioids.215 2N INFORMATION AND BELIEF THE eKNOW YOUR CUSTOMERf

questionnaires informed the RICO Defendants of the number of pills that the pharmacies sold,

how many non-controlled substances they sold compared to controlled substances, whether the

pharmacy buys from other distributors, and the types of medical providers in the area, including

pain clinics, general practitioners, hospice facilities, cancer treatment facilities, among others,

and these questionnaires put the recipients on notice of suspicious orders.




215
   Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard Widup, Jr.,
Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and McQuite
Woods LLC, (available at
https://www.mcguirewoods.com/news-resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).



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            382. The RICO Defendants refused to identify, investigate and report suspicious orders

to the DEA when they became aware of the same despite their actual knowledge of drug

diversion rings. The RICO Defendants refused to identify suspicious orders and diverted drugs

despite the DEA issuing final decisions against the Distributor Defendants in 178 registrant

actions between 2008 and 2012216 and 117 recommended decisions in registrant actions from

The Office of Administrative Law Judges. These numbers include 76 actions involving orders to

show cause and 41 actions involving immediate suspension orders -- all for failure to report

suspicious orders.217

            383. 'EFENDANTSh SCHEME HADA DECISION-making structure driven by the Manufacturer

Defendants and corroborated by the Distributor Defendants. The Manufacturer Defendants

WORKEDTOGETHERTOCONTROLTHE6TATEAND)EDERAL*OVERNMENThSRESPONSETOTHEMANUFACTUREAND

distribution of prescription opioids by increasing production quotas through a systematic refusal

to maintain effective controls against diversion and identify suspicious orders and report them to

the DEA.

            384. The RICO Defendants worked together to control the flow of information and

influence state and federal governments and political candidates to pass legislation that was pro-

opioid. The Manufacturer and Distributor Defendants did this through their participation in the

PCF and HDA.

            385. The RICO Defendants also worked together to ensure that the Aggregate

Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA stayed high

and ensured that suspicious orders were not reported to the DEA. By not reporting suspicious


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  (VALUATION AND ,NSPECTIONS 'IV 2FFICE OF THE ,NSPECTOR *EN 86 'EPhT OF -USTICE The Drug Enforcement
7@<A<FGE4G<BATF7=H7<64G<BAB9-8:<FGE4AG6G<BAF 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
217
      Id.



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orders or diversion of prescription opioids, the RICO Defendants ensured that the DEA had no

basis for refusing to increase or decrease the production quotas for prescription opioids due to

diversion of suspicious orders. The RICO Defendants influenced the DEA production quotas in

the following ways:

             a. The Distributor Defendants assisted the enterprise and the Manufacturer
                Defendants in their lobbying efforts through the PCF;

             b. The Distributor Defendants invited the participation, oversight and control of the
                Manufacturer Defendants by including them in the HDA, including on the
                councils, committees, task forces and working groups;

             c. The Distributor Defendants provided sales information to the Manufacturer
                Defendants regarding their prescription opioids, including reports of all opioid
                prescriptions filled by the Distributor Defendants;

             d. The Manufacturer Defendants used a chargeback program to ensure delivery of
                THE'ISTRIBUTOR'EFENDANTShSALESINFORMATION

             e. The Manufacturer Defendants obtained sales information from QuintilesIMS
                 FORMERLY,06+EALTHTHATGAVETHEMAeSTREAMOFDATASHOWINGHOWINDIVIDUAL
                doctors acROSSTHENATIONWEREPRESCRIBINGOPIOIDSf218

             f.    The Distributor Defendants accepted rebates and chargebacks for orders of
                  prescription opioids;

             g. 7HE0ANUFACTURER'EFENDANTSUSEDTHE'ISTRIBUTOR'EFENDANTShSALESINFORMATION
                and the data from QuintilesIMS to instruct the Distributor Defendants to focus
                their distribution efforts to specific areas where the purchase of prescription
                opioids was most frequent;

             h. The RICO Defendants identified suspicious orders of prescription opioids and
                then continued filling those unlawful orders, without reporting them, knowing that
                they were suspicious and/or being diverted into the illicit drug market;

             i. The RICO Defendants refused to report suspicious orders of prescription opioids
                despite repeated investigation and punishment of the Distributor Defendants by
                the DEA for failure to report suspicious orders; and

218
   Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What
the drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.



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           j. The RICO Defendants withheld information regarding suspicious orders and
              ILLICITDIVERSIONFROMTHE'($BECAUSEITWOULDHAVEREVEALEDTHATTHEeMEDICAL
              NEEDfFORANDTHENEt disposal of their drugs did not justify the production quotas
              set by the DEA.

       386. The scheme the RICO Defendants devised and implemented amounted to a

common course of conduct characterized by a refusal to maintain effective controls against

diversion, and all designed and operated to ensure the continued unlawful sale of controlled

substances.

                   C. PATTERN OF RACKETEERING ACTIVITY.

       387. The RICO Defendants conducted and participated in the conduct of the Opioid

Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. §

1961(B), including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343 and 18

U.S.C. § 1961(D)) by the felonious manufacture, importation, receiving, concealment, buying,

selling or otherwise dealing in a controlled substance or listed chemical (as defined in section

102 of the Controlled Substance Act), punishable under any law of the United States.

1. The RICO Defendants Engaged in Mail and Wire Fraud.

       388. The RICO Defendants carried out, or attempted to carry out, a scheme to defraud

federal and state regulators and the American public by knowingly conducting or participating in

the conduct of the Opioid Diversion Enterprise through a pattern of racketeering activity within

the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation

of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       389. The RICO Defendants committed, conspired to commit and/or aided and abetted in

the commission of at least two predicate acts of racketeering activity (i.e., violations of 18 U.S.C.

§§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity that the

RICO Defendants committed, or aided and abetted in the commission of, were related to each


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other, posed a threat of conTINUED RACKETEERING ACTIVITY AND THEREFORE CONSTITUTE A ePATTERN OF

RACKETEERING ACTIVITYf 7HE RACKETEERING ACTIVITY WAS MADE POSSIBLE BY THE 5,&2 'EFENDANTSh

regular use of the facilities, services, distribution channels and employees of the Opioid

Diversion Enterprise. The RICO Defendants participated in the scheme to defraud by using mail,

telephone and the internet to transmit mailings and wires in interstate or foreign commerce.

        390. The RICO Defendants used, directed the use of and/or caused to be used thousands

of interstate mail and wire communications in service of their scheme through virtually uniform

misrepresentations, concealments and material omissions regarding their compliance with their

mandatory reporting requirements and the actions necessary to carry out their unlawful goal of

selling prescription opioids without reporting suspicious orders or the diversion of opioids into

the illicit market.

        391. In devising and executing the illegal scheme, the RICO Defendants devised and

knowingly carried out a material scheme and/or artifice to defraud by means of materially false

or fraudulent pretenses, representations, promises or omissions of material facts. For the purpose

of executing the illegal scheme, the RICO Defendants committed these racketeering acts, which

number in the thousands, intentionally and knowingly with the specific intent to advance the

illegal scheme.

        392. 7HE 5,&2 'EFENDANTSh PREDICATE ACTS OF RACKETEERING  86& ]  

include, but are not limited to:

            a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or
               receiving, or by causing to be sent and/or received, materials via U.S. mail or
               commercial interstate carriers for the purpose of executing the unlawful scheme to
               design, manufacture, market and sell the prescription opioids by means of false
               pretenses, misrepresentations, promises and omissions.

            b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by transmitting
               and/or receiving, or by causing to be transmitted and/or received, materials by


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               wire for the purpose of executing the unlawful scheme to design, manufacture,
               market and sell the prescription opioids by means of false pretenses,
               misrepresentations, promises and omissions.

       393. 7HE 5,&2 'EFENDANTSh USE OFTHE MAIL AND WIRES INCLUDES BUT IS NOT LIMITED TO

Manufacturers, Distributors or third parties that were foreseeably caused to conduct the

TRANSMISSIONDELIVERYORSHIPMENTOFTHEFOLLOWINGASARESULTOFTHE5,&2'EFENDANTShILLEGAL

scheme, including but not limited to:

           a. The prescription opioids themselves;

           b. Documents and communications that facilitated the manufacture, purchase and
              unlawful sale of prescription opioids;

           c. 'EFENDANTSh'($REGISTRATIONS

           d. 'OCUMENTS AND COMMUNICATIONS THAT SUPPORTED ANDOR FACILITATED 'EFENDANTSh
              DEA registrations;

           e. Documents and COMMUNICATIONSTHATSUPPORTEDANDORFACILITATEDTHE'EFENDANTSh
              request for higher aggregate production quotas, individual production quotas and
              procurement quotas;

           f. 'EFENDANTSh RECORDS AND REPORTS THAT  86& ]  REQUIRED 'EFENDANTS TO
              submit to the DEA;

           g. 'OCUMENTS AND COMMUNICATIONS RELATED TO THE 'EFENDANThS MANDATORY '($
              reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

           h. 'OCUMENTSINTENDEDTOFACILITATETHEMANUFACTUREANDDISTRIBUTIONOF'EFENDANTSh
              prescription opioids, including bills of lading, invoices, shipping records, reports
              and correspondence;

           i. Documents for processing and receiving payment for prescription opioids;

           j. Payments from the Distributors to the Manufacturers;

           k. Rebates and chargebacks from the Manufacturers to the Distributors;

           l. 3AYMENTSTO'EFENDANTShLOBBYISTSTHROUGHTHEPCF;




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           m. 3AYMENTS TO 'EFENDANTSh TRADE ORGANIZATIONS LIKE THE +'$ FOR MEMBERSHIPS
              and/or sponsorships;

           n. 'EPOSITS OF PROCEEDS FROM 'EFENDANTSh MANUFACTURE AND DISTRIBUTION OF
              prescription opioids; and

           o. Other documents and things, including electronic communications.

       394. On information and belief, the RICO Defendants (and/or their agents), for the

purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or

received) shipments of prescription opioids and related documents by mail or by private carrier

affecting interstate commerce, including the following:

           a. Purdue manufactures multiple forms of prescription opioids, including, but not
              limited to: OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER
              and Targiniq ER. Purdue manufactured and shipped these prescription opioids to
              the Distributor Defendants in this jurisdiction.

           b. 7HE'ISTRIBUTOR'EFENDANTSSHIPPED3URDUEhSPRESCRIPTIONOPIOIDSTHROUGHOUTTHIS
              jurisdiction.

           c. Cephalon manufactures multiple forms of prescription opioids, including, but not
              limited to: Actiq and Fentora. Cephalon manufactured and shipped these
              prescription opioids to the Distributor Defendants in this jurisdiction.

           d. The Distributor Defendants shiPPED 7EVAhS PRESCRIPTION OPIOIDS THROUGHOUT THIS
              jurisdiction.

           e.    Janssen manufactures a prescription opioid known as Duragesic. Janssen
                manufactured and shipped its prescription opioids to the Distributor Defendants in
                this jurisdiction.

           f. The Distributor DefENDANTSSHIPPED-ANSSENhSPRESCRIPTIONOPIOIDSTHROUGHOUTTHIS
              jurisdiction.

           g. Endo manufactures multiple forms of prescription opioids, including, but not
              limited to: Opana/Opana ER, Percodan, Percocet and Zydone. Endo manufactured
              and shipped its prescription opioids to the Distributor Defendants in the State.

           h. 7HE'ISTRIBUTOR'EFENDANTSSHIPPED-ANSSENhSPRESCRIPTIONOPIOIDSTHROUGHOUTTHIS
              jurisdiction.


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           i. Actavis manufactures multiple forms of prescription opioids, including, but not
              limited to: Kadian and Norco, as well as generic versions of the drugs known as
              Kadian, Duragesic and Opana. Actavis manufactured and shipped its prescription
              opioids to the Distributor Defendants in this jurisdiction.

           j. 7HE'ISTRIBUTOR'EFENDANTSSHIPPED$CTAVIShPRESCRIPTIONOPIOids throughout this
              jurisdiction.

           k. Mallinckrodt manufactures multiple forms of prescription opioids, including, but
              not limited to: Exalgo and Roxicodone.

           l. 7HE 'ISTRIBUTOR 'EFENDANTS SHIPPED 0ALLINCKRODThS PRESCRIPTION OPIOIDS
              throughout this jurisdiction.

       395. The RICO Defendants also used the internet and other electronic facilities to carry

out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO

Defendants made misrepresentations about their compliance with Federal and State laws

requiring them to identify, investigate and report suspicious orders of prescription opioids and/or

diversion of the same into the illicit market.

       396. At the same time, the RICO Defendants misrepresented the superior safety features

of their order monitoring programs, ability to detect suspicious orders, commitment to preventing

diversion of prescription opioids and their compliance with all state and federal regulations

regarding the identification and reporting of suspicious orders of prescription opioids.

       397. Upon information and belief, the RICO Defendants utilized the internet and other

electronic resources to exchange communications, to exchange information regarding

prescription opioid sales and to transmit payments and rebates / chargebacks.

       398. The RICO Defendants also communicated by U.S. Mail, by interstate facsimile and

by interstate electronic mail with each other and various other affiliates, regional offices,

regulators, distributors and other third-party entities in furtherance of the scheme.




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       399. The mail and wire transmissions described herein were made in furtherance of

'EFENDANTSh SCHEME AND COMMON COURSE OF CONDUCT TO DECEIVE REGULATORS AND THE PUBLIC THAT

Defendants were complying with their state and federal obligations to identify and report

suspicious orders of prescription opioids, all while Defendants were knowingly allowing millions

of doses of prescription opioids to divert into the illicit drug market. The RICO Defendants

intended their scheme and common course of conduct to increase or maintain high production

quotas for their prescription opioids from which they could profit.

       400. Defendants have deliberately hid many of the precise dates of the fraudulent uses of

the U.S. mail and interstate wire facilities, and these cannot be alleged without access to

'EFENDANTSh BOOKS AND RECORDS +OWEVER 3LAINTIFF HAS DESCRIBED THE TYPES OF AND IN SOME

instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

       401. The RICO Defendants did not undertake the practices described herein in isolation,

but as part of a common scheme. These actions violate 18 U.S.C. § 1962(c). Various other

persons, firms and corporations, including third-party entities and individuals not named as

defendants in this Complaint, may have contributed to and/or participated in the scheme with the

RICO Defendants in these offenses and have performed acts in furtherance of the scheme to

increase revenues, increase market share and /or minimize the losses for the RICO Defendants.

       402. The RICO Defendants aided and abetted others in the violations of the above laws,

thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

       403. The RICO Defendants hid from the general public and suppressed and/or ignored

warnings from third parties, whistleblowers and governmental entities the reality of the




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suspicious orders that the RICO Defendants were filling on a daily basis -- leading to the

diversion of tens of millions of doses of prescription opioids into the illicit market.

       404. The RICO Defendants, with knowledge and intent, agreed to the overall objective

of their fraudulent scheme and participated in the common course of conduct to commit acts of

fraud and indecency in manufacturing and distributing prescription opioids.

       405. ,NDEEDFORTHE'EFENDANTShFRAUDULENTSCHEMETOWORKEACHOFTHE'EFENDANTSHAD

to agree to implement similar tactics regarding marketing prescription opioids and refusing to

report suspicious orders.

       406. As described herein, the RICO Defendants engaged in a pattern of related and

continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant monies and revenue

from the sale of their highly addictive and dangerous drugs. The predicate acts also had the same

or similar results, participants, victims and methods of commission. The predicate acts were

related and not isolated events.

       407. The predicate acts all had the purpose of generating significant revenue and profits

for the RICO Defendants, while Plaintiff was left with substantial injury to its business through

the damage that the prescription opioid epidemic caused. The RICO Defendants committed or

caused to be committed the predicate acts through their participation in the Opioid Diversion

Enterprise and in furtherance of its fraudulent scheme.

       408. The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

enterprise.




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         409. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

         410. RICO Defendants have hidden many of the precise dates of the criminal actions at

ISSUEHEREANDTHESECANNOTBEALLEGEDWITHOUTACCESSTO'EFENDANTShBOOKSANDRECORDS,NDEED

an essential part of the successful operation of the Opioids Addiction and Opioid Diversion

Enterprise alleged herein depended upon secrecy.

         411. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and their scheme

to increase and maintain their increased profits, without regard to the effect such behavior would

have on consumers in this jurisdiction, its citizens or the Plaintiff. In designing and implementing

the scheme, at all times Defendants were cognizant of the fact that those in the manufacturing

and distribution chain rely on the integrity of the pharmaceutical companies and ostensibly

NEUTRALTHIRDPARTIESTOPROVIDEOBJECTIVEANDRELIABLEINFORMATIONREGARDING'EFENDANTShPRODUCTS

and their manufacture and distribution of those products. The Defendants were also aware that

Plaintiff and the citizens of this jurisdiction rely on the Defendants to maintain a closed system

and to protect against the non-medical diversion and use of their dangerously addictive opioid

drugs.

         412. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.




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       413. It was foreseeable to Defendants that refusing to report and halt suspicious orders,

as required by the CSA and Code of Federal Regulations, would harm Plaintiff by allowing the

flow of prescription opioids from appropriate medical channels into the illicit drug market.

       414. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

2. The RICO Defendants Manufactured, Sold and/or Dealt in Controlled Substances, and
Their Crimes Are Punishable as Felonies.

       415. The RICO Defendants conducted and participated in the conduct of the affairs of

the Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.

§ 1961(D) by the felonious manufacture, importation, receiving, concealment, buying, selling or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

       416. The RICO Defendants committed crimes that are punishable as felonies under the

laws of the United States. Specifically, 21 U.S.C. § 483(a)(4) makes it unlawful for any person to

knowingly or intentionally furnish false or fraudulent information in, or omit any material

information from, any application, report, record or other document required to be made, kept or

filed under this subchapter. A violation of section 483(a)(4) is punishable by up to four years in

jail, making it a felony. 21 U.S.C. § 483(d)(1).

       417. Each of the RICO Defendants qualifies as a registrant under the CSA. Their status

as registrants under the CSA requires that they maintain effective controls against diversion of

controlled substances in schedule I or II, design and operate a system to disclose to the registrant

suspicious orders of controlled substances, and inform the DEA of suspicious orders when

discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).




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         418. The CSA and the Code of Federal Regulations required the RICO Defendants to

make reports to the DEA of any suspicious orders identified through the design and operation of

their system to disclose suspicious orders.

         419. The RICO Defendants knowingly and intentionally furnished false or fraudulent

information in their reports to the DEA about suspicious orders and/or omitted material

information from reports, records and other documents they were required to file with the DEA,

INCLUDING THE 0ANUFACTURER 'EFENDANTSh APPLICATIONS FOR PRODUCTION QUOTAS 6PECIFICALLY THE

RICO Defendants were aware of suspicious orders of prescription opioids and the diversion of

their prescription opioids into the illicit market and failed to report this information to the DEA

in their mandatory reports and their applications for production quotas.

         420. For example, the DEA and DOJ began investigating McKesson in 2013 regarding

its monitoring and reporting of suspicious controlled substances orders. On April 23, 2015,

McKesson filed a Form 8-K announcing a settlement with the DEA and DOJ wherein it admitted

to violating the CSA and agreed to pay $150 million and have some of its DEA registrations

suspended on a staggered basis. The settlement was finalized on January 17, 2017.219

         421. 3URDUEhS EXPERIENCE IN /OS $NGELES IS ANOTHER STRIKING EXAMPLE OF 'EFENDANTSh

willful violation of the CSA and Code of Federal Regulations as they relate to reporting

suspicious orders of prescription opioids. In 2016, the Los Angeles Times reported that Purdue

was aware of a pill mill operating out of Los Angeles, yet failed to alert the DEA.220 The LA

Times uncovered that Purdue began tracking a surge in prescriptions in Los Angeles, including

219
   McKesson, McKesson Finalizes Settlement with U.S. Department of Justice and U.S. Drug Enforcement
Administration to Resolve Past Claims, About McKesson / Newsroom / Press Releases, (January 17, 2017),
http://www.mckesson.com/about-mckesson/newsroom/press-releases/2017/mckesson-finalizes-settlement-with-doj-
and-dea-to-resolve-past-claims/.
220
   Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What
the drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.



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one prescriber in particular. A Purdue sales manager spoke with company officials in 2009 about

THE PRESCRIBER ASKING e6HOULDNhT THE '($ BE CONTACTED ABOUT THIS"f AND ADDING THAT SHE FELT

eVERYCERTAINTHISISANORGANIZEDDRUGRINGf221 Despite knowledge of the staggering amount of

PILLSBEINGISSUEDIN/OS$NGELESANDINTERNALDISCUSSIONOFTHEPROBLEMe3URDUEDIDNOTSHUT

off the supply of highly addictive OxyContin and did not tell authorities what it knew about Lake

Medical until several years later when the clinic was out of business and its leaders indicted. By

that time, 1.1 million pills had spilled into the hands of Armenian mobsters, the Crips gang and

OTHERCRIMINALSf222

            422. Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt, arguing that it

ignored its responsibility to report suspicious orders as 500 million of its pills ended up in

Florida between 2008 and 2012.223 After six years of DEA investigation, Mallinckrodt agreed to

a settlement involving a $35 million fine. Federal prosecutors summarized the case by saying

THAT0ALLINCKRODThSRESPONSEWASTHATEVERYONEKNEWWHATWASGOINGONIN)LORIDABUTTHEYHAD

no duty to report it.224

            423. Upon information and belief, THEFOREGOINGEXAMPLESREFLECTTHE5,&2'EFENDANTSh

pattern and practice of willfully and intentionally omitting information from their mandatory

reports to the DEA as required by 21 C.F.R. § 1301.74. The sheer volume of enforcement actions




221
      Id.
222
      Id.
223
   Lenny Bernstein & Scott Higham, 7HEGOVERNMENThSSTRUGGLETOHOLDOPIOIDMANUFACTURERSACCOUNTABLE, The
Washington Post, (April 2, 2017), https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356. This number accounted for 66% of all oxycodone sold in the state of
Florida during that time.
224
      Id.



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available in the public record against the Distributor Defendants supports this conclusion.225 For

example:

             a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                CENTER e2RLANDO)ACILITYfALLEGINGFAILURETOMAINTAINEFFECTIVECONTROLSAGAINST
                diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
                into a settlement that resulted in the suspension of its DEA registration;

             b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the Cardinal Health Auburn, Washington Distribution
                &ENTER e$UBURN )ACILITYf FOR FAILURE TO MAINTAIN EFFECTIVE CONTROLS AGAINST
                diversion of hydrocodone;

             c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the Cardinal Health Lakeland, Florida Distribution
                &ENTER e/AKELAND )ACILITYf FOR FAILURE TO MAINTAIN EFFECTIVE CONTROLS AGAINST
                diversion of hydrocodone;

             d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the Cardinal Health Swedesboro, New Jersey
                'ISTRIBUTION &ENTER e6WEDESBORO )ACILITYf FOR FAILURE TO MAINTAIN EFFECTIVE
                controls against diversion of hydrocodone;

             e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
                Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
                 e6TAFFORD)ACILITYfFORFAILURETOMAINTAINEFFECTIVECONTROLSAGAINSTDIVERSIONOF
                hydrocodone;

             f. On May 2, 2008, McKesson Corporation entered into an Administrative
                Memorandum of Agreement e02$fWITHTHE'($, which provided that
                0C.ESSONWOULDeMAINTAINACOMPLIANCEPROGRAMDESIGNEDTODETECTANDPREVENT
                the diversion of controlled substances, inform DEA of suspicious orders required
                by 21 C.F.R. § 1301.74(b), and follow the procedures established by its
                Controlled Substance Monitoring Program;f

             g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
                Agreement and Administrative Memorandum of Agreement with the DEA related
                to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford

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  (VALUATIONAND,NSPECTIONS'IV2FFICEOFTHE,NSPECTOR*EN86'EPhTOF-USTICEThe Drug Enforcement
7@<A<FGE4G<BATF7=H7<64G<BAB9-8:<FGE4AG6G<BAF 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.



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                 Facility. The document also referenced allegations by the DEA that Cardinal
                 failed to maintain effective controls against the diversion of controlled substances
                 at its distribution facilities located in McDonough, *EORGIA e0C'ONOUGH
                 )ACILITYf 9ALENCIA &ALIFORNIA e9ALENCIA )ACILITYf; and Denver, Colorado
                  e'ENVER)ACILITYf

              h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
                 Suspension Order against the Cardinal Health Lakeland, Florida Distribution
                 &ENTER e/AKELAND )ACILITYf FOR FAILURE TO MAINTAIN EFFECTIVE CONTROLS AGAINST
                 diversion of oxycodone;

              i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
                 DEA to resolve the civil penalty portion of the administrative action taken against
                 its Lakeland, Florida Distribution Center; and

              j. On January 5, 2017, McKesson Corporation entered into an Administrative
                 Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000
                 civil penalty for violation of the 2008 MOA as well as failure to identify and
                 report suspicious orders at its facilities in in Aurora, Colorado; Aurora, Illinois;
                 Delran, New Jersey; LaCrosse, Wisconsin; Lakeland, Florida; Landover,
                 Maryland; La Vista, Nebraska; Livonia, Michigan; Livonia, Michigan; Methuan,
                 Massachusetts; Santa Fe Springs, California; Washington Courthouse, Ohio; and
                 West Sacramento, California.

       424. These actions against the Distributor Defendants confirm that the Distributor

Defendants knew they had a duty to maintain effective controls against diversion, design and

operate a system to disclose suspicious orders, and to report suspicious orders to the DEA. These

actions also demonstrate, on information and belief, that the Manufacturer Defendants were

aware of the enforcement against their Distributors and the diversion of the prescription opioids

and a corresponding duty to report suspicious orders.

       425. The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.




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       426. 0ANY OF THE PRECISE DATES OF 'EFENDANTSh CRIMINAL ACTIONS AT ISSUE HEREIN WERE

hidden and cannot be alleged without access TO 'EFENDANTSh BOOKS AND RECORDS ,NDEED AN

essential part of the successful operation of the Opioid Diversion Enterprise depended upon the

secrecy of the participants in that enterprise.

       427. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission and had similar

results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

profits from unlawful sales of opioids, without regard to the effect such behavior would have on

this jurisdiction, its citizens or the Plaintiff. The Defendants were aware that Plaintiff and the

citizens of this jurisdiction rely on the Defendants to maintain a closed system of manufacturing

and distribution to protect against the non-medical diversion and use of their dangerously

addictive opioid drugs.

       428. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       429. It was foreseeable to Defendants that refusing to report and halt suspicious orders,

as required by the CSA and Code of Federal Regulations, would harm Plaintiff by allowing the

flow of prescription opioids from appropriate medical channels into the illicit drug market.

       430. The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

                   D. DAMAGES

       431. 7HE5,&2'EFENDANTShVIOLATIONSOFLAWANDTHEIRPATTERNOFRACKETEERINGACTIVITY

directly and proximately caused Plaintiff injury in its business and property because Plaintiff


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paid for costs associated with the opioid epidemic, as described above in allegations expressly

incorporated herein by reference.

        432. Defendantsh racketeering activities proximately caused PlaintiffhS injuries and those

of her citizens. But for the RICO DefendANTShCONDUCT3LAINTIFFWOULDNOTHAVEPAIDTHEHEALTH

services and law enforcement services and expenditures required as a result of the plague of

drug-addicted residents.

        433. 7HE 5,&2 'EFENDANTSh RACKETEERING ACTIVITIES DIRECTLY CAUSED PlaintiffhS injuries

and those of her citizens.

        434. Plaintiff was most directly harmed and there is no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

        435. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorneysh fees and all costs and expenses of suit, and pre- and post-judgment interest.

                                COUNT III
         RACKETEER-INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                         18 U.S.C. 1962(d), et seq.
                          (Against All Defendants)

        436. Plaintiff hereby incorporates by reference all other paragraphs of this Complaint as

if fully set forth herein, and further alleges as follows.

        437. Plaintiff brings this claim on its own behalf against all RICO Defendants. At all

relevant times, the RICO Defendants were associated with the Opioid Diversion Enterprise and

agreed and conspired to violate 18 U.S.C. § 1962(c), that is, they agreed to conduct and

participate, directly and indirectly, in the conduct of the affairs of the Opioid Diversion

Enterprise through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(d). Under




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Section 1962(d), ITISUNLAWFULFOReANYPERSONTOCONSPIRETOVIOLATEf6ECTION DAMONG

other provisions. 18 U.S.C. § 1962(d).

       438. Defendants conspired to violate Section 1962(c), as alleged more fully above, by

conducting the affairs of the Opioid Diversion Enterprise through a pattern of racketeering

activity, as incorporated by reference below.

   A. THE OPIOID DIVERSION ENTERPRISE.

       439. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the eOpioid Diversion

Enterprise.f

   B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

       440. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the e&ONDUCTOFTHEOpioid

Diversion Enterprise.f

   C. PATTERN OF RACKETEERING ACTIVITY.

       441. For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

incorporates by reference the paragraphs set out above concerning the e3ATTERNOF5ACKETEERING

$CTIVITYf

   D. DAMAGES.

       442. 7HE5,&2'EFENDANTShVIOLATIONSOFLAWANDTHEIRPATTERNOFRACKETEERINGACTIVITY

directly and proximately caused Plaintiff injury in its business and property because Plaintiff

paid for costs associated with the opioid epidemic, as described above in allegations expressly

incorporated herein by reference.

       443. THE 5,&2 'EFENDANTSh RACKETEERING ACTIVITIES proximately caused PlaintiffhS

injuries and those of her citizens %UT FOR THE 5,&2 'EFENDANTSh CONDUCT 3LAINTIFF WOULD NOT


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have paid the health services and law enforcement services and expenditures required as a result

of the plague of drug-addicted residents.

       444. THE 5,&2 'EFENDANTSh Racketeering activities directly caused PlaintiffhS injuries

and those of her citizens.

       445. Plaintiff was most directly harmed and there is no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

       446. Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorneysh fees and all costs and expenses of suit and pre- and post-judgment interest.

                             COUNT IV
GEORGIA RICO (RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS)
                  ACT, Ga. Code Ann. § 16-14-1 et seq.
                       (Against All Defendants)

       447. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       448. Plaintiff has standing to bring this action as an eaggrieved personf*A&ODE$NN

§ 16-14-6(b); see also Ga. Code Ann. § 16-1-3(12).

       449. The Georgia RICO Act STATESTHATe>I?TSHALLBEUNLAWFULFORANYPERSONTHROUGHA

pattern of racketeering activity or proceeds derived therefrom, to acquire or maintain, directly or

indirectly, any interest in or control of any enterprise, real property, or personal property of any

nature, including money.f*A&ODE$NN]-14-4(a).

       450. egRacketeering activityh means to commit, to attempt to commit, or to solicit,

coerce, or intimidate another person to commit any crime which is chargeable by indictment

under the laws of this state involvingf inter alia, e7HEgGeORGIA&ONTROLLED6UBSTANCES$CTh in

violation of Article 2 of Chapter 13 of this title[.]f Ga. Code Ann. § 16-14-3(5)(A)(xxxiv).



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       451. eg5ACKETEERING ACTIVITYh SHALL ALSO MEAN ANY ACT    INVOLVING    DEALING IN

NARCOTICORDANGEROUSDRUGSbf*A&ODE$NN]-14-3(5)(B).

       452. eg5ACKETEERING ACTIVITYh SHALL ALSO MEAN ANY CONDUCT DEFINED AS gracketeering

ACTIVITYh under 18 U.S.C. Section 1961 (1), bf*A&ODE$NN]-14-3(5)(C).

       453. The RICO Defendants violated the Georgia RICO Act by conspiring to, attempting

and actually engaging in violations of the Georgia Controlled Substances Act, illegally dealing in

narcotic or dangerous drugs, and violating 18 U.S.C. Section 1961(1), as described above in

allegations expressly incorporated herein by reference.

       454. Defendants violated the Georgia RICO Act by conducting the affairs of the Opioid

Diversion Enterprise through a pattern of racketeering activity, as described above in allegations

expressly incorporated herein by reference, in violation of Section 16-14-4(a). Ga. Code Ann. §

16-14-4(a).

       455. 7HE5,&2'EFENDANTSh 2PIOID'IVERSION(NTERPRISEEXISTEDASANeENTERPRISEfAS

defined in the Georgia RICO Act. Ga. Code Ann. § 16-14-3(3).

       456. As described above and as fully incorporated herein, the violations set forth herein

CONSTITUTEeRACKETEERINGACTIVITYfwithin the meaning of section 16-14-3(5) with at least two such

acts of racketeering activity having occurred within the past four years.

       457. 7HE5,&2'EFENDANTShVIOLATIONSOFLAWANDTHEIRPATTERNOFRACKETEERINGACTIVITY

directly and proximately caused Plaintiff injury in its business and property because Plaintiff

paid for costs associated with the opioid epidemic, as described above in allegations expressly

incorporated herein by reference.

       458. 3LAINTIFFhS INJURIES AND THOSE OF THE CITIZENS OF 3LAINTIFFhS Community, were

PROXIMATELY CAUSED BY THE 5,&2 'EFENDANTSh RACKETEERING ACTIVITIES %UT FOR THE 5,&2




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'EFENDANTSh CONDUCT 3LAINTIFF WOULD NOT HAVE PAID THE HEALTH SERVICES AND LAW ENFORCEMENT

services and expenditures required as a result of the plague of drug-addicted residents.

       459. 3LAINTIFFhS INJURIES AND THOSE OF HER CITIZENS WERE DIRECTLY CAUSED BY THE 5,&2

'EFENDANTShRACKETEERINGACTIVITIES.

       460. Plaintiff was most directly harmed and there is no other Plaintiff better suited to

seek a remedy for the economic harms at issue here.

       461. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, punitive damages, equitable reliefATTORNEYhSFEESANDALLCOSTS

and expenses of investigation and suit and pre- and post-judgment interest. Ga. Code Ann. § 16-

14-6(b) & (c).

                                    COUNT V
                 NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                              (Against All Defendants)

       462. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       463. Plaintiff seeks economic damages that WERETHEFORESEEABLERESULTOF'EFENDANTSh

intentional and/or unlawful actions and omissions.

       464. Under State law, to establish actionable negligence, one must show: the existence

of a duty to conform to a standard of conduct raised by the law for the protection of others

against unreasonable risks of harm, a breach of that duty, and injury resulting proximately

therefrom and/or that was substantially caused thereby. All such essential elements exist here.

       465. Georgia RECOGNIZESTHEeGENERALDUTYONESOWESTOALLTHEWORLDNOTTOSUBJECTTHEM

TOANUNREASONABLERISKOFHARMf%RADLEY&TR,NCV:ESSNER*A6(D

693, 695 (1982) (citing Restatement, Torts, 2d § 282). Each Defendant owed a duty to the

3LAINTIFFANDTOTHEPUBLICHEALTHANDSAFETYINTHE3LAINTIFFhS&OMMUNITY


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       466. In Georgia, the imposition of a duty cannot be separated from foreseeability, such

that eTHEREMUSTBEEVIDENCETHATTHEACT OR omission to act) alleged to be negligent created a

FORESEEABLEUNREASONABLERISKOFHARMf/OVEV0OREHOUSE&OLL,NC*A$PP

652 S.E.2d 624, 626 (2007) (citations and quotations omitted) (emphasis in original). For a party

to be liable for negligence, eITISNOTNECESSARYTHATHESHOULDHAVEBEENABLETOANTICIPATETHE

particular consequences which ensued. It is sufficient if, in ordinary prudence, he might have

foreseen that some injury would result from his act or omission, and that consequences of a

GENERALLYINJURIOUSNATUREMIGHTRESULTf)REEMANV:ALcMart Stores, Inc., 281 Ga.App. 132,

136, 635 S.E.2d 399, 402 (2006) (cit. om.).

       467. Each Defendant owed a duty to the Plaintiff and to the public health and safety in

THE 3LAINTIFFhS &OMmunity because the injury was foreseeable and, in fact, foreseen by the

Defendants. If a course of action creates a foreseeable risk of injury, the individual engaged in

that course of action has a duty to protect others from such injury. Each Defendant owed a duty

to the Plaintiff and to the public in the 3LAINTIFFhS&OMMUNITY, because the injury was foreseeable

and, in fact, foreseen by the Defendants.

       468. Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling and distributing highly dangerous opioid drugs to the State and 3LAINTIFFhS

Community.

       469. Each Defendant had an obligation to exercise due care in manufacturing,

marketing, selling and distributing highly dangerous opioid drugs in the State and 3LAINTIFFhS

Community.

       470. Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities and




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impose significant costs upon the governmental entities associated with those communities. The

closed system of opioid distribution whereby wholesale distributors are the gatekeepers between

manufacturers and pharmacies, and wherein all links in the chain have a duty to prevent

diversion, exists for the purpose of controlling dangerous substances such as opioids and

preventing diversion and abuse.

       471. Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe harm of

addiction, foreseeably causing patients to seek increasing levels of opioids, frequently turning to

the illegal drug market as a result of a drug addiction that was foreseeable to the Manufacturer

Defendants.

       472. Moreover, law enforcement repeatedly warned Defendants of the unlawfulness and

consequences of their actions and omissions.

       473. 7HEESCALATINGAMOUNTSOFADDICTIVEDRUGSFLOWINGTHROUGH'EFENDANTShBUSINESSES

and the sheer volume of these prescription opioids, further alerted Defendants that addiction was

fueling increased consumption and that legitimate medical purposes were not being served.

       474. As described above in allegations expressly incorporated herein, Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution of

dangerous opioids, which are Schedule II Controlled Substances, by failing to monitor for,

failing to report, and filling highly suspicious orders time and again. Because the very purpose of

these duties was to prevent the resulting harm c diversion of highly addictive drugs for non-

medical purposes c THECAUSALCONNECTIONBETWEEN'EFENDANTShBREACHOFDUTIESANDTHEENSUING

harm was entirely foreseeable.




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       475. Under Georgia law, the elements for negligent misrepresentation include: 1) the

negligent supply of false information to foreseeable persons, known or unknown; (2) such

PERSONSh reasonable reliance upon that false information; and (3) economic injury proximately

resulting from such reliance. Futch v. Lowndes County, 297 Ga.App. 308, 312, 676 S.E.2d 892

(2009); Hardaway Co. v. Parsons, Brinckerhoff, Quade & Douglas, Inc., 267 Ga. 424, 479

S.E.2d 727, 729 (1997).

       476. As described elsewhere in the Complaint in allegations expressly incorporated

HEREIN'EFENDANTSSUPPLIEDINFORMATIONTO3LAINTIFFAND3LAINTIFFhS&OMMUNity.

       477. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Distributor Defendants misrepresented their compliance with their duties under the law

and concealed their noncompliance and shipments of suspicious orders of opioids to 3LAINTIFFhS

Community and destinations from which they knew opioids were likely to be diverted into

3LAINTIFFhS&OMMUNITY, in addition to other misrepresentations alleged and incorporated herein.

       478. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the business of

pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled

Substances, by misrepresenting the nature of the drugs and aggressively promoting them for

chronic pain for which they knew the drug were not safe or suitable.

       479. The Manufacturer Defendants misrepresented and concealed the addictive nature of

prescription opioids and their lack of suitability for chronic pain, in addition to other

misrepresentations alleged and incorporated herein.

       480. All Defendants breached their duties to prevent diversion and report and halt

suspicious orders, and all Defendants misrepresented their compliance with their legal duties.




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       481. 'EFENDANTSh BREACHES WERE INTENTIONAL ANDOR UNLAWFUL, AND 'EFENDANTSh CONDUCT

was willful, wanton, malicious, reckless, oppressive and/or fraudulent.

       482. 3LAINTIFFJUSTIFIABLYRELIEDON'EFENDANTShREPRESENTATIONSANDORCONCEALMENTSBOTH

DIRECTLYANDINDIRECTLY7HISRELIANCEPROXIMATELYCAUSED3LAINTIFFhSINJURIES

       483. The      causal   connection    between      DefendantSh BREACHES OF DUTIES     and

misrepresentations and the ensuing harm was entirely foreseeable.

       484. As described above in allegations expressly INCORPORATED HEREIN 'EFENDANTSh

breaches of duty and misrepresentations caused, bear a causal connection with and/or

proximately resulted in the damages sought herein.

       485. Defendants were selling dangerous drugs statutorily categorized as posing a high

potential for abuse and severe dependence. Defendants knowingly traded in drugs that presented

a high degree of danger if prescribed incorrectly or diverted to other than medical, scientific or

industrial channels. However, Defendants breached their duties to monitor for, report and halt

suspicious orders; breached their duties to prevent diversion; and, further, misrepresented what

their duties were and their compliance with their legal duties.

       486. The Defendants failed to disclose the material facts that, inter alia, they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and

refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell opioids.

       487. As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed and sold had characteristics, uses

or benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented




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that the opioids were safe and effective when the Manufacturer Defendants knew, or should have

known, such representations were untrue, false and misleading.

       488. Because of the dangerously addictive nature of these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value and in fact

caused addiction and overdose deaths.

       489. The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or

concealed material facts and failed to correct prior misrepresentations and omissions about the

RISKSANDBENEFITSOFOPIOIDS(ACH'EFENDANThSOMISSIONSRENDERED even their seemingly truthful

statements about opioids deceptive.

       490. 'EFENDANTShunlawful and/or intentional actions create a rebuttable presumption of

negligence and negligent misrepresentation under State law.

       491. Plaintiff seeks economic losses (direct, incidental or consequential pecuniary

LOSSESRESULTINGFROM'EFENDANTShactions and omissions.

       492. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneySh fees and costs, and pre- and post-judgment interest.

                                            COUNT VI
                                      NEGLIGENCE PER SE
                                      (Against All Defendants)

       493. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       494. e*EORGIAlaw allows the adoption of a statute as a standard of conduct so that its

violation becomes negligence per se.f%ROWNV Belinfante, 252 Ga. App. 856, 861, 557 S.E.2d


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399, 403 (2001) (cit. om.). e:HEREASTATUTEPROVIDESAGENERALRULEOFCONDUCTALTHOUGHONLY

amounting to a requirement to exercise ordinary care, the violation thereof is negligence as a

matter of law, or NEGLIGENCEPERSEf+OLBROOKV(XEC&ONFERENCE&TR,NC*A$PP

107, 464 S.E.2d 398, 401 (1995) (cit. om.).

       495. Violations of statutes and regulations support a cause of action for negligence per

se where the plaintiff is within the class of persons the statute was designed to protect, and the

harm sustained is the type sought to be prevented. Goldstein, Garber & Salama, LLC v. J.B., 300

Ga. 840, 845, 797 S.E.2d 87, 92 (Ga. 2017) (cit. om.).

       496. *EORGIAhS minimum requirements for controlled substance manufacture and

wholesale drug distribution is that they must COMPLYWITHeALLAPPLICABLEFederal, State, and local

laws and reGULATIONSfANDeALLAPPLICABLE6tate, Local AND'($REGULATIONSfGa. Comp. R. &

Regs. 480-7-.03(10).

       497. Each Defendant was required under Georgia law be licensed by the Georgia State

Board of Pharmacy. See Ga. Code Ann. §§ 16-13-35; 26-4-115(a) and Ga. Comp. R. & Regs.

480-7-.03(1). To receive and maintain these licenses, each of the Defendants assumed a duty to

comply with eALLAPPLICABLE)EDERAL6TATEANDLOCALLAWSANDREGULATIONSfANDeALLAPPLICABLE

6TATE/OCALAND'($REGULATIONSf*A&OMP5 5EGS-7-.03(10).

       498. The State Board of Pharmacy makes a determination of what is in the public

interest when it decides whether to register manufacturers and distributors under the Georgia

Controlled Substances Act. Ga. Code Ann. § 16-13-36(a).

       499. The Georgia Board of Pharmacy may suspend or revoke a registration to

MANUFACTURE OR DISTRIBUTE A CONTROLLED SUBSTANCE IF THE REGISTRANT HAS eFURNISHED FALSE OR

FRAUDULENTMATERIALINFORMATIONINANYAPPLICATIONfTORECEIVEORRENEWAREGISTRATION*A&ODE




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Ann. § 16-13-37(a)(1). See also Ga. Code Ann. § 16-13-36(a)(5) (furnishing false or fraudulent

material in any application ISFACTORCONSIDEREDIN%OARDhSDETERMINATIONTOGRANTREGISTRATION 

Ga. Comp. R. & Regs. 480-7-  MINIMUM QUALIFICATIONS FOR eDETERMINING ELIGIBILITY FOR

LICENSUREf TO MANUFACTURE OR DISTRIBUTE PRESCRIPTION DRUGS INCLUDES whether applicant has

FURNISHED eFALSE OR FRAUDULENT MATERIAL IN ANY APPLICATION MADE IN CONNECTION WITH DRUG

MANUFACTURINGORDISTRIBUTIONf

        500. Federal and Georgia laws and regulations require Defendants to act as gatekeepers

guarding against the diversion of the highly addictive, dangerous opioid drugs. See, e.g., Ga.

Code Ann. § 16-13-37(a)(5); Ga. Code Ann. § 16-13-36(a)(1) and (4).

        501. The federal mandates incorporated into Georgia law require that Defendants must

MAINTAINeEFFECTIVECONTROLAGAINSTDIVERSIONOFPARTICULARCONTROLLEDSUBSTANCESINTOOTHERTHAN

LEGITIMATE MEDICAL SCIENTIFICAND INDUSTRIAL CHANNELSf  86& ]] A  B   7HESE

federal regulations impose a non-delegable duty upon both manufacturers and distributors to

eDESIGN AND OPERATE A SYSTEM TO DISCLOSE TO THE REGISTRANT SUSPICIOUS ORDERS OF CONTROLLED

substances. The registrant [distributor or manufacturer] shall inform the Field Division Office of

the Administration in his area of suspicious orders when discovered by the registrant. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

ORDERSOFUNUSUALFREQUENCYf&)5] B

        502. In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.




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861 F.3d 206 (D.C. Cir. 2017). Regardless, all flagged orders must be reported. Id.

        503. Defendants violated section 16-13-42 of the Georgia Controlled Substances Act,

WHICH PROVIDES THAT e,T IS UNLAWFUL FOR ANY PERSON  :HO IS A REGISTRANT TO MANUFACTURE A

controlled substance not authorized by his registration or to distribute or dispense a controlled

SUBSTANCENOTAUTHORIZEDBYHISREGISTRATIONTOANOTHERREGISTRANTOROTHERAUTHORIZEDPERSON>?f

Ga. Code Ann. § 16-13-42(a)(2).

        504. Defendants violated section 16-13-30 of the Georgia Controlled Substances Act,

which providESTHATEXCEPTASAUTHORIZEDBYLAWe>,?TISUNLAWFULFORANYPERSONto manufacture,

deliver, distribute, dispense, administer, sell, or possess with intent to sell, any controlled

substancefGa. Code Ann. § 16-13-30(b).

        505. Defendants also violated section 16-13-33 of the Georgia Controlled Substances

Act by attempting and conspiring to violate that Georgia Controlled Substances Act.

        506. Defendants also violated section 26-4-115 of the Georgia Pharmacy Practice Act by

failing to submit reports of excessive purchases of controlled substances. Ga. Code Ann. § 26-4-

115(b)(2).

        507. 'EFENDANTS DO NOT QUALIFY FORTHEeAUTHORIZEDBYLAWfEXCEPTIONSTOTHE Georgia

Controlled Substances Act violations because Defendants did not comply with the mandatory

terms of the registrations issued to them by the Georgia State Board of Pharmacy or with federal

requirements incorporated by reference, as further detailed in this Complaint.

        508. Plaintiff is within the class intended to be protected by the public safety statutes

and regulations concerning controlled substances.




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        509. 'EFENDANTSh VIOLATIONS OF THESE PUBLIC SAFETY LAWS ARE PRIMA FACIE EVIDENCE OF

negligence per se. Each Defendant had a duty under inter alia these laws to maintain effective

controls against diversion of prescription opioids and to guard against, prevent, and report

SUSPICIOUS ORDERS OF OPIOIDS 'EFENDANTSh VIOLATIONS OF THE LAW CONSTITUTE NEGLIGENCE PER SE

Defendants breached mandatory, non-delegable legal duties and did not act reasonably under the

circumstances.

        510. As described above in allegations expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes and regulations requiring that as wholesale

drug distributors, Defendants could only distribute these dangerous drugs under a closed system

c a system Defendants were responsible for guarding.

        511. $S DESCRIBED ABOVE IN ALLEGATIONS EXPRESSLY INCORPORATED HEREIN 'EFENDANTSh

breach of statutory and regulatory duties caused, bears a causal connection with, is and was a

substantial factor contributing to, and/or proximately resulted in, harm and damages to Plaintiff.

        512. The injuries and damages sustained are those which the Georgia statutes and

regulations were designed to prevent.

        513. 'EFENDANTSh VIOLATIONS OF THE Georgia statutes and public safety regulations cited

herein were and are substantial factors in the injuries and damages sustained.

        514. ,T WAS FORESEEABLE THAT 'EFENDANTSh BREACHES OF STATUTORY ANd regulatory duties

described herein would result in the damages sustained.

        515. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

LOSSES RESULTING FROM 'EFENDANTSh NEGLIGENCE PER SE  3LAINTIFF DOES NOT SEEK DAMAGES FOR

physical, PERSONALINJURYORANYPHYSICALDAMAGETOPROPERTYCAUSEDBY'EFENDANTShACTIONS.




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        516. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the

'EFENDANTSATTORNEYShFEESANDCOSTSANDPRE- and post-judgment interest.

                                   COUNT VII
                   FRAUD AND FRAUDULENT MISREPRESENTATION
                              (Against All Defendants)

        517. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

        518. In Georgia, the tort of fraud has five elements: (1) a false representation or

omission of a material fact; (2) scienter; (3) intention to induce the party claiming fraud to act or

refrain from acting; (4) justifiable reliance; and (5) damages. See, e.g., Home Depot U.S.A., Inc.

v. Wabash Nat. Corp., 314 Ga. App. 360, 367, 724 S.E.2d 53, 60 (2012); Fortson v. Freeman,

313 Ga. App. 326, 328, 721 S.E.2d 607, 609 (2011). See also Ga. Code Ann., § 51-6- e:ILLFUL

misrepresentation of a material fact, made to induce another to act, upon which such person acts

TOHISINJURYWILLGIVEHIMARIGHTOFACTIONf

        519. Defendants violated their general duty not to actively deceive, have made

knowingly false statements and have omitted and/or concealed information that made statements

Defendants did make knowingly false. Defendants acted intentionally and/or unlawfully.

        520. As alleged herein, Defendants made false statements as to their compliance with

state and federal law regarding their duties to prevent diversion and their duties to monitor,

report and halt suspicious orders and/or concealed their noncompliance with these requirements.

        521. As alleged herein, the Manufacturer Defendants engaged in false representations

and concealments of material fact regarding the use of opioids to treat chronic, non-cancer pain.




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        522. As alleged herein, Defendants knowingly and/or intentionally made representations

that were false. Defendants had a duty to disclose material facts and concealed them. These false

representations and concealed facts were material to the conduct and actions at issue. Defendants

made these false representations and concealed facts with knowledge of the falsity of their

representations, and did so with the intent of misleading Plaintiff, 3LAINTIFFhS &OMMUNITY, the

public and persons on whom Plaintiff relied.

        523. These false representations and concealments were reasonably calculated to

deceive Plaintiff, 3LAINTIFFhS&OMMUNITY and the physicians who prescribed opioids for persons

in 3LAINTIFFhS&OMMUNITY; were made with the intent to deceive; and did in fact deceive these

persons, Plaintiff and 3LAINTIFFhS&OMMUNITY.

        524. Plaintiff, 3LAINTIFFhS &OMMUNITY and the physicians who prescribed opioids

reasonably relied on these false representations and concealments of material fact.

        525. 3LAINTIFFJUSTIFIABLYRELIEDON'EFENDANTShREPRESENTATIONSANDORCONCEALMENTSBOTH

directly and indirectly. This reliance proximately caused Plaintiffhs injuries.

        526. Defendantsh fraudulent conduct was a direct and proximate cause of the injuries

Plaintiff alleges herein.

        527. Plaintiff seeks economic losses (direct, incidental or consequential pecuniary

losSES RESULTING FROM 'EFENDANTSh FRAUDULENT ACTIVITY INCLUDING FRAUDULENT MISREPRESENTATIONS

and fraudulent concealment.

        528. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneySh fees and costs, and pre- and post-judgment interest.




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                                      PUNITIVE DAMAGES

       529. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       530. By engaging in the above-described intentional and/or unlawful acts or practices,

Defendants acted with actual malice, wantonly and oppressively. Defendants acted with

conscious disregard for the rights of others and/or in a reckless, wanton, willful or grossly

negligent manner. Defendants acted with a prolonged reckless indifference to the adverse

consequences of their actions and/or omissions. Defendants acted with a conscious disregard for

the rights and safety of others in a manner that had a great probability of causing substantial

harm. Defendants acted toward the Plaintiff with fraud, oppression and/or malice and/or were

grossly negligent in failing to perform the duties and obligations imposed upon them under

applicable federal and state statutes and common law.

       531. Defendants were selling and/or manufacturing dangerous drugs statutorily

categorized as posing a high potential for abuse and severe dependence. Thus, Defendants

knowingly traded in drugs that presented a high degree of danger if prescribed incorrectly or

diverted to other than legitimate medical, scientific or industrial channels. Because of the severe

level of danger posed by, and indeed visited upon the State and 3LAINTIFFhS&OMMUNITY by, these

dangerous drugs, Defendants owed a high duty of care to ensure that these drugs were only used

for proper medical purposes. Defendants chose profit over prudence and the safety of the

community, and an award of punitive damages is appropriate as punishment and a deterrence.

Punitive damages should be awarded pursuant to the common law and all statutory grounds for

recovery, including but not limited to section 51-12-5.1 of the Georgia Code.




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       532. By engaging in the above-described wrongful conduct, Defendants also engaged in

willful misconduct and gross negligence and exhibited an entire want of care that would raise the

presumption of a conscious indifference to consequences.

                                           RELIEF

       WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:

       1. Enter a Judgment in favor of the Plaintiff in a final order against each of the
          Defendants;

       2. Enjoin the Defendants and their employees, officers, directors, agents, successors,
          assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries
          and all other persons acting in concert or participation with them from engaging in
          unfair or deceptive practices in violation of law and ordering temporary, preliminary
          or permanent injunction;

       3. Order that Defendants compensate the Plaintiff for past and future costs to abate the
          ongoing public nuisance caused by the opioid epidemic;

       4. 2RDER'EFENDANTSTOFUNDANeABATEMENTFUNDfFORTHEPURPOSESOFABATINGTHEopioid
          nuisance;

       5. Award actual damages, treble damages, injunctive and equitable relief, forfeiture as
          deemed proper by the Court, and attorneySh fees and all costs and expenses of suit
          pursuant to Plaintiffhs racketeering claims;

       6. Award the Plaintiff the damages caused by the opioid epidemic, including (A) costs
          for providing medical care, additional therapeutic and prescription drug purchase, and
          other treatments for patients suffering from opioid-related addiction or disease,
          including overdoses and deaths; (B) costs for providing treatment, counseling, and
          rehabilitation services; (C) costs for providing treatment of infants born with opioid-
          related medical conditions; (D) costs for providing care for children whose parents
          suffer from opioid-related disability or incapacitation; and (E) costs associated with
          law enforcement and public safety relating to the opioid epidemic;

       7. Enter a judgment against the Defendants requiring Defendants to pay punitive
          damages;

       8. Grant the Plaintiff:




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             a. The costs OFINVESTIGATIONREASONABLEATTORNEYShFEESANDALLother costs and
                expenses;

             b. Pre-judgment and post-judgment interest; and

             c. All other relief as provided by law and/or as the Court deems appropriate and
                just.

Dated: February 12, 2018                       RESPECTFULLY SUBMITTED:

/s/ Edward J. Tarver
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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
AUGUSTA, GEORGIA                                                                                            AMERISOURCEBERGEN DRUG CORPORATION, et al.

    (b)   County of Residence of First Listed Plaintiff           RICHMOND                                    County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

See attached list.


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
 1    U.S. Government                 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State          1         1      Incorporated or Principal Place        4      4
                                                                                                                                                         of Business In This State

 2    U.S. Government                 4     Diversity                                              Citizen of Another State           2        2   Incorporated and Principal Place     5      5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a            3        3   Foreign Nation                       6      6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                              TORTS                                 FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY               625 Drug Related Seizure           422 Appeal 28 USC 158           375 False Claims Act
   120 Marine                          310 Airplane                  365 Personal Injury -              of Property 21 USC 881         423 Withdrawal                  376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product               Product Liability         690 Other                               28 USC 157                       3729(a))
   140 Negotiable Instrument                 Liability                367 Health Care/                                                                                   400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                               820 Copyrights                  430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’             Product Liability                                             830 Patent                      450 Commerce
   152 Recovery of Defaulted                 Liability                368 Asbestos Personal                                             835 Patent - Abbreviated        460 Deportation
        Student Loans                   340 Marine                         Injury Product                                                     New Drug Application        470 Racketeer Influenced and
        (Excludes Veterans)             345 Marine Product                 Liability                                                     840 Trademark                        Corrupt Organizations
   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                        LABOR                      SOCIAL SECURITY                 480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle             370 Other Fraud               710 Fair Labor Standards           861 HIA (1395ff)                490 Cable/Sat TV
   160 Stockholders’ Suits             355 Motor Vehicle             371 Truth in Lending                Act                           862 Black Lung (923)            850 Securities/Commodities/
   190 Other Contract                       Product Liability         380 Other Personal            720 Labor/Management               863 DIWC/DIWW (405(g))               Exchange
   195 Contract Product Liability      360 Other Personal                 Property Damage                 Relations                     864 SSID Title XVI              890 Other Statutory Actions
   196 Franchise                            Injury                    385 Property Damage           740 Railway Labor Act              865 RSI (405(g))                891 Agricultural Acts
                                        362 Personal Injury -              Product Liability         751 Family and Medical                                              893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                      895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS             790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
   210 Land Condemnation               440 Other Civil Rights         Habeas Corpus:                791 Employee Retirement            870 Taxes (U.S. Plaintiff       896 Arbitration
   220 Foreclosure                     441 Voting                    463 Alien Detainee                 Income Security Act                  or Defendant)              899 Administrative Procedure
   230 Rent Lease & Ejectment          442 Employment                510 Motions to Vacate                                             871 IRS—Third Party                  Act/Review or Appeal of
   240 Torts to Land                   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
   245 Tort Product Liability               Accommodations            530 General                                                                                        950 Constitutionality of
   290 All Other Real Property         445 Amer. w/Disabilities -    535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                        462 Naturalization Application
                                        446 Amer. w/Disabilities -    540 Mandamus & Other          465 Other Immigration
                                             Other                     550 Civil Rights                   Actions
                                        448 Education                 555 Prison Condition
                                                                       560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
 1 Original              2 Removed from                  3         Remanded from              4 Reinstated or        5 Transferred from      6 Multidistrict                   8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                       Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           18 U.S.C.A. § 1961 et al.
VI. CAUSE OF ACTION                       Brief description of cause: +$"+")%#*(% $+%%&((+'*(!%"-*"&%)*,"&$*"&%)&(!"*&
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VII. REQUESTED IN      CHECK IF THIS IS A CLASS ACTION        DEMAND $                                                                            CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:          Yes       No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE  Hon. Dan A. Polster                                                                        DOCKET NUMBER              MDL 2804, N.D. Ohio
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
02/12/2018                                                              /s/ Edward J. Tarver
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
                                                                                                +^NOHOZ,                                                                   
   Case 1:21-cv-00018-JRH-BKE
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                           Attachment to CIVIL COVER SHEET

                         AUGUSTA, GEORGIA v.
               AMERISOURCEBERGEN DRUG CORPORATION, et al.

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(c) Attorneys (Firm Name, Address, and Telephone Number)

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A true and accurate copy of the video referenced in Exhibit I is stored on a portable drive that will
be filed and stored at Richmond County Clerk of Court,s office.




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